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                EXHIBIT A
 Case 2:19-cv-01225 Document 1-3 Filed 02/19/19 Page 2 of 129 Page ID #:20


‘' ..4 CT Corporation                                                         Service of Process
                                                                              Transmittal
                                                                              01/18/2019
                                                                              CT Log Number 534763466
    TO:       Francis Ferrara, Senior VP Et Deputy General Counsel
              Veolia North America
              120 Water St Ste 212
              North Andover, MA 01845-2648

    RE:       Process Served in California

    FOR:      Veolia Energy North America, LLC (Domestic State: WI)




    ENCLOSED ARE COPIES OF LEGAL PROCESS RECEIVED BY THE STATUTORY AGENT OF THE ABOVE COMPANY AS FOLLOWS:

    TITLE OF ACTION:                   MITCHEL PARKER, ETC., PLTF. vs. VEOLIA ENERGY NORTH AMERICA, LLC., ET AL.,
                                       DFTS.
    DOCUMENT(S) SERVED:                 LETTER, COMPLAINT
    COURT/AGENCY:                      San Bernardino County - Superior Court, CA
                                       Case # None Specified
    NATURE OF ACTION:                  Employee Litigation - Failure to Pay Minimum Wages (SEE DOCUMENT FOR
                                       ADDITIONAL INFORMATION)
    ON WHOM PROCESS WAS SERVED:        C T Corporation System, Los Angeles, CA
    DATE AND HOUR OF SERVICE:          By Certified Mail on 01/18/2019 postmarked: "Not Post Marked"
    JURISDICTION SERVED :              California
    APPEARANCE OR ANSWER DUE:          None Specified
    ATTORNEY(S) / SENDER(S):           KASHIF HAQUE
                                       AEGIS LAW FIRM, PC
                                       9811 Irvine Center Drive, Suite 100
                                       Irvine, CA92618
                                       949-379-6250
    ACTION ITEMS:                      CT has retained the current log, Retain Date: 01/19/2019, Expected Purge Date:
                                       01/24/2019
                                       Image SOP
                                       Email Notification, Francis Ferrara frank.ferrara@veolia.com
                                       Email Notification, Whitney Fawcett whitney.fawcett@veolia.com
                                       Email Notification, Katie Lynch katie.lynch@veolia.com
                                       Email Notification, Holly Garabedian holly.garabedian@veolia.com

   SIGNED:                             C T Corporation System
   ADDRESS:                            818 West Seventh Street
                                       Los Angeles, CA 90017
   TELEPHONE:                          213-337-4615




                                                                             Page 1 of 1 / RB
                                                                             Information displayed on this transmittal is for CT
                                                                             Corporation's record keeping purposes only and is provided to
                                                                             the recipient for quick reference. This information does not
                                                                             constitute a legal opinion as to the nature of action, the
                                                                             amount of damages, the answer date, or any information
                                                                             contained in the documents themselves. Recipient is
                                                                             responsible for interpreting said documents and for taking
                                                                             appropriate action. Signatures on certified mail receipts
                                                                             confirm receipt of package only, not contents.



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                                                             CT
PLEASE NOTE:


SERVICE TAKEN FOR:
VEOLIA ENERGY NORTH AMERICA LLC




                                                             Wolters Kluwer
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                                                                            MAILED FROM ZIP CODE 92618




                            E l AEGIS LAW
                           9811 Irvine Center Drive, Suite 100
                                Irvine, California 92618




                  C T CORPORATION SYSTEM (C0168406)
                      818 West Seventh Street_ Suite 930
                           Los Angeles, CA 90017
 Case 2:19-cv-01225 Document 1-3 Filed 02/19/19 Page 5 of 129 Page ID #:23
                                                                    AEGIS LAW FIRM, PC
                                                                    9811 Irvine Center Drive, Suite 100
IF) AEGIS LAW                                                       Irvine, California 92618
                                                                    Telephone: 949.379.6250
                                                                    Facsimile: 949.379.6251
                                                                    www.aegislawfirm.com



                                         January 15, 2019

 VIA ONLINE SUBMISSION

 California Labor and Workforce Development Agency
 Attn: PAGA Administrator

 VIA CERTIFIED MAIL (RETURN RECEIPT REQUESTED)

Agent for Service of Process for Veolia Energy North America, LIc; Veolia Water North
America Operating Services, LLC; Veolia Water North America-West, LLC:
C T CORPORATION SYSTEM (C0168406)
818 West Seventh Street, Suite 930
Los Angeles, CA 90017

        Re:        Mitchel Parker v. Veolia Energy North America, LIc: Veolia Water North
                   America Operating Services, LLC; Veolia Water North America-West, LLC

Dear Labor and Workforce Development Agency and Veolia Energy North America, Lle; Veolia
Water North America Operating Services, LLC; Veolia Water North America-West, LLC:

        Please allow this correspondence to serve as written notice required by California Labor
Code § 2699.3(a)(1) of the specific provisions of the Labor Code allegedly violated by Veolia
Energy North America, Lie; Veolia Water North America Operating Services, LLC; Veolia Water
North America-West, LLC ("Veolia") and the facts and theories in support of said allegations.
This firm represents Mitchel Parker ("Claimant"); we hereby notify you that Claimant intends to
seek penalties against Veolia under the Private Attorneys General Act of 2004, Cal. Lab. Code §§
2698 et seq., on behalf of himself and all other aggrieved employees.

       Specific Provisions of the California Labor Code Allegedly Violated by Veolia

       The specific provisions of the Labor Code allegedly violated by Veolia and the provisions
under which Claimant submits this correspondence include the following: §§ 201-203, 204, 210,
226, 226.3, 226.7, 510, 512, 558, 1174, 1174.5, 1194, 1194.2, 1197, and 1198.

       Facts and Theories Supporting the Allegations Against Veolia

        Claimant and other aggrieved employees worked for Veolia as non-exempt employees in
California. Claimant was employed by Veolia as a non-exempt employee in California within the
past year.

        Veolia failed to provide 30-minute uninterrupted meal periods within the appropriate time
intervals to Claimant and other aggrieved employees as required by Labor Code section 512 and



                    Irvine                 Los Angeles                 Riverside

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 section 11 of the applicable Wage Order. Claimant and other aggrieved employees frequently
 worked shifts over five hours and 10 hours and did not receive lawful meal periods because Veolia
 required its employees to work through their meal periods or were not scheduled to be relieved by
 other employees at the appropriate intervals to receive all meal periods, and as a result, the meal
 periods were missed, late, short, and/or interrupted. Claimant and other aggrieved employees
 worked over 10 hours in some instances and were entitled to a second meal period, but were not
 provided a second meal period for the same reasons stated herein.

         When Claimant and other aggrieved employees missed meal periods or if the meal periods
were late, short, and/or interrupted, Veolia violated Labor Code sections 226.7 and 512, as well as
section 11 of the applicable Wage Order, by failing to pay an additional hour of pay at the regular
rate of pay to Claimant and other aggrieved employees for every day in which they suffered a meal
period violation, and they were entitled to this meal period premium pursuant to Labor Code
section 558.

       Additionally, Veolia failed to authorize or permit 10 minute rest periods for every four
hours or major fraction thereof worked because Claimant and other aggrieved employees were
required to work through their rest periods, were not authorized to take their rest periods, were
discouraged from taking their rest periods, and/or were not scheduled to be relieved by other
employees at the appropriate intervals to receive all rest periods. Claimant and other aggrieved
employees worked over 10 hours in some instances and were entitled to a third rest period, but
were not provided a third rest period for the same reasons stated herein.

       When Claimant and other aggrieved employees did not receive rest periods, Veolia violated
Labor Code section 226.7 and section 12 of the applicable Wage Order by failing to pay an
additional hour of pay at the regular rate of pay to Claimant and other aggrieved employees, and
they were entitled to this rest period premium pursuant to Labor Code section 558.

         Veolia failed to pay Claimant and other aggrieved employees at least the legal minimum
wage for all hours worked (in violation of Labor Code sections 558, 1194, 1194.2, 1197, and 1198)
due to Veolia's policy and practice of requiring Claimant and aggrieved employees to work
through their meal periods without proper pay and work after clocking out to complete "turnover"
to the next employee coming on shift. To the extent such work performed while clocked out
entitled employees to pay at the legal minimum wage rate or at the overtime rate of pay, Veolia
failed to pay Claimant and other aggrieved all minimum wages, overtime wages, and double time
wages for these hours. Veolia also failed to pay overtime and double time at the proper rate because
incentive pay, such as bonuses were not included in Claimant's and aggrieved employees' regular
rate of pay. Thus, Veolia did not pay all overtime and double time wages for the overtime and
double time hours worked, including, but not limited to, hours worked in excess of eight hours in
a day and/or 40 hours in a week (in violation of Labor Code sections 510, 1194, and 1198).

        As a result of, and in addition to, these actions, Veolia violated Labor Code sections 226
and 226.3 by failing to provide itemized wage statements that accurately reported the following:
(1) gross wages earned; (2) total hours worked by the employee; (3) the number of piece-rate units
earned and any applicable piece rate if the employee is paid on a piece-rate basis; (4) all deductions,
provided that all deductions made on written orders of the employee may be aggregated and shown
as one item; (5) net wages earned; (6) the inclusive dates of the period for which the employee is

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paid; (7) the name of the employee and the last four digits of his or her social security number or
an employee identification number other than a social security number; (8) the name and address
of the legal entity that is the employer; and (9) all applicable hourly rates in effect during the pay
period and the corresponding number of hours worked at each hourly rate by the employee. For
example, Veolia failed to list the accurate employing entity on Claimant's and aggrieved
employees' wage statements. Similarly, Veolia violated Labor Code sections 1174 and 1174.5 by
failing to maintain accurate and complete records showing the hours worked daily by the aggrieved
employees and the wages paid to aggrieved employees (due to the same underpayment of wages
referenced above).

      Furthermore, Veolia violated the Labor Code by failing to properly pay all these wages
owed throughout aggrieved employees' employment and following the end of these workers'
employment with Veolia (in violation of Labor Code sections 201-203, 204, and 210).

        Based on these violations, Claimant seeks attorneys' fees, interest, and penalties under the
Labor Code. The civil penalties Claimant seeks on behalf of himself and other aggrieved
employees include those authorized by Labor Code section 558. Attached hereto and incorporated
herein is Claimant's class action complaint. Claimant intends to amend the complaint to include a
cause of action pursuant to Labor Code §§ 2698, et seq., after the minimum required review period
elapses.

        Thank you for your assistance on this matter. Should you have any questions or comments,
please do not hesitate to contact the undersigned.


                                                             Very truly yours,
                                                             AEGIS LAW FIRM



                                                            Jessica L. Campbell

Enclosure(s)
Class Action Complaint




                                                3


                                                 6
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'     AEGIS LAW FIRM, PC
      ICASHIF HAQUE, State Bar No. 218672
 2    SAMUEL A. WONG, State Bar No. 217104
 3    JESSICA L. CAMPBELL, State Bar No. 280626
      9811 Irvine Center Drive, Suite 100
 4    Irvine, California 92618
      Telephone: (949) 379-6250
 5    Facsimile: (949) 379-6251
 6    Attorneys for Plaintiff Mitchel Parker, individually,
      and on behalf of all others similarly situated.
 7

 8                      SUPERIOR COURT OF THE STATE OF CALIFORNIA

 9                                FOR THE COUNTY OF SAN BERNARDINO

10
      MITCHEL PARKER, individually and on            Case No.
11    behalf of all others similarly situated,
12
                     Plaintiff,                      CLASS ACTION COMPLAINT FOR:
13
             vs.                                       1. Failure to Pay Minimum Wages;
14
      VEOLIA ENERGY NORTH AMERICA,                     2. Failure to Pay Overtime Wages;
15    LLC; VEOLIA WATER NORTH
      AMERICA OPERATING SERVICES,                      3. Failure to Provide Meal Periods;
16
      LLC; VEOLIA WATER NORTH
      AMERICA-WEST, LLC; and DOES 1                    4. Failure to Permit Rest Breaks;
17
      through 20, inclusive,
18.                                                    5. Failure to Provide Accurate Itemized Wage
                    Defendants.                           Statements;
19
                                                       6. Failure to Pay All Wages Due Upon
20                                                        Separation of Employment; and
21                                                     7. Violation of Business and Professions
22                                                        Code §§ 17200, et seq.

23
                                                    DEMAND FOR JURY TRIAL
24

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                                        CLASS ACTION COMPLAINT

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     1            Plaintiff Mitchel Parker, individually, and on behalf of others similarly situated, alleges

     2    as follows:

     3                  NATURE OF ACTION AND INTRODUCTORY STATEMENT

     4            1.     Plaintiff Mitchel Parker ("Plaintiff") brings this putative class action against

     5    defendant Veolia Energy North America, LLC; Veolia Water North America Operating

 6        Services, LLC; Veolia Water North America-West, LLC and DOES 1 through 20, inclusive

     7    (collectively, "Defendants"), on behalf of himself individually and a putative class of California

 8        citizens who are and were employed by Defendants as non-exempt employees throughout

 9        California.

10               2.      Defendants are in the business of providing water, waste, and energy services.

11               3.      Through this action, Plaintiff alleges that Defendants engaged in a systematic

12       pattern of wage and hour violations under the California Labor Code and Industrial Welfare

13       Commission ("IWC") Wage Orders, all of which contribute to Defendants' deliberate unfair

14       competition.

15               4.     Plaintiff is • informed and believes, and thereon alleges, that Defendants have

16       increased their profits by violating state wage and hour laws by, among other things:

17                      (a)     failing to pay all wages (including minimum wages and overtime

18                              wages);

19                      (b)     failing to provide lawful meal periods or compensation in lieu thereof;

20                      (c)     failing to authorize or permit lawful rest breaks or provide compensation

21                              in lieu thereof;

22                      (d)     failing to provide accurate itemized wage statements; and

23                      (e)     failing to pay all wages due upon separation of employment.

24              5.      Plaintiff seeks monetary relief against Defendants on behalf of himself and all

25       others similarly situated in California to recover, among other things, unpaid wages and

26       benefits, interest, attorneys' fees, costs and expenses, and penalties pursuant to Labor Code §§

27       201-203, 226, 226.7, 510, 512, 1194, 1194.2, 1197, and 1198, and Code of California Civil

28       Procedure § 1021.5.
                                                        -1-
                                            CLASS ACTION COMPLAINT

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     1                                    JURISDICTION AND VENUE
     2            6.     This is a class action pursuant to California Code of Civil Procedure § 382. The
     3    monetary damages and restitution sought by Plaintiff exceeds the minimal jurisdictional limits
     4    of the Superior Court and will be established according to proof at trial.
     5            7.     This Court has jurisdiction over this action purSuant to the California
 6        Constitution, Article VI, § 10, which grants the Superior Court original jurisdiction in all
 7        causes except those given by statutes to other courts. The statutes under which this action is

 8       brought do not specify any other basis for jurisdiction.
 9               8.      This Court has jurisdiction over all Defendants because, upon information and
10       belief, they are citizens of California, have sufficient minimum contacts in California, or
11       otherwise intentionally avail themselves of the California market so as to render the exercise of
12       jurisdiction over them by the California courts consistent with traditional notions of fair play

13       and substantial justice.
14               9.      Venue is proper in this Court because, upon information and belief, Defendants
15       reside, transact business, or have offices in this county, and the acts and omissions alleged
16       herein took place in this county.
17                                                THE PARTIES
18               10.     Plaintiff is a resident of California and worked for Defendants in California
19       during the relevant time periods as alleged herein.
20               11.    Plaintiff is informed and believes, and thereon alleges that at all times
21       hereinafter mentioned, Defendants were and are subject to the Labor Code and IWC Wage
22       Orders as employers, whose employees were and are engaged throughout this county and the
23       State of California.
24              12.     Plaintiff is unaware of the true names or capacities of the defendants sued herein

25       under the fictitious names DOES 1 through 20, but will seek leave of this Court to amend this
26       Complaint and serve such fictitiously named defendants once their names and capacities
27       become known.
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                                             CLASS ACTION COMPLAINT

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     1            13.     Plaintiff is informed and believes, and thereon alleges, that DOES 1 through 20
  2       are or were the partners, agents, owners, shareholders, managers, or employees of Defendants

  3       at all relevant times.
  4               14.     Plaintiff is informed and believes, and thereon alleges, that each defendant acted
  5       in all respects pertinent to this action as the agent of the other defendant, carried out a joint

 6       scheme, business plan, or policy in all respects pertinent hereto, and the acts of each defendant
 7       are legally attributable to the other defendant. Furthermore, defendants in all respects acted as
 8       the employer and/or joint employer of Plaintiff and the class members.
 9                15.     Plaintiff is informed and believes, and thereon alleges, that each and all of the
10       acts and omissions alleged herein were performed by, or are attributable to, Defendants and/or
11       DOES 1 through 20, acting as the agent or alter ego for the other, with legal authority to act on
12       the other's behalf. The acts of any and all Defendants were in accordance with, and represent,
13       the.official policy of Defendants.
14               16.     At all relevant times, Defendants, and each of them, acted within the scope of
15       such agency or employment, or ratified each and every act or omission complained of herein.
16       At all relevant times, Defendants, and each of them, aided and abetted the acts and omissions of
17       each and all the other Defendants in proximately causing the damages herein alleged.
18               17.     Plaintiff is informed and believes, and thereon alleges, that each of said
19       Defendants is in some manner intentionally, negligently, or otherwise responsible for the acts,
20       omissions, occurrences, and transactions alleged herein.
21                                     CLASS ACTION ALLEGATIONS
22               18.     Plaintiff brings this action under Code of Civil Procedure § 382 on behalf of

23       himself and all others similarly situated who were affected by Defendants' Labor Code,
24       Business and Professions Code §§ 17200, and IWC Wage Order violations.
25               19.     All claims alleged herein arise under California law for which Plaintiff seeks
26       relief authorized by California law.
27              20.      Plaintiff's proposed class consists of and is defined as follows:
28       ///
                                                          -3-
                                              CLASS ACTION COMPLAINT

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     1                     Class
     2                     All California citizens currently or formerly employed by Defendants as non-
     3                     exempt employees in the State of California within four years prior to the filing of
     4                     this action to the date the class is certified ("Class").
     5           21.       Plaintiff also seeks to certify the following subclass of employees:
 6                         Waiting Time Subclass
 7                         All Class Members who separated their employment with Defendants at any time
 8                        within three years prior to the filing of this action to the date the class is certified
 9                        ("Waiting Time Subclass").
10               22.      Plaintiff reserves the right to modify or re-define the Class, establish additional
11       subclasses, or modify or re-define any class or subclass definition as appropriate based on
12       investigation, discovery, and specific theories of liability.
13               23.      Members of the Class and the Waiting Time Subclass described above will be
14       collectively referred to as "Class Members."
15              24.       There are common questions of law and fact as to the Class Members that
16       predominate over any questions affecting only individual members including, but not limited to,
17       the following:
18                        (a)      Whether Defendants failed to pay Plaintiff and Class Members all wages
19                                 (including minimum wages and overtime wages) for all hours worked by
20                                 Plaintiff and Class Members.
21                        (b)      Whether Defendants required Plaintiff and Class Members to work over
22                                 eight (8) hours per day and/or over forty (40) hours per week and failed
23                                 to pay them proper overtime and double time compensation for all
24                                 overtime hours worked.
25                        (c)      Whether Defendants deprived Plaintiff and Class Members of timely
26                                 meal periods or required Plaintiff and Class Members to work through
27                                 meal periods without compensation.
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                                              CLASS ACTION COMPLAINT

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     1                   (d)     Whether Defendants deprived Plaintiff and Class Members of rest breaks

     2                          or required Plaintiff and Class Members to work through rest breaks.
 3                       (e)    Whether Defendants failed to provide Plaintiff and Class Members

 4                              accurate itemized wage statements.

 5                       (f)    Whether Defendants failed to timely pay the Waiting Time Subclass all

 6                              wages due upon termination or within seventy-two (72) hours of

 7                              resignation.

 8                      (g)     Whether Defendants' conduct was willful or reckless.

 9                      (h)     Whether Defendants engaged in unfair business practices in violation of

10                              Business and Professions Code §§ 17200, et seq.

11               25.    There is a well-defined community of interest in this litigation and the proposed

12       Class and Subclass are readily ascertainable:

13                      (a)     Numerosity: The Class Members are so numerous that joinder of all

14       members is impractical. Although the members of the entire Class and the Waiting Time

15       Subclass are unknown to Plaintiff at this time, on information and belief, the class is estimated

16       to be at least (50) individuals. The identities of the Class Members are readily ascertainable by
17       inspection of Defendants' employment and payroll records.
18                      (b)     Typicality: The claims (or defenses, if any) of Plaintiff are typical of the

19       claims (or defenses, if any) of the Class Members because Defendants' failure to comply with

20       the provisions of California's wage and hour laws entitled each Class Member to similar pay,

21       benefits, and other relief. The injuries sustained by Plaintiff are also typical of the injuries

22       sustained by the Class Members, because they arise out of and are caused by Defendants'
23       common course of conduct as alleged herein.
24                      (c)    Adequacy: Plaintiff will fairly and adequately represent and protect the
25       interests of all Class Members because it is in his best interest to prosecute the claims alleged

26       herein to obtain full compensation and penalties due to him and the Class Members. Plaintiff's

27       attorneys, as proposed class counsel, are competent and experienced in litigating large

28       employment class actions and versed in the rules governing class action discovery,
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                                            CLASS ACTION COMPLAINT

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     1    certification, and settlement. Plaintiff has incurred and, throughout the duration of this action,
  2       will continue to incur attorneys' fees and costs that have been and will be necessarily expended
 3        for the prosecution of this action for the substantial benefit of the Class Members.
 4                       (d)     Superiority: The nature of this action makes use of class action
 5        adjudication superior to other methods. A class action will achieve economies of time, effort,
 6       and expense as compared with separate lawsuits and will avoid inconsistent outcomes because
 7       the same issues can be adjudicated in the same manner for the entire Class and Waiting Time
 8       Subclass at the same time. If appropriate, this Court can, and is empowered to, fashion methods
 9       to efficiently manage this case as a class action.
10                       (e)    Public Policy Considerations: Employers in the State of California
11       violate employment and labor laws every day. Current employees are often afraid to assert their
12       rights out of fear of direct or indirect retaliation. Former employees are fearful of bringing
13       actions because they believe their former employers might damage their future endeavors
14       through negative references and/or other means. Class actions provide class members who are
15       not named in the complaint with a type of anonymity that allows for the vindication of their
16       rights while affording them privacy protections.
17                                          GENERAL ALLEGATIONS
18              26.     At all relevant times mentioned herein, Defendants employed Plaintiff and other
19       California residents as non-exempt employees throughout California and at Defendants'
20       California business location(s).
21              27.     Defendants continue to employ non-exempt employees within California.
22              28.     Plaintiff is informed and believes, and thereon alleges, that at all times herein
23       mentioned, Defendants were advised by skilled lawyers, employees, and other professionals
24       who were knowledgeable about California's wage and hour laws, employment and personnel
25       practices, and the requirements of California law.
26              29.     Plaintiff is informed and believes, and thereon alleges, that Defendants knew or
27       should have known that Plaintiff and Class Members were entitled to receive wages for all time
28       worked (including minimum wages and overtime wages) and that they were not receiving all
                                                  -6-
                                             CLASS ACTION COMPLAINT

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     1    wages earned for work that was required to be performed. In violation of the Labor Code and
     2    IWC Wage Orders, Plaintiff and Class Members were not paid all wages (including minimum
     3    wages and overtime wages) for all hours worked. These violations were due to Defendants'
 4        requirements that Plaintiff and Class Members work while clocked out, and Defendants' failure
     5    to include incentive pay in Plaintiff's and Class Members' regular rate of pay.
 6               30.     Plaintiff is informed and believes, and thereon alleges, that Defendants knew or
 7       should have known that Plaintiff and Class Members were entitled to receive all required meal
 8       periods or payment of one (1) additional hour of pay at Plaintiff's and Class Members' regular
 9       rate of pay when they did not receive a timely, uninterrupted meal period. In violation of the
10       Labor Code and IWC Wage Orders, Plaintiff and Class Members did not receive all meal
11       periods or payment of one (1) additional hour of pay at Plaintiff's and Class Members' regular
12       rate of pay when they did not receive a timely, uninterrupted meal period.
13               31.    Plaintiff is informed and believes, and thereon alleges, that Defendants knew or
14       should have known that Plaintiff and Class Members were entitled to receive all rest breaks or
15       payment of one (1) additional hour of pay at Plaintiff's and Class Members' regular rate of pay
16       when a rest break was late, missed, or interrupted. In violation of the Labor Code and IWC
17       Wage Orders, Plaintiff and Class Members did not receive all rest breaks or payment of one (1)
18       additional hour of pay at Plaintiff's and Class Members' regular rate of pay when a rest break
19       was missed, late, or interrupted.
20              32.     Plaintiff is informed and believes, and thereon alleges, that Defendants knew or
21       should have known that Plaintiff and Class Members were entitled to receive itemized wage
22       statements that accurately showed the name of the employer entity, gross and net wages earned,
23       total hours worked, all applicable hourly rates in effect, and the number of hours worked at
24       each hourly rate in accordance with California law. In violation of the Labor Code, Plaintiff
25       and Class Members were not provided with accurate itemized wage statements.
26              33.     Defendants knew or should have known that the Waiting Time Subclass was
27       entitled to timely payment of wages due upon separation of employment. In violation of the
28
                                                        -7-
                                             CLASS ACTION COMPLAINT

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     1    Labor Code, the Waiting Time Subclass did not receive payment of all wages within the
     2    permissible time periods.

     3           34.     Plaintiff is informed and believes, and thereon alleges, that Defendants knew or
     4    should have known they had a duty to compensate Plaintiff and Class Members, and
     5    Defendants had the financial ability to pay such compensation but willfully, knowingly, and
 6        intentionally failed to do so in order to increase Defendants' profits.
 7               35.     Therefore, Plaintiff brings this lawsuit seeking monetary and injunctive relief
 8       against Defendants on behalf of himself and all Class Members to recover, among other things,
 9       unpaid wages (including minimum wages and overtime wages), unpaid meal period premium
10       payments, unpaid rest period premium payments, interest, attorneys' fees, penalties, costs, and
11       expenses.
12                                          FIRST CAUSE OF ACTION
13                                    FAILURE TO PAY MINIMUM WAGES
14           (Violation of Labor Code §§ 1194, 1194.2, and 1197; Violation of IWC Wage Order §3-4)
15               36.     Plaintiff hereby re-alleges and incorporates by reference all paragraphs above as
16       though fully set forth herein.
17               37.    Labor Code §§ 1194 and 1197 provide that the minimum wage for employees
18       fixed by the IWC is the minimum wage to be paid to employees, and the payment of a lesser
19       wage than the minimum so fixed is unlawful.
20              38.     During the relevant time period, Defendants paid Plaintiff and Class Members
21       less than minimum wages when they failed to pay proper compensation for all hours worked.
22       To the extent these hours do not qualify for the payment of overtime, Plaintiff and Class
23       Members were not being paid at least minimum wage for their work.
24              39.     During the relevant time period, Defendants regularly failed to pay at least
25       minimum wage to Plaintiff and Class Members for all hours worked pursuant to Labor Code
26       §§ 1194 and 1197.
27              40.     Defendants' failure to pay Plaintiff and Class Members the required minimum
28       wage violates Labor Code §§ 1194 and 1197. Pursuant to these sections, Plaintiff and Class
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                                            CLASS ACTION COMPLAINT

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Case 2:19-cv-01225 Document 1-3 Filed 02/19/19 Page 17 of 129 Page ID #:35




 1    Members are entitled to recover the unpaid balance of their minimum wage compensation as

 2    well as interest, costs, and attorneys' fees.
 3            41.     Pursuant to Labor Code § 1194.2, Plaintiff and Class Members are entitled to
 4   recover liquidated damages in an amount equal to the wages unlawfully unpaid and the accrued
 5   interest thereon.
 6                                      SECOND CAUSE OF ACTION

 7                                     FAILURE TO PAY OVERTIME

 8          (Violation of Labor Code §§ 510, 1194, and 1198; Violation of IWC Wage Order § 3)

 9           42.     Plaintiff hereby re-alleges and incorporates by reference all paragraphs above as
10   though fully set forth herein.
11           43.     Labor Code § 1198 and the applicable IWC Wage Order provide that it is
12   unlawful to employ persons without compensating them at a rate of pay either one and one-half
13      / ) or two (2) times the person's regular rate of pay, depending on the number of hours
     (112
14   worked by the person on a daily or weekly basis.
15           44.     Specifically, the applicable IWC Wage Orders provide that Defendants are and
16   were required to pay overtime compensation to Plaintiff and Class Members at the rate of one
17                         / ) their regular rate of pay when working and for all hours worked in
     and one-half times (112

18   excess of eight (8) hours in a day or more than forty (40) hours in a workweek and for the first
19   eight (8) hours of work on the seventh day of work in a workweek.
20           45.     The applicable IWC Wage Orders further provide that Defendants are and were
21   required to pay overtime compensation to Plaintiff and Class Members at a rate of two times
22   their regular rate of pay when working and for all hours worked in excess of twelve (12) hours
23   in a day or in excess of eight (8) hours on the seventh day of work in a workweek.
24           46.     California Labor Code § 510 codifies the right to overtime compensation at one
25   and one-half (1Y2) times the regular hourly rate for hours worked in excess of eight (8) hours in
26   a day or forty (40) hours in a week and for the first eight (8) hours worked on the seventh
27   consecutive day of work, and overtime compensation at twice the regular hourly rate for hours
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                                         CLASS ACTION COMPLAINT

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Case 2:19-cv-01225 Document 1-3 Filed 02/19/19 Page 18 of 129 Page ID #:36



     1    worked in excess of twelve (12) hours in a day or in excess of eight (8) hours in a day on the

     2    seventh day of work in a workweek.

     3            47.       Labor Code § 510 and the applicable IWC Wage Orders provide that
     4    employment of more than six days in a workweek is only permissible if the employer pays

     5    proper overtime compensation as set forth herein.

     6            48.       Plaintiff and Class Members were non-exempt employees entitled to the

     7    protections of California Labor Code §§ 510 and 1194.

 8               49.        During the relevant time period, Defendants required Plaintiff and Class

 9        Members to work in excess of eight (8) hours in a day and/or forty (40) hours in a week,

10        entitling them to overtime wages.

11               50.        To the extent the hours worked by Plaintiff and Class Members during the

12        relevant time period qualify for the payment of overtime and double time wages, Plaintiff and

13       Class Members were not paid all overtime and double time wages owed. Defendants failed to

14       pay Plaintiff and Class Members overtime wages for all overtime hours worked.

15               51.        In violation of state law, Defendants knowingly and willfully refused to perform

16       their obligations and compensate Plaintiff and Class Members for all wages earned and all

17       hours worked.
18               52.        Defendants' failure to pay Plaintiff and Class Members the unpaid balance of
19       overtime compensation, as required by California law, violates the provisions of Labor Code

20       §§ 510 and 1198, and is therefore unlawful.

21               53.     Pursuant to Labor Code § 1194, Plaintiff and Class Members are entitled to

22       recover their unpaid overtime and double time compensation as well as interest, costs, and

23       attorneys' fees.

24                                          THIRD CAUSE OF ACTION
25                                   FAILURE TO PROVIDE MEAL PERIODS

26               (Violation of Labor Code §§ 226.7 and 512; Violation of IWC Wage Order § 11)

27              54.      Plaintiff hereby re-alleges and incorporates by reference all paragraphs above as

28       though fully set forth herein
                                                          -10-
                                              CLASS ACTION COMPLAINT

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     1           55.      Labor Code § 226.7 provides that no employer shall require an employee to work
     2    during any meal period mandated by the IWC Wage Orders.
     3           56.      Section 11 of the applicable IWC Wage Order states, "[njo employer shall
 4        employ any person for a work period of more than five (5) hours without a meal period of not

 5        less than 30 minutes, except that when a work period of not more than six (6) hours will

 6        complete the day's work the meal period may he waived by mutual consent of the employer and

 7       the employee."

 8               57.     Labor Code § 512(a) provides that an employer may not require, cause, or permit
 9       an employee to work for a period of more than five (5) hours per day without providing the

10       employee with an uninterrupted meal period of not less than thirty (30) minutes, except that if

11       the total work period per day of the employee is not more than six (6) hours, the meal period
12       may be waived by mutual consent of both the employer and the employee.

13               58.    Labor Code § 512(a) also provides that an employer may not employ an

14       employee for a work period of more than ten (10) hours per day without providing the employee

15       with a second meal period of not less than thirty (30) minutes, except that if the total hours

16       worked is no more than twelve (12) hours, the second meal period may be waived by mutual

17       consent of the employer and the employee only if the first meal period was not waived.

18              59.     During the relevant time period, Plaintiff and Class Members did not receive
19       compliant meal periods for working more than five (5) and/or ten (10) hours per day because
20       their meal periods were missed, late, and/or short.

21              60.     Labor Code § 226.7(b) and section 11 of the applicable IWC Wage Order require

22       an employer to pay an employee one (1) additional hour of pay at the employee's regular rate of

23       compensation for each work day that a compliant meal period is not provided.

24              61.     At all relevant times, Defendants failed to pay Plaintiff and Class Members meal

25       period premiums for missed, late, and/or short meal periods pursuant to Labor Code § 226.7(b)
26       and section 11 of the applicable IWC Wage Order.

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                                           CLASS ACTION COMPLAINT

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     1            62.     As a result of Defendants' failure to pay Plaintiff and Class Members an
     2    additional hour of pay for each day a compliant meal period was not provided, Plaintiff and

 3        Class Members suffered and continue to suffer a loss of wages and compensation.
 4                                        FOURTH CAUSE OF ACTION

 5                                   FAILURE TO PERMIT REST BREAKS
 6                      (Violation of Labor Code §§ 226.7; Violation of IWC Wage Order § 12)
 7               63.      Plaintiff hereby re-alleges and incorporates by reference all paragraphs above as
 8       though fully set forth herein.
 9               64.      Labor Code § 226.7(a) provides that no employer shall require an employee to
10       work during any rest period mandated by the IWC Wage Orders.
11               65.     Section 12 of the applicable IWC Wage Order states "je]very employer shall
12.      authorize and permit all employees to take rest periods, which insofar as practicable shall be in
13       the middle of each work period[,]" and the "[ajuthorized rest period time shall be based on the
14       total hours worked daily at the rate of ten (10) minutes net rest time per four (4) hours or major
15       fraction thereof[,]" unless the total daily work time is less than three and one-half (3Y2) hours.
16               66.     During the relevant time period, Plaintiff and Class Members did not receive a
17       ten (10) minute rest period for every four (4) hours or major fraction thereof worked because
18       they were required to work through their daily rest periods and/or were not authorized to take
19       their rest periods.
20               67.     Labor Code § 226.7(b) and section 12 of the applicable IWC Wage Order
21       requires an employer to pay an employee one (1) additional hour of pay at the employee's
22       regular rate of compensation for each work day that a compliant rest period is not provided.
23              68.      At all relevant times, Defendants failed to pay Plaintiff and Class Members rest
24       period premiums for missed, late, and/or interrupted rest periods pursuant to Labor Code §
25       226.7(b) and section 12 of the applicable IWC Wage Order.
26              69.      As a result of Defendants' failure to pay Plaintiff and Class Members an
27       additional hour of pay for each day a compliant rest period was not provided, Plaintiff and Class
28       Members suffered and continue to suffer a loss of wages and compensation.
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                                            CLASS ACTION COMPLAINT

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     1                                     FIFTH CAUSE OF ACTION
     2            FAILURE TO PROVIDE ACCURATE ITEMIZED WAGE STATEMENTS
  3                                        (Violation of Labor Code § 226)
  4              70.     Plaintiff hereby re-alleges and incorporates by reference all paragraphs above as
  5       though fully set forth herein.
 6               71.     Labor Code. § 226(a) requires Defendants to provide each employee with an
 7       accurate wage statement in writing showing nine pieces of information, including, the
 8       following: (1) gross wages earned, (2) total hours worked by the employee, (3) the number of
 9       piece-rate units earned and any applicable piece rate if the employee is paid on a piece-rate
10       basis, (4) all deductions, provided that all deductions made on written orders of the employee
11       may be aggregated and shown as one item, (5) net wages earned, (6) the inclusive dates of the
12       period for which the employee is paid, (7) the name of the employee and the last four digits of
13       his or her social security number or an employee identification number other than a social
14       security number, (8) the name and address of the legal entity that is the employer, and (9) all
15       applicable hourly rates in effect during the pay period and the corresponding number of hours
16       worked at each hourly rate by the employee.
17               72.    During the relevant time period, Defendants have knowingly and intentionally
18       failed to comply with Labor Code § 226(a) on wage statements that were provided to Plaintiff
19       and Class Members. The deficiencies include, among other things, the failure to correctly state
20       the employing entity name, gross and net wages earned, total hours worked, all applicable
21       hourly rates in effect, and the number of hours worked at each hourly rate by Plaintiff and Class
22       Members.
23               73.    As a result of Defendants' knowing and intentional failure to comply with Labor
24       Code § 226(a), Plaintiff and Class Members have suffered injury and damage to their
25       statutorily-protected rights. Specifically, Plaintiff and Class Members are deemed to suffer an
26       injury pursuant to Labor Code § 226(e) where, as here, Defendants intentionally violated Labor
27       Code § 226(a). Plaintiff and Class Members were denied both their legal right to receive, and
28       their protected interest in receiving, accurate itemized wage statements under Labor Code
                                                       -13-
                                           CLASS ACTION COMPLAINT

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     1    § 226(a). In addition, because Defendants failed to provide the accurate rates of pay on wage
     2    statements, Defendants prevented Plaintiff and Class Members from determining if all hours
     3    worked were paid at the appropriate rate and the extent of the underpayment. Plaintiff has had
     4    to file this lawsuit in order to analyze the extent of the underpayment, thereby causing Plaintiff
     5    to incur expenses and lost time. Plaintiff would not have had to engage in these efforts and
 6        incur these costs had Defendants provided the accurate hours worked, wages earned, and rates
 7        of pay. This has also delayed Plaintiff's ability to demand and recover the underpayment of
 8        wages from Defendants.
 9               74.     Plaintiff and Class Members are entitled to recover from Defendants the greater
10       of all actual damages caused by Defendants' failure to comply with Labor Code § 226(a) or
11       fifty dollars ($50.00) for the initial pay period in which a violation occurred and one hundred
12       dollars ($100.00) per employee for each violation in subsequent pay periods in an amount not
13       exceeding four thousand dollars ($4,000.00) per employee, plus attorneys' fees and costs.
14               75.     Defendants' violations of California Labor Code § 226(a) prevented Plaintiff
15       and Class Members from knowing, understanding, and disputing the wages paid to them and
16       resulted in an unjustified economic enrichment to Defendants. As a result of Defendants'
17       knowing and intentional failure to comply with California Labor Code § 226(a), Plaintiff and
18       Class Members have suffered an injury, in the exact amount of damages and/or penalties to be "
19       shown according to proof at trial.
20               76.     Plaintiff and Class Members are also entitled to injunctive relief under
21       California Labor Code § 226(h), compelling Defendants to comply with California Labor Code
22       § 226. Accordingly, Plaintiff and Class Members seek the recovery of attorneys' fees and costs
23       incurred in obtaining this injunctive relief.
24                                          SIXTH CAUSE OF ACTION
25          FAILURE TO PAY ALL WAGES DUE UPON SEPARATION OF EMPLOYMENT
26                                 (Violation of Labor Code §§ 201, 202, and 203)
27              77.     Plaintiff hereby re-alleges and incorporates by reference all paragraphs above as
28       though fully set forth herein.
                                                         -14-
                                              CLASS ACTION COMPLAINT

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Case 2:19-cv-01225 Document 1-3 Filed 02/19/19 Page 23 of 129 Page ID #:41




 1           78.     Labor Code §§ 201 and 202 provide that if an employer discharges an employee,

 2    the wages earned and unpaid at the time of discharge are due and payable immediately, and that

 3   if an employee voluntarily leaves his employment, his or her wages shall become due and

 4   payable not later than seventy-two (72) hours thereafter, unless the employee has given

 5   seventy-two (72) hours previous notice of an intention to quit, in which case the employee is

 6   entitled to his or her wages at the time of quitting.

 7           79.     During the relevant time period, Defendants willfully failed to pay the Waiting

 8   Time Subclass all their earned wages upon termination, including, but not limited to, proper

 9   minimum wage and overtime compensation, meal period premiums, and rest period premiums

10   either at the time of discharge or within seventy-two (72) hours of their leaving Defendants'

11   employ.

12           80.     Defendants' failure to pay the Waiting Time Subclass all their earned wages at

13   the time of discharge or within seventy-two (72) hours of their leaving Defendants' employ is

14   in violation of Labor Code §§ 201 and 202.

15           81.     Labor Code § 203 provides that if an employer willfully fails to pay wages owed

16   immediately upon discharge or resignation in accordance with Labor Code §§ 201 and 202,

17   then the wages of the employee shall continue as a penalty from the due date at the same rate

18   until paid or until an action is commenced; but the wages shall not continue for more than thirty

19   (30) days.

20           82.    Pursuant to Labor Code § 203, the Waiting Time Subclass is entitled to recover

21   from Defendants the statutory penalty, which is defined as the Waiting Time Subclass

22   members' regular daily wages at their regular hourly rate of pay for each day they were not

23   paid, up to a maximum of thirty (30) days.

24                                    SEVENTH CAUSE OF ACTION

25         VIOLATION OF BUSINESS AND PROFESSIONS CODE 4§ 17200, ET SEQ.

26                    (Violation of Business and Professions Code §§ 17200, et seq.)

27          83.     Plaintiff hereby re-alleges and incorporates by reference all paragraphs above as

28   though fully set forth herein.
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                                         CLASS ACTION COMPLAINT

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     1            84.     California Business and Professions Code §§ 17200, et seq., prohibits acts of
     2    unfair competition, which includes any "unlawful, unfair or fraudulent business act or practice .

     3    . .
     4            85.     A violation of California Business and Professions Code §§ 17200, et seq., may
     5    be predicated on a violation of any state or federal law. In the instant case, Defendants' policies

 6        and practices violated state law, causing Plaintiff and Class Members to suffer and continue to
 7        suffer injuries-in-fact.
 8                86.     Defendants' policies and practices violated state law in at least the following
 9        respects:
10                        (a)        Failing to pay all wages earned (including minimum wage and overtime
11                                   wages) to Plaintiff and Class Members in violation of Labor Code §§
12                                   510, 1194, 1194.2, 1197, and 1198.
13                        (b)        Failing to provide compliant meal periods without paying Plaintiff and
14                                   Class Members premium wages for every day said meal periods were not
15                                   provided in violation of Labor Code §§ 226.7 and 512.
16                       (c)         Failing to authorize or permit compliant rest breaks without paying
17                                   Plaintiff and Class Members premium wages for every day said rest
18                                   breaks were not authorized or permitted in violation of Labor Code §
19                               226.7.
20                       (d)     Failing to provide Plaintiff and Class Members with accurate itemized
21                               wage statements in violation of Labor Code § 226.
22                       (e)     Failing to timely pay all earned wages to the members of the Waiting
23                               Time Subclass upon separation of employment in violation of Labor
24                               Code §§ 201, 202, and 203.
25               87.     As alleged herein, Defendants systematically engaged in unlawful conduct in
26       violation of the California Labor Code and IWC Wage Orders, such as failing to pay all wages
27       (minimum and overtime wages), failing to provide meal periods and rest breaks or
28       compensation in lieu thereof, failing to furnish accurate wage statements, and failing to pay all
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                                               CLASS ACTION COMPLAINT

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Case 2:19-cv-01225 Document 1-3 Filed 02/19/19 Page 25 of 129 Page ID #:43




     1    wages due and owing upon separation of employment in a timely manner to the Waiting Time

     2    Subclass, all in order to decrease their costs of doing business and increase their profits.
     3           88.     At all relevant times herein, Defendants held themselves out to Plaintiff and
     4    Class 'Members as being knowledgeable concerning the labor and employment laws of

     5    California.
 6               89.     At all times relevant herein, Defendants intentionally avoided paying Plaintiff

 7       and Class Members wages and monies, thereby creating for Defendants an artificially lower

 8       cost of doing business in order to undercut their competitors and establish and/or gain a greater

 9       foothold in the marketplace.

10               90.     By violating the foregoing statutes and regulations as herein alleged,

11       Defendants' acts constitute unfair and unlawful business practices under California Business

12       and Professions Code §§ 17200, el seq.

13               91.     As a result of the unfair and unlawful business practices of Defendants as
14       alleged herein, Plaintiff and Class Members are entitled to injunctive relief, disgorgement, and
15       restitution in an amount to be shown according to proof at trial.

16               92.    Plaintiff seeks to enforce important rights affecting the public interest within the

17       meaning of California Code of Civil Procedure § 1021.5. Defendants' conduct, as alleged

18       herein, has been and continues to be unfair, unlawful, and harmful to Plaintiff, Class Members,

19       and the general public. Based on Defendants' conduct as alleged herein, Plaintiff and Class

20       Members are entitled to an award of attorneys' fees pursuant to California Code of Civil

21       Procedure § 1021.5.

22                                           PRAYER FOR RELIEF

23              Plaintiff, on his own behalf and on behalf of all others similarly situated, prays for relief

24       and judgment against Defendants, jointly and severally, as follows:

25              1.      For certification under California Code of Civil Procedure § 382 of the proposed

26       Class, Waiting Time Subclass, and any other appropriate subclasses;

27              2.      For appointment of Mitchel Parker as the class representative;

28              3.      For appointment of Aegis Law Firm, PC, as class counsel for all purposes;
                                                        -17-
                                            CLASS ACTION COMPLAINT

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     1           4.     For compensatory damages in an amount according to proof at trial;

 2               5.     For an award of damages in the amount of unpaid compensation including, but

 3       not limited to, unpaid wages, benefits, and penalties;

 4              6.      For economic and/or special damages in an amount according to proof at trial;

 5               7.     For liquidated damages pursuant to Labor Code § 1194.2;

 6              8.      For statutory penalties to the extent permitted by law, including those pursuant
 7       to the Labor Code and IWC Wage Orders;

 8              9.      For injunctive relief as provided by the California Labor Code and California

 9       Business and Professions Code §§ 17200, et seq.;

10              10.     For restitution as provided by Business and Professions Code §§ 17200, et seq.;

11              11.     For an order requiring Defendants to restore and disgorge all funds to each
12       employee acquired by means of any act or practice declared by this Court to be unlawful,

13       unfair, or fraudulent and, therefore, constituting unfair competition under Business and

14       Professions Code §§ 17200, et seq.;

15              12.    For pre judgment interest;

16              13.    For reasonable attorneys' fees, costs of suit, and interest to the extent permitted

17       by law, including, but not limited to, Code of Civil Procedure § 1021.5 and Labor Code §§

18       226(e) and 1194; and

19              14.    For such other relief as the Court deems just and proper.

20

21

22       Dated:,January 15, 2019                       AEGIS LAW FIRM, PC

23
                                                 By:
24                                                     J ssica L. Campbell
                                                       Attorneys for Plaintiff Mitchel Parker
25

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                                           CLASS ACTION COMPLAINT

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Case 2:19-cv-01225 Document 1-3 Filed 02/19/19 Page 27 of 129 Page ID #:45



     1                                 DEMAND FOR JURY TRIAL
     2          Plaintiff hereby demands a jury trial with respect to all issues triable of right by jury.

     3

     4   Dated: January 15, 2019                        AEGIS LAW FIRM, PC
     5

     6                                            By:
                                                        Jes ca L. Campbell
     7                                                  Attorneys for Plaintiff Mitchel Parker
     8

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                                          CLASS ACTION COMPLAINT

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                 EXHIBIT B
Case 2:19-cv-01225 Document 1-3 Filed 02/19/19 Page 29 of 129 Page ID #:47


 1, CT Corporation                                                          Service of Process
                                                                            Transmittal
                                                                            01/18/2019
                                                                            CT Log Number 534763503
   TO:        Francis Ferrara, Senior VP Et Deputy General Counsel
              Veolia North America
              120 Water St Ste 212
              North Andover, MA 01845-2648

   RE:        Process Served in California

   FOR:       Veolia Water North America Operating Services, LLC (Domestic State: DE)




   ENCLOSED ARE COPIES OF LEGAL PROCESS RECEIVED BY THE STATUTORY AGENT OF THE ABOVE COMPANY AS FOLLOWS:

   TITLE OF ACTION:                    MITCHEL PARKER, ETC., PLTF. vs. VEOLIA ENERGY NORTH AMERICA, LLC., ET AL.,
                                       DFTS. // TO: VEOLIA WATER NORTH AMERICA OPERATING SERVICES, LLC
   DOCUMENT(S) SERVED:                  LETTER, COMPLAINT
   COURT/AGENCY:                       San Bernardino County - Superior Court, CA
                                       Case # None Specified
   NATURE OF ACTION:                   Employee Litigation - Failure to Pay Minimum Wages (SEE DOCUMENTS FOR
                                       ADDITIONAL INFORMATION)
   ON WHOM PROCESS WAS SERVED:         C T Corporation System, Los Angeles, CA
   DATE AND HOUR OF SERVICE:           By Certified Mail on 01/18/2019 postmarked: "Not Post Marked"
   JURISDICTION SERVED                 California
   APPEARANCE OR ANSWER DUE:           None Specified
   ATTORNEY(S) / SENDER(S):            KASHIF HAQUE
                                       AEGIS LAW FIRM, PC
                                       9811 Irvine Center Drive
                                       Suite 100
                                       Irvine, CA 92618
                                       949-379-6250
   ACTION ITEMS:                       CT has retained the current log, Retain Date: 01/19/2019, Expected Purge Date:
                                       01/24/2019
                                       Image SOP
                                       Email Notification, Francis Ferrara frankierrara@veolia.com
                                       Email Notification, Whitney Fawcett whitney.fawcett@veolia.com
                                       Email Notification, Katie Lynch katie.lynch@veolia.com
                                       Email Notification, Holly Garabedian holly.garabedian@veolia.corn

   SIGNED:                             C T Corporation System
   ADDRESS:                            818 West Seventh Street
                                       Los Angeles, CA 90017
   TELEPHONE:                          213-337-4615




                                                                          Page 1 of 1 / RB
                                                                          Information displayed on this transmittal is for CT
                                                                          Corporation's record keeping purposes only and is provided to
                                                                          the recipient for quick reference. This information does not
                                                                          constitute a legal opinion as to the nature of action, the
                                                                          amount of damages, the answer date, or any information
                                                                          contained in the documents themselves. Recipient is
                                                                          responsible for interpreting said documents and for taking
                                                                          appropriate action. Signatures on certified mail receipts
                                                                          confirm receipt of package only, not contents.
Case 2:19-cv-01225 Document 1-3 Filed 02/19/19 Page 30 of 129 Page ID #:48




                                                             CT
 PLEASE NOTE:


 SERVICE TAKEN FOR:
 VEOLIA WATER NORTH AMERICA OPERATING
    SERVICES, LLC




                                                         (2). Wolters Kluwer

                                   28
Case 2:19-cv-01225 Document 1-3 Filed 02/19/19 Page 31 of 129 Page ID #:49
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                           Io AEGIS LAW
                           9811 Irvine Center Drive, Suite 100
                                Irvine, California 92618




                  C T CORPORATION SYSTEM (C0168406)
                      818 West Seventh Street_ Suite 930
                           Los Angeles, CA 90017
Case 2:19-cv-01225 Document 1-3 Filed 02/19/19 Page 32 of 129 Page ID #:50
                                                                    AEGIS LAW FIRM, PC

CAIAEGIS LAW                                                        9811 Irvine Center Drive, Suite 100
                                                                    Irvine, California 92618
                                                                    Telephone: 949.379.6250
                                                                    Facsimile: 949.379.6251
                                                                    www.aegislawfirm.com



                                         January 15, 2019

 VIA ONLINE SUBMISSION

 California Labor and Workforce Development Agency
 Attn: PAGA Administrator

VIA CERTIFIED MAIL (RETURN RECEIPT REQUESTED)

Agent for Service of Process for Veolia Energy North America, Llc; Veolia Water North
America Operating Services, LLC; Veolia Water North America-West, LLC:
C T CORPORATION SYSTEM (C0168406)
818 West Seventh Street, Suite 930
Los Angeles, CA 90017

        Re:        Mitchel Parker v. Veolia Energy North America, Lk: Veolia Water North
                   America Operating Services, LLC; Veolia Water North America-West, LLC

Dear Labor and Workforce Development Agency and Veolia Energy North America, Lie; Veolia
Water North America Operating Services, LLC; Veolia Water North America-West, LLC:

        Please allow this correspondence to serve as written notice required by California Labor
Code § 2699.3(a)(1) of the specific provisions of the Labor Code allegedly violated by Veolia
Energy North America, Lie; Veolia Water North America Operating Services, LLC; Veolia Water
North America-West, LLC ("Veolia") and the facts and theories in support of said allegations.
This firm represents Mitchel Parker ("Claimant"); we hereby notify you that Claimant intends to
seek penalties against Veolia under the Private Attorneys General Act of 2004, Cal. Lab. Code §§
2698 et seq., on behalf of himself and all other aggrieved employees.

       Specific Provisions of the California Labor Code Allegedly Violated by Veolia

       The specific provisions of the Labor Code allegedly violated by Veolia and the provisions
under which Claimant submits this correspondence include the following: §§ 201-203, 204, 210,
226,2263,226.7,510,512,558,1174,1174.5,1194, 1194.2,1197, and 1198.

       Facts and Theories Supporting the Allegations Against Veolia

        Claimant and other aggrieved employees worked for Veolia as non-exempt employees in
California. Claimant was employed by Veolia as a non-exempt employee in California within the
past year.

        Veolia failed to provide 30-minute uninterrupted meal periods within the appropriate time
intervals to Claimant and other aggrieved employees as required by Labor Code section 512 and



                    Irvine                 Los Angeles                 Riverside
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 section 11 of the applicable Wage Order. Claimant and other aggrieved employees frequently
 worked shifts over five hours and 10 hours and did not receive lawful meal periods because Veolia
 required its employees to work through their meal periods or were not scheduled to be relieved by
 other employees at the appropriate intervals to receive all meal periods, and as a result, the meal
 periods were missed, late, short, and/or interrupted. Claimant and other aggrieved employees
 worked over 10 hours in some instances and were entitled to a second meal period, but were not
 provided a second meal period for the same reasons stated herein.

         When Claimant and other aggrieved employees missed meal periods or if the meal periods
were late, short, and/or interrupted, Veolia violated Labor Code sections 226.7 and 512, as well as
section 11 of the applicable Wage Order, by failing to pay an additional hour of pay at the regular
rate of pay to Claimant and other aggrieved employees for every day in which they suffered a meal
period violation, and they were entitled to this meal period premium pursuant to Labor Code
section 558.

       Additionally, Veolia failed to authorize or permit 10 minute rest periods for every four
hours or major fraction thereof worked because Claimant and other aggrieved employees were
required to work through their rest periods, were not authorized to take their rest periods, were
discouraged from taking their rest periods, and/or were not scheduled to be relieved by other
employees at the appropriate intervals to receive all rest periods. Claimant and other aggrieved
employees worked over 10 hours in some instances and were entitled to a third rest period, but
were not provided a third rest period for the same reasons stated herein.

        When Claimant and other aggrieved employees did not receive rest periods, Veolia violated
Labor Code section 226.7 and section 12 of the applicable Wage Order by failing to pay an
additional hour of pay at the regular rate of pay to Claimant and other aggrieved employees, and
they were entitled to this rest period premium pursuant to Labor Code section 558.

         Veolia failed to pay Claimant and other aggrieved employees at least the legal minimum
wage for all hours worked (in violation of Labor Code sections 558, 1194, 1194.2, 1197, and 1198)
due to Veolia's policy and practice of requiring Claimant and aggrieved employees to work
through their meal periods without proper pay and work after clocking out to complete "turnover"
to the next employee corning on shift. To the extent such work performed while clocked out
entitled employees to pay at the legal minimum wage rate or at the overtime rate of pay, Veolia
failed to pay Claimant and other aggrieved all minimum wages, overtime wages, and double time
wages for these hours. Veolia also failed to pay overtime and double time at the proper rate because
incentive pay, such as bonuses were not included in Claimant's and aggrieved employees' regular
rate of pay. Thus, Veolia did not pay all overtime and double time wages for the overtime and
double time hours worked, including, but not limited to, hours worked in excess of eight hours in
a day and/or 40 hours in a week (in violation of Labor Code sections 510, 1194, and 1198).

        As a result of, and in addition to, these actions, Veolia violated Labor Code sections 226
and 226.3 by failing to provide itemized wage statements that accurately reported the following:
(1) gross wages earned; (2) total hours worked by the employee; (3) the number of piece-rate units
earned and any applicable piece rate if the employee is paid on a piece-rate basis; (4) all deductions,
provided that all deductions made on written orders of the employee may be aggregated and shown
as one item; (5) net wages earned; (6) the inclusive dates of the period for which the employee is

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paid; (7) the name of the employee and the last four digits of his or her social security number or
an employee identification number other than a social security number; (8) the name and address
of the legal entity that is the employer; and (9) all applicable hourly rates in effect during the pay
period and the corresponding number of hours worked at each hourly rate by the employee. For
example, Veolia failed to list the accurate employing entity on Claimant's and aggrieved
employees' wage statements. Similarly, Veolia violated Labor Code sections 1174 and 1174.5 by
failing to maintain accurate and complete records showing the hours worked daily by the aggrieved
employees and the wages paid to aggrieved employees (due to the same underpayment of wages
referenced above).

      Furthermore, Veolia violated the Labor Code by failing to properly pay all these wages
owed throughout aggrieved employees' employment and following the end of these workers'
employment with Veolia (in violation of Labor Code sections 201-203, 204, and 210).

        Based on these violations, Claimant seeks attorneys' fees, interest, and penalties under the
Labor Code. The civil penalties Claimant seeks on behalf of himself and other aggrieved
employees include those authorized by Labor Code section 558. Attached hereto and incorporated
herein is Claimant's class action complaint. Claimant intends to amend the complaint to include a
cause of action pursuant to Labor Code §§ 2698, et seq., after the minimum required review period
elapses.

        Thank you for your assistance on this matter. Should you have any questions or comments,
please do not hesitate to contact the undersigned.


                                                             Very truly yours,
                                                             AEGIS LAW FIRM



                                                            Jessica L. Campbell

Enclosure(s)
Class Action Complaint




                                                 3


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.).




       '    AEGIS LAW FIRM, PC
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        5   Facsimile: (949) 379-6251
       6    Attorneys for Plaintiff Mitchel Parker, individually,
            and on behalf of all others similarly situated.
       7

       8                      SUPERIOR COURT OF THE STATE OF CALIFORNIA

       9                                FOR THE COUNTY OF SAN BERNARDINO

      10
            MITCHEL PARKER, individually and on            Case No.
      11    behalf of all others similarly situated,
      12
                           Plaintiff,                      CLASS ACTION COMPLAINT FOR:
      13
                   vs.                                       1. Failure to Pay Minimum Wages;
      14
            VEOLIA ENERGY NORTH AMERICA,                     2. Failure to Pay Overtime Wages;
      15    LLC; VEOLIA WATER NORTH
            AMERICA OPERATING SERVICES,                      3. Failure to Provide Meal Periods;
      16
            LLC; VEOLIA WATER NORTH
            AMERICA-WEST, LLC; and DOES 1                    4. Failure to Permit Rest Breaks;
      17
            through 20, inclusive,
      18                                                     5. Failure to Provide Accurate Itemized Wage
                          Defendants.                           Statements;
      19
                                                             6. Failure to Pay All Wages Due Upon
      20                                                        Separation of Employment; and
      21                                                     7. Violation of Business and Professions
      22                                                        Code §§ 17200, el seq.

      23
                                                           DEMAND FOR JURY TRIAL
      24

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     1           PlAintiff Mitchel Parker, individually, and on behalf of others similarly situated, alleges

  2       as follows:

  3                     NATURE OF ACTION AND INTRODUCTORY STATEMENT

  4              1.      Plaintiff Mitchel Parker ("Plaintiff') brings this putative class action against

  5      defendant Veolia Energy North America, LLC; Veolia Water North America Operating

  6      Services, LLC; Veolia Water North America-West, LLC and DOES 1 through 20, inclusive

  7      (collectively, "Defendants"), on behalf of himself individually and a putative class of California

  8      citizens who are and were employed by Defendants as non-exempt employees throughout
  9      California.

10               2.     Defendants are in the business of providing water, waste, and energy services.

 11              3.     Through this action, Plaintiff alleges that Defendants engaged in a systematic

12       pattern of wage and hour violations under the California Labor Code and Industrial Welfare

13       Commission ("IWC") Wage Orders, all of which contribute to Defendants' deliberate unfair

14       competition.

15               4.     Plaintiff is informed and believes, and thereon alleges, that Defendants have

16       increased their profits by violating state wage and hour laws by, among other things:

17                      (a)    failing to pay all wages (including minimum wages and overtime

18                             wages);

19                      (b)    failing to provide lawful meal periods or compensation in lieu thereof;

20                      (c)    failing to authorize or permit lawful rest breaks or provide compensation

21                             in lieu thereof;

22                      (d)    failing to provide accurate itemized wage statements; and

23                      (e)    failing to pay all wages due upon separation of employment.

24              5.      Plaintiff seeks monetary relief against Defendants on behalf of himself and all

25       others similarly situated in California to recover, among other things, unpaid wages and

26       benefits, interest, attorneys' fees, costs and expenses, and penalties pursuant to Labor Code §§

27       201-203, 226, 226.7, 510, 512, 1194, 1194.2, 1197, and 1198, and 'Code of California Civil

28       Procedure § 1021.5.
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                                           CLASS ACTION COMPLAINT

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     1                                   JURISDICTION AND VENUE

     2           6.      This is a class action pursuant to California Code of Civil Procedure § 382. The

     3   monetary damages and restitution sought by Plaintiff exceeds the minimal jurisdictional limits

 4       of the Superior Court and will be established according to proof at trial.

 5               7.      This Court has jurisdiction over this action purSuant to the California

 6       Constitution, Article VI, § 10, which grants the Superior Court original jurisdiction in all

 7       causes except those given by statutes to other courts. The statutes under which this action is

 8       brought do not specify any other basis for jurisdiction.

 9               8.      This Court has jurisdiction over all Defendants because, upon information and

10       belief, they are citizens of California, have sufficient minimum contacts in California, or

11       otherwise intentionally avail themselves of the California market so as to render the exercise of

12       jurisdiction over them by the California courts consistent with traditional notions of fair play

13       and substantial justice.

14               9.      Venue is proper in this Court because, upon information and belief, Defendants

15       reside, transact business, or have offices in this county, and the acts and omissions alleged

16       herein took place in this county.

17                                               THE PARTIES

18               10.    Plaintiff is a resident of California and worked for Defendants in California

19       during the relevant time periods as alleged herein.

20              11.     Plaintiff is informed and believes, and thereon alleges that at all times

21       hereinafter mentioned, Defendants were and .are subject to the Labor Code and IWC Wage

22       Orders as employers, whose employees were and are engaged throughout this county and the

23       State of California.

24              12.     Plaintiff is unaware of the true names or capacities of the defendants sued herein

25       under the fictitious names DOES 1 through 20, but will seek leave of this Court to amend this

26       Complaint and serve such fictitiously named defendants once their names and capacities

27       become known.

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                                             CLASS ACTION COMPLAINT

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     1            13.     Plaintiff is informed and believes, and thereon alleges, that DOES 1 through 20

  2       are or were the partners, agents, owners, shareholders, managers, or employees of Defendants

  3       at all relevant times.

  4               14.     Plaintiff is informed and believes, and thereon alleges, that each defendant acted

  5       in all respects pertinent to this action as the agent of the other defendant, carried out a joint

  6      scheme, business plan, or policy in all respects pertinent hereto, and the acts of each defendant

  7      are legally attributable to the other defendant. Furthermore, defendants in all respects acted as

 8       the employer and/or joint employer of Plaintiff and the class members.

 9               15.      Plaintiff is informed and believes, and thereon alleges, that each and all of the

10       acts and omissions alleged herein were performed by, or are attributable to, Defendants and/or

11       DOES 1 through 20, acting as the agent or alter ego for the other, with legal authority to act on

12       the other's behalf. The acts of any and all Defendants were in accordance with, and represent,

13       the.official policy of Defendants.

14               16.     At all relevant times, Defendants, and each of them, acted within the scope of

15       such agency or employment, or ratified each and every act or omission complained of herein.

16       At all relevant times, Defendants, and each of them, aided and abetted the acts and omissions of
17       each and all the other Defendants in proximately causing the damages herein alleged.

18               17.     Plaintiff is informed and believes, and thereon alleges, that each of said

19       Defendants is in some manner intentionally, negligently, or otherwise responsible for the acts,
20       omissions, occurrences, and transactions alleged herein.

21                                     CLASS ACTION ALLEGATIONS

22               18.     Plaintiff brings this action under Code of Civil Procedure § 382 on behalf of

23       himself and all others similarly situated who were affected by Defendants' Labor Code,

24       Business and Professions Code §§ 17200, and 1WC Wage Order violations.

25               19.     All claims alleged herein arise under California law for which Plaintiff seeks

26       relief authorized by California law.

27               20.     Plaintiff's proposed class consists of and is defined as follows:

28       /I/
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                                              CLASS ACTION COMPLAINT

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     1                     Class

     2                     All California citizens currently or formerly employed by Defendants as non-

     3                     exempt employees in the State of California within four years prior to the filing of

  4                        this action to the date the class is certified ("Class").

  5              21.       Plaintiff also seeks to certify the following subclass of employees:

  6                        Waiting Time Subclass

  7                        All Class Members who separated their employment with Defendants at any time

  8                       within three years prior to the filing of this action to the date the class is certified

 9                        ("Waiting Time Subclass").

10               22.      Plaintiff reserves the right to modify or re-define the Class, establish additional

11       subclasses, or modify or re-define any class or subclass definition as appropriate based on

12       investigation, discovery, and specific theories of liability.

13              23.       Members of the Class and the Waiting Time Subclass described above will be

14       collectively referred to as "Class Members."

15              24.       There are common questions of law and fact as to the Class Members that

16       predominate over any questions affecting only individual members including, but not limited to,

17       the following:

18                        (a)      Whether Defendants failed to pay Plaintiff and Class Members all wages

19                                 (including minimum wages and overtime wages) for all hours worked by

20                                 Plaintiff and Class Members.

21                        (b)      Whether Defendants required Plaintiff and Class Members to work over

22                                 eight (8) hours per day and/or over forty (40) hours per week and failed

23                                 to pay them proper overtime and double time compensation for all

24                                 overtime hours worked.

25                        (c)      Whether Defendants deprived Plaintiff and Class Members of timely

26                                 meal periods or required Plaintiff and Class Members to work through

27                                 meal periods without compensation.

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                      (d)     Whether Defendants deprived Plaintiff and Class Members of rest breaks

  2                          or required Plaintiff and Class Members to work through rest breaks.

  3                   (e)    Whether Defendants failed to provide Plaintiff and Class Members

  4                          accurate itemized wage statements.

  5                  (f)     Whether Defendants failed to timely pay the Waiting Time Subclass all

  6                          wages due upon termination or within seventy-two (72) hours of

  7                          resignation.

  8                  (g)     Whether Defendants' conduct was willful or reckless.

 9                   (h)     Whether Defendants engaged in unfair business practices in violation of

10                           Business and Professions Code §§ 17200, et seq.

11            25.    There is a well-defined community of interest in this litigation and the proposed

12    Class and Subclass are readily ascertainable:

13                   (a)     Numerosity: The Class Members are so numerous that joinder of all

14    members is impractical. Although the members of the entire Class and the Waiting Time

15    Subclass are unknown to Plaintiff at this time, on information and belief, the class is estimated

16    to be at least (50) individuals. The identities of the Class Members are readily ascertainable by

17    inspection of Defendants' employment and payroll records.

18                   (b)     Typicality: The claims (or defenses, if any) of Plaintiff are typical of the

19    claims (or defenses, if any) of the Class Members because Defendants' failure to comply with

20    the provisions of California's wage and hour laws entitled each Class Member to similar pay,

21    benefits, and other relief. The injuries sustained by Plaintiff are also typical of the injuries

22    sustained by the Class Members, because they arise out of and are caused by Defendants'

23    common course of conduct as alleged herein.

24                   (c)    Adequacy: Plaintiff will fairly and adequately represent and protect the

25    interests of all Class Members because it is in his best interest to prosecute the claims alleged

26    herein to obtain full compensation and penalties due to him and the Class Members. Plaintiff's

27    attorneys, as proposed class counsel, are competent and experienced in litigating large

28    employment class actions and versed in the rules governing class action discovery,
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     1    certification, and settlement. Plaintiff has incurred and, throughout the duration of this action,

  2       will continue to incur attorneys' fees and costs that have been and will be necessarily expended

  3       for the prosecution of this action for the substantial benefit of the Class Members.

  4                      (d)     Superiority: The nature of this action makes use of class action

  5      adjudication superior to other methods. A class action will achieve economies of time, effort,

  6      and expense as compared with separate lawsuits and will avoid inconsistent outcomes because

  7      the same issues can be adjudicated in the same manner for the entire Class and Waiting Time

  8      Subclass at the same time. If appropriate, this Court can, and is empowered to, fashion methods

  9      to efficiently manage this case as a class action.

 10                      (e)    Public Policy Considerations: Employers in the State of California

11       violate employment and labor laws every day. Current employees are often afraid to assert their

 12      rights out of fear of direct or indirect retaliation. Former employees are fearful of bringing

13       actions because they believe their former employers might damage their future endeavors

14       through negative references and/or other means. Class actions provide class members who are

15       not named in the complaint with a type of anonymity that allows for the vindication of their

16       rights while affording them privacy protections.

17                                          GENERAL ALLEGATIONS

18               26.    At all relevant times mentioned herein, Defendants employed Plaintiff and other

19       California residents as non-exempt employees throughout California and at Defendants'

20       California business location(s).

21              27.     Defendants continue to employ non-exempt employees within California.

22              28.     Plaintiff is informed and believes, and thereon alleges, that at all times herein

23       mentioned, Defendants were advised by skilled lawyers, employees, and other professionals

24       who were knowledgeable about California's wage and hour laws, employment and personnel

25       practices, and the requirements of California law.

26              29.     Plaintiff is informed and believes, and thereon alleges, that Defendants knew or

27       should have known that Plaintiff and Class Members were entitled to receive wages for all time

28       worked (including minimum wages and overtime wages) and that they were not receiving all
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     1    wages earned for work that was required to be performed. In violation of the Labor Code and

     2    1WC Wage Orders, Plaintiff and Class Members were not paid all wages (including minimum

     3    wages and overtime wages) for all hours worked. These violations were due to Defendants'

  4       requirements that Plaintiff and Class Members work while clocked out, and Defendants' failure

  5       to include incentive pay in Plaintiff's and Class Members' regular rate of pay.

 6               30.     Plaintiff is informed and believes, and thereon alleges, that Defendants knew or

 7       should have known that Plaintiff and Class Members were entitled to receive all required meal

 8       periods or payment of one (1) additional hour of pay at Plaintiff's and Class Members' regular

 9       rate of pay when they did not receive a timely, uninterrupted meal period. In violation of the

10       Labor Code and IWC Wage Orders, Plaintiff and Class Members did not receive all meal

11       periods or payment of one (1) additional hour of pay at Plaintiff's and Class Members' regular

12       rate of pay when they did not receive a timely, uninterrupted meal period.

13               31.    Plaintiff is informed and believes, and thereon alleges, that Defendants knew or

14       should have known that Plaintiff and Class Members were entitled to receive all rest breaks or

15       payment of one (1) additional hour of pay at Plaintiff's and Class Members' regular rate of pay

16       when a rest break was late, missed, or interrupted. In violation of the Labor Code and IWC

17       Wage Orders, Plaintiff and Class Members did not receive all rest breaks or payment of one (1)

18       additional hour of pay at Plaintiff's and Class Members' regular rate of pay when a rest break

19       was missed, late, or interrupted.

20              32.     Plaintiff is informed and believes, and thereon alleges, that Defendants knew or

21       should have known that Plaintiff and Class Members were entitled to receive itemized wage

22       statements that accurately showed the name of the employer entity, gross and net wages earned,

23       total hours worked, all applicable hourly rates in effect, and the number of hours worked at

24       each hourly rate in accordance with California law. In violation of the Labor Code, Plaintiff

25       and Class Members were not provided with accurate itemized wage statements,

26              33.     Defendants knew or should have known that the Waiting Time Subclass was

27       entitled to timely payment of wages due upon separation of employment. In violation of the

28
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     1    Labor Code, the Waiting Time Subclass did not receive payment of all wages within the

          permissible time periods.

     3            34.    Plaintiff is informed and believes, and thereon alleges, that Defendants knew or

  4       should have known they had a duty to compensate Plaintiff and Class Members, and

  5       Defendants had the financial ability to pay such compensation but willfully, knowingly, and

  6       intentionally failed to do so in order to increase Defendants' profits.

  7              35.     Therefore, Plaintiff brings this lawsuit seeking monetary and injunctive relief

 8       against Defendants on behalf of himself and all Class Members to recover, among other things,

 9        unpaid wages (including minimum wages and overtime wages), unpaid meal period premium

10       payments, unpaid rest period premium payments, interest, attorneys' fees, penalties, costs, and
11       expenses.

12                                          FIRST CAUSE OF ACTION

13                                    FAILURE TO PAY MINIMUM WAGES

14           (Violation of Labor Code §§ 1194, 1194.2, and 1197; Violation of IWC Wage Order §3-4)

15               36.     Plaintiff hereby re-alleges and incorporates by reference all paragraphs above as

16       though fully set forth herein.

17               37.     Labor Code §§ 1194 and 1197 provide that the minimum wage for employees

18       fixed by the IWC is the minimum wage to be paid to employees, and the payment of a lesser

19       wage than the minimum so fixed is unlawful.

20               38.     During the relevant time period, Defendants paid Plaintiff and Class Members

21       less than minimum wages when they failed to pay proper compensation for all hours worked.

22       To the extent these hours do not qualify for the payment of overtime, Plaintiff and Class

23       Members were not being paid at least minimum wage for their work.

24              39.     During the relevant time period, Defendants regularly failed to pay at least

25       minimum wage to Plaintiff and Class Members for all hours worked pursuant to Labor Code

26       §§ 1194 and 1197.

27              40.     Defendants' failure to pay Plaintiff and Class Members the required minimum

28       wage violates Labor Code §§ 1194 and 1197. Pursuant to these sections, Plaintiff and Class
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     1    Members are entitled to recover the unpaid balance of their minimum wage compensation as

     2    well as interest, costs, and attorneys' fees.

     3            41.     Pursuant to Labor Code § 1194.2, Plaintiff and Class Members are entitled to

  4       recover liquidated damages in an amount equal to the wages unlawfully unpaid and the accrued

  5       interest thereon.

  6                                         SECOND CAUSE OF ACTION

  7                                        FAILURE TO PAY OVERTIME

  8             (Violation of Labor Code §§ 510, 1194, and 1198; Violation of IWC Wage Order § 3)

  9              42.     Plaintiff hereby re-alleges and incorporates by reference all paragraphs above as

 10      though fully set forth herein.

 11              43.     Labor Code § 1198 and the applicable IWC Wage Order provide that it is

 12      unlawful to employ persons without compensating them at a rate of pay either one and one-half

 13      (112
            / ) or two (2) times the person's regular rate of pay, depending on the number of hours

 14      worked by the person on a daily or weekly basis.

15               44.     Specifically, the applicable 1WC Wage Orders provide that Defendants are and

16       were required to pay overtime compensation to Plaintiff and Class Members at the rate of one

17       and one-half times (112
                               / ) their regular rate of pay when working and for all hours worked in

18       excess of eight (8) hours in a day or more than forty (40) hours in a workweek and for the first

19       eight (8) hours of work on the seventh day of work in a workweek.

20               45.     The applicable IWC Wage Orders further provide that Defendants are and were

21       required to pay overtime compensation to Plaintiff and Class Members at a rate of two times

22       their regular rate of pay when working and for all hours worked in excess of twelve (12) hours

23       in a day or in excess of eight (8) hours on the seventh day of work in a workweek.

24              46.     California Labor Code § 510 codifies the right to overtime compensation at one

25       and one-half (112/ ) times the regular hourly rate for hours worked in excess of eight (8) hours in

26       a day or forty (40) hours in a week and for the first eight (8) hours worked on the seventh

27       consecutive day of work, and overtime compensation at twice the regular hourly rate for hours

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     1    worked in excess of twelve (12) hours in a day or in excess of eight (8) hours in a day on the

     2    seventh day of work in a workweek.

     3            47.       Labor Code § 510 and the applicable IWC Wage Orders provide that

     4    employment of more than six days in a workweek is only permissible if the employer pays

     5    proper overtime compensation as set forth herein.

  6              48.        Plaintiff and Class Members were non-exempt employees entitled to the

 7        protections of California Labor Code §§ 510 and 1194.

 8               49.        During the relevant time period, Defendants required Plaintiff and Class

 9        Members to work in excess of eight (8) hours in a day and/or forty (40) hours in a week,

10       entitling them to overtime wages.

11               50.        To the extent the hours worked by Plaintiff and Class Members during the

12       relevant time period qualify for the payment of overtime and double time wages, Plaintiff and

13       Class Members were not paid all overtime and double time wages owed. Defendants failed to

14       pay Plaintiff and Class Members overtime wages for all overtime hours worked.

15               51.        In violation of state law, Defendants knowingly and willfully refused to perform

16       their obligations and compensate Plaintiff and Class Members for all wages earned and all

17       hours worked.

18               52.        Defendants' failure to pay Plaintiff and Class Members the unpaid balance of

19       overtime compensation, as required by California law, violates the provisions of Labor Code

20       §§ 510 and 1198, and is therefore unlawful.

21               53.     Pursuant to Labor Code § 1194, Plaintiff and Class Members are entitled to

22       recover their unpaid overtime and double time compensation as well as interest, costs, and

23       attorneys' fees.

24                                          THIRD CAUSE OF ACTION

25                                   FAILURE TO PROVIDE MEAL PERIODS

26               (Violation of Labor Code §§ 226.7 and 512; Violation of IWC Wage Order § 11)

27              54.      Plaintiff hereby re-alleges and incorporates by reference all paragraphs above as

28       though fully set forth herein
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     1           55.      Labor Code § 226.7 provides that no employer shall require an employee to work

     2    during any meal period mandated by the IWC Wage Orders.

  3              56.      Section 11 of the applicable IWC Wage Order states, "[n]o employer shall

  4       employ any person for a work period of more than five (5) hours without a meal period of not
  5       less than 30 minutes, except that when a work period of not more than six (6) hours will

  6      complete the day's work the meal period may he waived by mutual consent of the employer and

  7      the employee."

  8              57.    Labor Code § 512(a) provides that an employer may not require, cause, or permit

  9      an employee to work for a period of more than five (5) hours per day without providing the

 10      employee with an uninterrupted meal period of not less than thirty (30) minutes, except that if

 11      the total work period per day of the employee is not more than six (6) hours, the meal period

 12      may be waived by mutual consent of both the employer and the employee.

 13              58.    Labor Code § 512(a) also provides that an employer may not employ an

14       employee for a work period of more than ten (10) hours per day without providing the employee

15       with a second meal period of not less than thirty (30) minutes, except that if the total hours

16       worked is no more than twelve (12) hours, the second meal period may be waived by mutual

17       consent of the employer and the employee only if the first meal period was not waived.

18              59.     During the relevant time period, Plaintiff and Class Members did not receive

19       compliant meal periods for working more than five (5) and/or ten (10) hours per day because

20       their meal periods were missed, late, and/or short.

21              60.     Labor Code § 226.7(b) and section 11 of the applicable IWC Wage Order require
22       an employer to pay an employee one (1) additional hour of pay at the employee's regular rate of

23       compensation for each work day that a compliant meal period is not provided.

24              61.     At all relevant times, Defendants failed to pay Plaintiff and Class Members meal

25       period premiums for missed, late, and/or short meal periods pursuant to Labor Code § 226.7(b)

26       and section 11 of the applicable IWC Wage Order.

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                                           CLASS ACTION COMPLAINT

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     1            62.     As a result of Defendants' failure to pay Plaintiff and Class Members an

     2    additional hour of pay for each day a compliant meal period was not provided, Plaintiff and

     3    Class Members suffered and continue to suffer a loss of wages and compensation.

 4                                        FOURTH CAUSE OF ACTION

  5                                  FAILURE TO PERMIT REST BREAKS

 6                      (Violation of Labor Code §§ 226.7; Violation of IWC Wage Order § 12)

 7               63.      Plaintiff hereby re-alleges and incorporates by reference all paragraphs above as

 8       though fully set forth herein.

 9               64.      Labor Code § 226.7(a) provides that no employer shall require an employee to

10       work during any rest period mandated by the IWC Wage Orders.

11               65.     Section 12 of the applicable IWC Wage Order states "[e]very employer shall

12       authorize and permit all employees to take rest periods, which insofar as practicable shall be in

13       the middle of each work period[,]" and the lajuthorized rest period time shall be based on the

14       total hours worked daily at the rate of ten (10) minutes net rest time per four (4) hours or major

15       fraction thereof[J" unless the total daily work time is less than three and one-half (31/2) hours.

16               66.     During the relevant time period, Plaintiff and Class Members did not receive a

17       ten (10) minute rest period for every four (4) hours or major fraction thereof worked because

18       they were required to work through their daily rest periods and/or were not authorized to take

19       their rest periods.

20               67.     Labor Code § 226.7(b) and section 12 of the applicable IWC Wage Order

21       requires an employer to pay an employee one (1) additional hour of pay at the employee's

22       regular rate of compensation for each work day that a compliant rest period is not provided.

23              68.      At all relevant times, Defendants failed to pay Plaintiff and Class Members rest

24       period premiums for missed, late, and/or interrupted rest periods pursuant to Labor Code §

25       226.7(b) and section 12 of the applicable IWC Wage Order.

26              69.      As a result of Defendants' failure to pay Plaintiff and Class Members an

27       additional hour of pay for each day a compliant rest period was not provided, Plaintiff and Class

28       Members suffered and continue to suffer a loss of wages and compensation.
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                                            CLASS ACTION COMPLAINT

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     1                                     FIFTH CAUSE OF ACTION

  2               FAILURE TO PROVIDE ACCURATE ITEMIZED WAGE STATEMENTS

  3                                       (Violation of Labor Code § 226)

  4              70.     Plaintiff hereby re-alleges and incorporates by reference all paragraphs above as

  5      though fully set forth herein.

  6              71.     Labor Code. § 226(a) requires Defendants to provide each employee with an

  7      accurate wage statement in writing showing nine pieces of information, including, the

  8      following: (1) gross wages earned, (2) total hours worked by the employee, (3) the number of

  9      piece-rate units earned and any applicable piece rate if the employee is paid on a piece-rate

10       basis, (4) all deductions, provided that all deductions made on written orders of the employee

11       may be aggregated and shown as one item, (5) net wages earned, (6) the inclusive dates of the

12       period for which the employee is paid, (7) the name of the employee and the last four digits of

13       his or her social security number or an employee identification number other than a social

14       security number, (8) the name and address of the legal entity that is the employer, and (9) all

15       applicable hourly rates in effect during the pay period and the corresponding number of hours

16       worked at each hourly rate by the employee.

17              72.     During the relevant time period, Defendants have knowingly and intentionally

18       failed to comply with Labor Code § 226(a) on wage statements that were provided to Plaintiff

19       and Class Members. The deficiencies include, among other things, the failure to correctly state

20       the employing entity name, gross and net wages earned, total hours worked, all applicable

21       hourly rates in effect, and the number of hours worked at each hourly rate by Plaintiff and Class

22       Members.

23              73.     As a result of Defendants' knowing and intentional failure to comply with Labor

24       Code § 226(a), Plaintiff and Class Members have suffered injury and damage to their

25       statutorily-protected rights. Specifically, Plaintiff and Class Members are deemed to suffer an

26       injury pursuant to Labor Code § 226(e) where, as here, Defendants intentionally violated Labor

27       Code § 226(a). Plaintiff and Class Members were denied both their legal right to receive, and

28       their protected interest in receiving, accurate itemized wage statements under Labor Code
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                                           CLASS ACTION COMPLAINT

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     1    § 226(a). In addition, because Defendants failed to provide the accurate rates of pay on wage

  2       statements, Defendants prevented Plaintiff and Class Members from determining if all hours

 3        worked were paid at the appropriate rate and the extent of the underpayment. Plaintiff has had

 4        to file this lawsuit in order to analyze the extent of the underpayment, thereby causing Plaintiff

 5        to incur expenses and lost time. Plaintiff would not have had to engage in these efforts and

 6        incur these costs had Defendants provided the accurate hours worked, wages earned, and rates

 7       of pay. This has also delayed Plaintiff's ability to demand and recover the underpayment of

 8       wages from Defendants.

 9               74.     Plaintiff and Class Members are entitled to recover from Defendants the greater

10       of all actual damages caused by Defendants' failure to comply with Labor Code § 226(a) or

11       fifty dollars ($50.00) for the initial pay period in which a violation occurred and one hundred

12       dollars ($100.00) per employee for each violation in subsequent pay periods in an amount not

13       exceeding four thousand dollars ($4,000.00) per employee, plus attorneys' fees and costs.

14               75.     Defendants' violations of California Labor Code § 226(a) prevented Plaintiff

15       and Class Members from knowing, understanding, and disputing the wages paid to them and

16       resulted in an unjustified economic enrichment to Defendants. As a result of Defendants'

17       knowing and intentional failure to comply with California Labor Code § 226(a), Plaintiff and

18       Class Members have suffered an injury, in the exact amount of damages and/or penalties to be

19       shown according to proof at trial.

20               76.     Plaintiff and Class Members are also entitled to injunctive relief under

21       California Labor Code § 226(h), compelling Defendants to comply with California Labor Code

22       § 226. Accordingly, Plaintiff and Class Members seek the recovery of attorneys' fees and costs

23       incurred in obtaining this injunctive relief.

24                                          SIXTH CAUSE OF ACTION

25           FAILURE TO PAY ALL WAGES DUE UPON SEPARATION OF EMPLOYMENT

26                                 (Violation of Labor Code §§ 201, 202, and 203)

27              77.     Plaintiff hereby re-alleges and incorporates by reference all paragraphs above as

28       though fully set forth herein.
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                                              CLASS ACTION COMPLAINT

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     1             78.    Labor Code §§ 201 and 202 provide that if an employer discharges an employee,

     2    the wages earned and unpaid at the time of discharge are due and payable immediately, and that

     3    if an employee voluntarily leaves his employment, his or her wages shall become due and

  4       payable not later than seventy-two (72) hours thereafter, unless the employee has given

  5       seventy-two (72) hours previous notice of an intention to quit, in which case the employee is

  6       entitled to his or her wages at the time of quitting.

  7               79.    During the relevant time period, Defendants willfully failed to pay the Waiting

  8       Time Subclass all their earned wages upon termination, including, but not limited to, proper

  9      minimum wage and overtime compensation, meal period premiums, and rest period premiums

 10      either at the time of discharge or within seventy-two (72) hours of their leaving Defendants'
 11      employ.

12               80.     Defendants' failure to pay the Waiting Time Subclass all their earned wages at

13       the time of discharge or within seventy-two (72) hours of their leaving Defendants' employ is

14       in violation of Labor Code §§ 201 and 202.
15               81.     Labor Code § 203 provides that if an employer willfully fails to pay wages owed

16       immediately upon discharge or resignation in accordance with Labor Code §§ 201 and 202,

17       then the wages of the employee shall continue as a penalty from the due date at the same rate

18       until paid or until an action is commenced; but the wages shall not continue for more than thirty

19       (30) days.

20               82.     Pursuant to Labor Code § 203, the Waiting Time Subclass is entitled to recover

21       from Defendants the statutory penalty, which is defined as the Waiting Time Subclass

22       members' regular daily wages at their regular hourly rate of pay for each day they were not

23       paid, up to a maximum of thirty (30) days.

24                                        SEVENTH CAUSE OF ACTION

25             VIOLATION OF BUSINESS AND PROFESSIONS CODE Ut17200, ET SEQ.

26                        (Violation of Business and Professions Code §§ 17200, el seq.)

27              83.      Plaintiff hereby re-alleges and incorporates by reference all paragraphs above as

28       though fully set forth herein.
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                                             CLASS ACTION COMPLAINT

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     1                      84.    California Business and Professions Code §§ 17200, et seq., prohibits acts of

  2       unfair competition, which includes any "unlawful, unfair or fraudulent business act or practice .
                      )7
  3       •   •   •




  4                        85,    A violation of California Business and Professions Code §§ 17200, et seq., may

  5       be predicated on a violation of any state or federal law. In the instant case, Defendants' policies

  6       and practices violated state law, causing Plaintiff and Class Members to suffer and continue to

  7      suffer injuries-in-fact.

  8                        86.    Defendants' policies and practices violated state law in at least the following

  9      respects

10                                (a)    Failing to pay all wages earned (including minimum wage and overtime

 11                                      wages) to Plaintiff and Class Members in violation of Labor Code §§

12                                       510, 1194, 1194.2, 1197, and 1198.

13                                (b)    Failing to provide compliant meal periods without paying Plaintiff and

14                                       Class Members premium wages for every day said meal periods were not

15                                       provided in violation of Labor Code §§ 226.7 and 512.

16                                (c)    Failing to authorize or permit compliant rest breaks without paying

17                                       Plaintiff and Class Members premium wages for every day said rest

18                                       breaks were not authorized or permitted in violation of Labor Code §

19                                       226.7.

20                                (d)    Failing to provide Plaintiff and Class Members with accurate itemized

21                                       wage statements in violation of Labor Code § 226.

22                                (e)    Failing to timely pay all earned wages to the members of the Waiting

23                                       Time Subclass upon separation of employment in violation of Labor

24                                       Code §§ 201, 202, and 203.

25                         87.    As alleged herein, Defendants systematically engaged in unlawful conduct in

26       violation of the California Labor Code and IWC Wage Orders, such as failing to pay all wages

27       (minimum and overtime wages), failing to provide meal periods and rest breaks or

28       compensation in lieu thereof, failing to furnish accurate wage statements, and failing to pay all
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                                                    CLASS ACTION COMPLAINT
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     1    wages due and owing upon separation of employment in a timely manner to the Waiting Time

     2    Subclass, all in order to decrease their costs of doing business and increase their profits.

  3              88.     At all relevant times herein, Defendants held themselves out to Plaintiff and

  4       Class Members as being knowledgeable concerning the labor and employment laws of

  5       California.

  6              89.     At all times relevant herein, Defendants intentionally avoided paying Plaintiff

  7      and Class Members wages and monies, thereby creating for Defendants an artificially lower

  8      cost of doing business in order to undercut their competitors and establish and/or gain a greater

  9      foothold in the marketplace.

 10              90.     By violating the foregoing statutes and regulations as herein alleged,

 11      Defendants' acts constitute unfair and unlawful business practices under California Business

 12      and Professions Code §§ 17200, et seq.

 13              91.     As a result of the unfair and unlawful business practices of Defendants as
 14      alleged herein, Plaintiff and Class Members are entitled to injunctive relief, disgorgement, and

15       restitution in an amount to be shown according to proof at trial.

16               92.    Plaintiff seeks to enforce important rights affecting the public interest within the

17       meaning of California Code of Civil Procedure § 1021.5. Defendants' conduct, as alleged

18       herein, has been and continues to be unfair, unlawful, and harmful to Plaintiff, Class Members,

19       and the general public. Based on Defendants' conduct as alleged herein, Plaintiff and Class

20       Members are entitled to an award of attorneys' fees pursuant to California Code of Civil
21       Procedure § 1021.5.

22                                           PRAYER FOR RELIEF

23              Plaintiff, on his own behalf and on behalf of all others similarly situated, prays for relief

24       and judgment against Defendants, jointly and severally, as follows:

25              1.      For certification under California Code of Civil Procedure § 382 of the proposed

26       Class, Waiting Time Subclass, and any other appropriate subclasses;

27              2.      For appointment of Mitchel Parker as the class representative;

28              3.      For appointment of Aegis Law Firm, PC, as class counsel for all purposes;
                                                         -17-
                                            CLASS ACTION COMPLAINT

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     1           4.     For compensatory damages in an amount according to proof at trial;

  2              5.     For an award of damages in the amount of unpaid compensation including, but

 3       not limited to, unpaid wages, benefits, and penalties;

 4               6.     For economic and/or special damages in an amount according to proof at trial;

 5               7.     For liquidated damages pursuant to Labor Code § 1194.2;

 6               8.     For statutory penalties to the extent permitted by law, including those pursuant
 7       to the Labor Code and IWC Wage Orders;

 8               9.     For injunctive relief as provided by the California Labor Code and California

 9       Business and Professions Code §§ 17200, et seq.;

10               10.    For restitution as provided by Business and Professions Code §§ 17200, et seq.;

11               11.    For an order requiring Defendants to restore and disgorge all funds to each
12       employee acquired by means of any act or practice declared by this Court to be unlawful,

13       unfair, or fraudulent and, therefore, constituting unfair competition under Business and

14       Professions Code §§ 17200, et seq.;

15              12.     For pre-judgment interest;

16              13.     For reasonable attorneys' fees, costs of suit, and interest to the extent permitted

17       by law, including, but not limited to, Code of Civil Procedure § 1021.5 and Labor Code §§

18       226(e) and 1194; and

19              14.    For such other relief as the Court deems just and proper.

20

21

22       Dated:. January 15, 2019                      AEGIS LAW FIRM, PC

23

24
                                                 By:                      ,e-af
                                                       J ssica L. Campbell
                                                       Attorneys for Plaintiff Mitchel Parker
25

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                                           CLASS ACTION COMPLAINT

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     1                                 DEMAND FOR JURY TRIAL

     2          Plaintiff hereby demands a jury trial with respect to all issues triable of right by jury.

     3

     4   Dated: January 15, 2019                        AEGIS LAW FIRM, PC
     5

     6                                            By:              Z      4 ,(Af
                                                        Jes ca L. Campbell
     7                                                  Attorneys for Plaintiff Mitchel Parker
  8

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                                          CLASS ACTION COMPLAINT

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                 EXHIBIT C
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   CT Corporation                                                           Service of Process
                                                                            Transmittal
                                                                            01/18/2019
                                                                            CT Log Number 534763421
   TO:        Francis Ferrara, Senior VP a Deputy General Counsel
              Veolia North America
              120 Water St Ste 212
              North Andover, MA 01845-2648

   RE:        Process Served in California

   FOR:       Veolia Water North America-West, LLC (Domestic State: DE)




   ENCLOSED ARE COPIES OF LEGAL PROCESS RECEIVED BY THE STATUTORY AGENT OF THE ABOVE COMPANY AS FOLLOWS:

   TITLE OF ACTION:                    RE: MITCHEL PARKER, ETC., PLTF. // To: VEOLIA ENERGY NORTH AMERICA, LLC., ET
                                       AL., DFTS. // TO: Veolia Water North America-West, LLC
   DOCUMENT(S) SERVED:                 LETTER, COMPLAINT
   COURT/AGENCY:                       San Bernardino County - Superior Court, CA
                                       Case # None Specified
   NATURE OF ACTION:                   FAILURE TO PROVIDE MEAL PERIODS
   ON WHOM PROCESS WAS SERVED:         C T Corporation System, Los Angeles, CA
   DATE AND HOUR OF SERVICE:           By Certified Mail on 01/18/2019 postmarked: "Not Post Marked"
   JURISDICTION SERVED :               California
   APPEARANCE OR ANSWER DUE:           None Specified
   ATTORNEY(S) / SENDER(S):            KASHIF HAQUE
                                       AEGIS LAW FIRM, PC
                                       9811 Irvine Center Drive
                                       Suite 100
                                       Irvine, CA 92618
                                       949-379-6250
   ACTION ITEMS:                       CT has retained the current log, Retain Date: 01/19/2019, Expected Purge Date:
                                       01/24/2019
                                       Image SOP
                                       Email Notification, Francis Ferrara frank.ferrara@veolia.corn
                                       Email Notification, Whitney Fawcett whitney.fawcett@veolia.com
                                       Email Notification, Katie Lynch katie.lynch@veolia.com
                                       Email Notification, Holly Garabedian holly.garabedian@veolia.com

   SIGNED:                            C T Corporation System
   ADDRESS:                           818 West Seventh Street
                                      Los Angeles, CA 90017
   TELEPHONE:                         213-337-4615




                                                                           Page 1 of 1 / RB
                                                                           Information displayed on this transmittal is for CT
                                                                           Corporation's record keeping purposes only and is provided to
                                                                           the recipient for quick reference. This information does not
                                                                           constitute a legal opinion as to the nature of action, the
                                                                           amount of damages, the answer date, or any information
                                                                           contained in the documents themselves. Recipient is
                                                                           responsible for interpreting said documents and for taking
                                                                           appropriate action. Signatures on certified mail receipts
                                                                           confirm receipt of package only, not contents.



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                                                             CT
 PLEASE NOTE:


 SERVICE TAKEN FOR:
 VEOLIA WATER NORTH AMERICA-WEST, LLC




                                                          0. Wolters Kluwer

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                                A,AEGIS LAW
                            9811 Irvine Center Drive, Suite 100
                                 Irvine, California 92618




                   C T CORPORATION SYSTEM (C0168406)
                       818 West Seventh Street_ Suite 930
                            Los Angeles, CA 90017
Case 2:19-cv-01225 Document 1-3 Filed 02/19/19 Page 59 of 129 Page ID #:77
                                                                    AEGIS LAW FIRM, PC

       AEGIS LAW                                                    981 1 Irvine Center Drive, Suite 100
                                                                    Irvine, California 92618
                                                                    Telephone: 949.379.6250
                                                                    Facsimile: 949.379.6251
                                                                    www.aegislawfirm.com



                                         January 15, 2019

 VIA ONLINE SUBMISSION

California Labor and Workforce Development Agency
Attn: PAGA Administrator

VIA CERTIFIED MAIL (RETURN RECEIPT REQUESTED)

Agent for Service of Process for Veolia Energy North America, Llc; Veolia Water North
America Operating Services, LLC; Veolia Water North America-West, LLC:
C T CORPORATION SYSTEM (C0168406)
818 West Seventh Street, Suite 930
Los Angeles, CA 90017

        Re:        Mitchel Parker v. Veolia Energy North America, Lie; Veolia Water North
                   America Operating Services, LLC; Veolia Water North America-West, LLC

Dear Labor and Workforce Development Agency and Veolia Energy North America, Lie; Veolia
Water North America Operating Services, LLC; Veolia Water North America-West, LLC:

        Please allow this correspondence to serve as written notice required by California Labor
Code § 2699.3(a)(1) of the specific provisions of the Labor Code allegedly violated by Veolia
Energy North America, Llc; Veolia Water North America Operating Services, LLC; Veolia Water
North America-West, LLC ("Veolia") and the facts and theories in support of said allegations.
This firm represents Mitchel Parker ("Claimant"); we hereby notify you that Claimant intends to
seek penalties against Veolia under the Private Attorneys General Act of 2004, Cal. Lab. Code §§
2698 et seq., on behalf of himself and all other aggrieved employees.

       Specific Provisions of the California Labor Code Allegedly Violated by Veolia

       The specific provisions of the Labor Code allegedly violated by Veolia and the provisions
under which Claimant submits this correspondence include the following: §§ 201-203, 204, 210,
226, 226.3, 226.7, 510, 512, 558, 1174, 1174.5, 1194, 1194.2, 1197, and 1198.

       Facts and Theories Supporting the Allegations Against Veolia

       Claimant and other aggrieved employees worked for Veolia as non-exempt employees in
California. Claimant was employed by Veolia as a non-exempt employee in California within the
past year.

        Veolia failed to provide 30-minute uninterrupted meal periods within the appropriate time
intervals to Claimant and other aggrieved employees as required by Labor Code section 512 and



                    Irvine                 Los Angeles                 Riverside

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 section 11 of the applicable Wage Order. Claimant and other aggrieved employees frequently
 worked shifts over five hours and 10 hours and did not receive lawful meal periods because Veolia
 required its employees to work through their meal periods or were not scheduled to be relieved by
 other employees at the appropriate intervals to receive all meal periods, and as a result, the meal
 periods were missed, late, short, and/or interrupted. Claimant and other aggrieved employees
 worked over 10 hours in some instances and were entitled to a second meal period, but were not
 provided a second meal period for the same reasons stated herein.

         When Claimant and other aggrieved employees missed meal periods or if the meal periods
were late, short, and/or interrupted, Veolia violated Labor Code sections 226.7 and 512, as well as
section 11 of the applicable Wage Order, by failing to pay an additional hour of pay at the regular
rate of pay to Claimant and other aggrieved employees for every day in which they suffered a meal
period violation, and they were entitled to this meal period premium pursuant to Labor Code
section 558.

       Additionally, Veolia failed to authorize or permit 10 minute rest periods for every four
hours or major fraction thereof worked because Claimant and other aggrieved employees were
required to work through their rest periods, were not authorized to take their rest periods, were
discouraged from taking their rest periods, and/or were not scheduled to be relieved by other
employees at the appropriate intervals to receive all rest periods. Claimant and other aggrieved
employees worked over 10 hours in some instances and were entitled to a third rest period, but
were not provided a third rest period for the same reasons stated herein.

        When Claimant and other aggrieved employees did not receive rest periods, Veolia violated
Labor Code section 226.7 and section 12 of the applicable Wage Order by failing to pay an
additional hour of pay at the regular rate of pay to Claimant and other aggrieved employees, and
they were entitled to this rest period premium pursuant to Labor Code section 558.

         Veolia failed to pay Claimant and other aggrieved employees at least the legal minimum
wage for all hours worked (in violation of Labor Code sections 558, 1194, 1194.2, 1197, and 1198)
due to Veolia's policy and practice of requiring Claimant and aggrieved employees to work
through their meal periods without proper pay and work after clocking out to complete "turnover"
to the next employee coming on shift. To the extent such work performed while clocked out
entitled employees to pay at the legal minimum wage rate or at the overtime rate of pay, Veolia
failed to pay Claimant and other aggrieved all minimum wages, overtime wages, and double time
wages for these hours. Veolia also failed to pay overtime and double time at the proper rate because
incentive pay, such as bonuses were not included in Claimant's and aggrieved employees' regular
rate of pay. Thus, Veolia did not pay all overtime and double time wages for the overtime and
double time hours worked, including, but not limited to, hours worked in excess of eight hours in
a day and/or 40 hours in a week (in violation of Labor Code sections 510, 1194, and 1198).

        As a result of, and in addition to, these actions, Veolia violated Labor Code sections 226
and 226.3 by failing to provide itemized wage statements that accurately reported the following:
(1) gross wages earned; (2) total hours worked by the employee; (3) the number of piece-rate units
earned and any applicable piece rate if the employee is paid on apiece-rate basis; (4) all deductions,
provided that all deductions made on written orders of the employee may be aggregated and shown
as one item; (5) net wages earned; (6) the inclusive dates of the period for which the employee is

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paid; (7) the name of the employee and the last four digits of his or her social security number or
an employee identification number other than a social security number; (8) the name and address
of the legal entity that is the employer; and (9) all applicable hourly rates in effect during the pay
period and the corresponding number of hours worked at each hourly rate by the employee. For
example, Veolia failed to list the accurate employing entity on Claimant's and aggrieved
employees' wage statements. Similarly, Veolia violated Labor Code sections 1174 and 1174.5 by
failing to maintain accurate and complete records showing the hours worked daily by the aggrieved
employees and the wages paid to aggrieved employees (due to the same underpayment of wages
referenced above).

      Furthermore, Veolia violated the Labor Code by falling to properly pay all these wages
owed throughout aggrieved employees' employment and following the end of these workers'
employment with Veolia (in violation of Labor Code sections 201-203, 204, and 210).

        Based on these violations, Claimant seeks attorneys' fees, interest, and penalties under the
Labor Code. The civil penalties Claimant seeks on behalf of himself and other aggrieved
employees include those authorized by Labor Code section 558. Attached hereto and incorporated
herein is Claimant's class action complaint. Claimant intends to amend the complaint to include a
cause of action pursuant to Labor Code §§ 2698, et seq., after the minimum required review period
elapses.

        Thank you for your assistance on this matter. Should you have any questions or comments,
please do not hesitate to contact the undersigned.


                                                             Very truly yours,
                                                             AEGIS LAW FIRM



                                                             Jessica L. Campbell

Enclosure(s)
Class Action Complaint




                                                 3


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         and on behalf of all others similarly situated.
 7

 8                         SUPERIOR COURT OF THE STATE OF CALIFORNIA

 9                                   FOR THE COUNTY OF SAN BERNARDINO

10
         MITCHEL PARKER, individually and on            Case No.
11       behalf of all others similarly situated,
12
                        Plaintiff,                      CLASS ACTION COMPLAINT FOR:
13
                vs.                                       1. Failure to Pay Minimum Wages;
14
         VEOLIA ENERGY NORTH AMERICA,                     2. Failure to Pay Overtime Wages;
15       LLC; VEOLIA WATER NORTH
         AMERICA OPERATING SERVICES,                      3. Failure to Provide Meal Periods;
16
         LLC; VEOLIA WATER NORTH
                                                          4. Failure to Permit Rest Breaks;
17       AMERICA-WEST, LLC; and DOES 1
         through 20, inclusive,
18                                                        5. Failure to Provide Accurate Itemized Wage
                       Defendants.                           Statements;
19
                                                          6. Failure to Pay All Wages Due Upon
20                                                           Separation of Employment; and
21                                                        7. Violation of Business and Professions
22                                                           Code §§ 17200, el seq.

23
                                                       DEMAND FOR JURY TRIAL
24

25

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                                           CLASS ACTION COMPLAINT

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     1           Plaintiff Mitchel Parker, individually, and on behalf of others similarly situated, alleges

  2       as follows:

  3                     NATURE OF ACTION AND INTRODUCTORY STATEMENT

  4              1.      Plaintiff Mitchel Parker ("Plaintiff") brings this putative class action against

  5      defendant Veolia Energy North America, LLC; Veolia Water North America Operating

  6      Services, LLC; Veolia Water North America-West, LLC and DOES 1 through 20, inclusive

  7      (collectively, "Defendants"), on behalf of himself individually and a putative class of California

  8      citizens who are and were employed by Defendants as non-exempt employees throughout

  9      California.

 10              2.     Defendants are in the business of providing water, waste, and energy services.

 11              3.     Through this action, Plaintiff alleges that Defendants engaged in a systematic

 12      pattern of wage and hour violations under the California Labor Code and Industrial Welfare

13       Commission ("IWC") Wage Orders, all of which contribute to Defendants' deliberate unfair

14       competition.

15              4.      Plaintiff is informed and believes, and thereon alleges, that Defendants have

16       increased their profits by violating state wage and hour laws by, among other things:

17                      (a)    failing to pay all wages (including minimum wages and overtime

18                             wages);

19                      (b)    failing to provide lawful meal periods or compensation in lieu thereof;

20                      (c)    failing to authorize or permit lawful rest breaks or provide compensation

21                             in lieu thereof;

22                      (d)    failing to provide accurate itemized wage statements; and

23                      (e)    failing to pay all wages due upon separation of employment.

24              5.      Plaintiff seeks monetary relief against Defendants on behalf of himself and all

25       others similarly situated in California to recover, among other things, unpaid wages and

26       benefits, interest, attorneys' fees, costs and expenses, and penalties pursuant to Labor Code §§

27       201-203, 226, 226.7, 510, 512, 1194, 1194.2, 1197, and 1198, and Code of California Civil

28       Procedure § 1021.5.
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                                           CLASS ACTION COMPLAINT

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  1                                   JURISDICTION AND VENUE

  2           6.      This is a class action pursuant to California Code of Civil Procedure § 382. The

  3   monetary damages and restitution sought by Plaintiff exceeds the minimal jurisdictional limits

  4   of the Superior Court and will be established according to proof at trial.

 5            7.      This Court has jurisdiction over this action pursuant to the California

 6    Constitution, Article VI, § 10, which grants the Superior Court original jurisdiction in all

 7    causes except those given by statutes to other courts. The statutes under which this action is

 8    brought do not specify any other basis for jurisdiction.

 9            8.      This Court has jurisdiction over all Defendants because, upon information and

10    belief, they are citizens of California, have sufficient minimum contacts in California, or

11    otherwise intentionally avail themselves of the California market so as to render the exercise of

12    jurisdiction over them by the California courts consistent with traditional notions of fair play

13    and substantial justice.

14            9.      Venue is proper in this Court because, upon information and belief, Defendants

15    reside, transact business, or have offices in this county, and the acts and omissions alleged

16    herein took place in this county.

17                                            THE PARTIES

18            10.     Plaintiff is a resident of California and worked for Defendants in California

19    during the relevant time periods as alleged herein.

20            11.    Plaintiff is informed and believes, and thereon alleges that at all times

21    hereinafter mentioned, Defendants were and .are subject to the Labor Code and IWC Wage

22    Orders as employers, whose employees were and are engaged throughout this county and the

23    State of California.
24           12.     Plaintiff is unaware of the true names or capacities of the defendants sued herein

25    under the fictitious names DOES 1 through 20, but will seek leave of this Court to amend this

26    Complaint and serve such fictitiously named defendants once their names and capacities

27    become known.

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     1            13,     Plaintiff is informed and believes, and thereon alleges, that DOES 1 through 20

     2    are or were the partners, agents, owners, shareholders, managers, or employees of Defendants

  3       at all relevant times.

  4               14.     Plaintiff is informed and believes, and thereon alleges, that each defendant acted

 5        in all respects pertinent to this action as the agent of the other defendant, carried out a joint

 6       scheme, business plan, or policy in all respects pertinent hereto, and the acts of each defendant

 7       are legally attributable to the other defendant. Furthermore, defendants in all respects acted as

 8       the employer and/or joint employer of Plaintiff and the class members.

 9               15.      Plaintiff is informed and believes, and thereon alleges, that each and all of the

10       acts and omissions alleged herein were performed by, or are attributable to, Defendants and/or

11       DOES 1 through 20, acting as the agent or alter ego for the other, with legal authority to act on

12       the other's behalf. The acts of any and all Defendants were in accordance with, and represent,

13       the•official policy of Defendants.

14               16.     At all relevant times, Defendants, and each of them, acted within the scope of

15       such agency or employment, or ratified each and every act or omission complained of herein.

16       At all relevant times, Defendants, and each of them, aided and abetted the acts and omissions of

17       each and all the other Defendants in proximately causing the damages herein alleged.

18               17.     Plaintiff is informed and believes, and thereon alleges, that each of said

19       Defendants is in some manner intentionally, negligently, or otherwise responsible for the acts,

20       omissions, occurrences, and transactions alleged herein.

21                                     CLASS ACTION ALLEGATIONS

22               18.     Plaintiff brings this action under Code of Civil Procedure § 382 on behalf of

23       himself and all others similarly situated who were affected by Defendants' Labor Code,

24       Business and Professions Code §§ 17200, and IWC Wage Order violations.

25               19.     All claims alleged herein arise under California law for which Plaintiff seeks

26       relief authorized by California law.

27              20.      Plaintiff's proposed class consists of and is defined as follows:

28       ///
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  1                     Class

 2                      All California citizens currently or formerly employed by Defendants as non-

 3                      exempt employees in the State of California within four years prior to the filing of

 4                     this action to the date the class is certified ("Class").

 5            21.      Plaintiff also seeks to certify the following subclass of employees:

 6                     Waiting Time Subclass

 7                     All Class Members who separated their employment with Defendants at any time

 8                     within three years prior to the filing of this action to the date the class is certified

 9                     ("Waiting Time Subclass").

10            22.      Plaintiff reserves the right to modify or re-define the Class, establish additional

11    subclasses, or modify or re-define any class or subclass definition as appropriate based on

12    investigation, discovery, and specific theories of liability.

13           23.       Members of the Class and the Waiting Time Subclass described above will be

14    collectively referred to as "Class Members."

15           24.       There are common questions of law and fact as to the Class Members that

16    predominate over any questions affecting only individual members including, but not limited to,

17    the following:

18                     (a)      Whether Defendants failed to pay Plaintiff and Class Members all wages

19                              (including minimum wages and overtime wages) for all hours worked by

20                              Plaintiff and Class Members.

21                     (b)      Whether Defendants required Plaintiff and Class Members to work over

22                              eight (8) hours per day and/or over forty (40) hours per week and failed

23                              to pay them proper overtime and double time compensation for all

24                              overtime hours worked.

25                     (c)      Whether Defendants deprived Plaintiff and Class Members of timely

26                              meal periods or required Plaintiff and Class Members to work through

27                              meal periods without compensation.

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     1                   (d)     Whether Defendants deprived Plaintiff and Class Members of rest breaks

     2                          or required Plaintiff and Class Members to work through rest breaks,

  3                      (e)    Whether Defendants failed to provide Plaintiff and Class Members

  4                             accurate itemized wage statements.

  5                      (f)    Whether Defendants failed to timely pay the Waiting Time Subclass all

 6                              wages due upon termination or within seventy-two (72) hours of

 7                              resignation.

 8                      (g)     Whether Defendants' conduct was willful or reckless.

 9                      (h)     Whether Defendants engaged in unfair business practices in violation of

10                              Business and Professions Code §§ 17200, et seq.

11               25.    There is a well-defined community of interest in this litigation and the proposed

12       Class and Subclass are readily ascertainable:

13                      (a)     Numerosity: The Class Members are so numerous that joinder of all

14       members is impractical. Although the members of the entire Class and the Waiting Time

15       Subclass are unknown to Plaintiff at this time, on information and belief, the class is estimated

16       to be at least (50) individuals. The identities of the Class Members are readily ascertainable by

17       inspection of Defendants' employment and payroll records.

18                      (b)     Typicality: The claims (or defenses, if any) of Plaintiff are typical of the

19       claims (or defenses, if any) of the Class Members because Defendants' failure to comply with

20       the provisions of California's wage and hour laws entitled each Class Member to similar pay,

21       benefits, and other relief. The injuries sustained by Plaintiff are also typical of the injuries

22       sustained by the Class Members, because they arise out of and are caused by Defendants'
23       common course of conduct as alleged herein.

24                      (c)    Adequacy: Plaintiff will fairly and adequately represent and protect the

25       interests of all Class Members because it is in his best interest to prosecute the claims alleged

26       herein to obtain full compensation and penalties due to him and the Class Members. Plaintiff's

27       attorneys, as proposed class counsel, are competent and experienced in litigating large

28       employment class actions and versed in the rules governing class action discovery,
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     1    certification, and settlement. Plaintiff has incurred and, throughout the duration of this action,

  2       will continue to incur attorneys' fees and costs that have been and will be necessarily expended

  3       for the prosecution of this action for the substantial benefit of the Class Members.

  4                      (d)     Superiority: The nature of this action makes use of class action

 5       adjudication superior to other methods. A class action will achieve economies of time, effort,

 6       and expense as compared with separate lawsuits and will avoid inconsistent outcomes because

 7       the same issues can be adjudicated in the same manner for the entire Class and Waiting Time

 8       Subclass at the same time. If appropriate, this Court can, and is empowered to, fashion methods

 9       to efficiently manage this case as a class action.

10                       (e)    Public Policy Considerations: Employers in the State of California

11       violate employment and labor laws every day. Current employees are often afraid to assert their

12       rights out of fear of direct or indirect retaliation. Former employees are fearful of bringing

13       actions because they believe their former employers might damage their future endeavors

14       through negative references and/or other means. Class actions provide class members who are

15       not named in the complaint with a type of anonymity that allows for the vindication of their

16       rights while affording them privacy protections.

17                                          GENERAL ALLEGATIONS

18              26.     At all relevant times mentioned herein, Defendants employed Plaintiff and other

19       California residents as non-exempt employees throughout California and at Defendants'

20       California business location(s).

21              27.     Defendants continue to employ non-exempt employees within California.

22              28.     Plaintiff is informed and believes, and thereon alleges, that at all times herein

23       mentioned, Defendants were advised by skilled lawyers, employees, and other professionals

24       who were knowledgeable about California's wage and hour laws, employment and personnel

25       practices, and the requirements of California law.

26              29.     Plaintiff is informed and believes, and thereon alleges, that Defendants knew or

27       should have known that Plaintiff and Class Members were entitled to receive wages for all time

28       worked (including minimum wages and overtime wages) and that they were not receiving all
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  1    wages earned for work that was required to be performed. In violation of the Labor Code and

  2    IWC Wage Orders, Plaintiff and Class Members were not paid all wages (including minimum

  3   wages and overtime wages) for all hours worked. These violations were due to Defendants'

  4   requirements that Plaintiff and Class Members work while clocked out, and Defendants' failure

  5   to include incentive pay in Plaintiff's and Class Members' regular rate of pay.

 6            30.     Plaintiff is informed and believes, and thereon alleges, that Defendants knew or

 7    should have known that Plaintiff and Class Members were entitled to receive all required meal

 8    periods or payment of one (1) additional hour of pay at Plaintiff's and Class Members' regular

 9    rate of pay when they did not receive a timely, uninterrupted meal period. In violation of the

10    Labor Code and IWC Wage Orders, Plaintiff and Class Members did not receive all meal

11    periods or payment of one (1) additional hour of pay at Plaintiff's and Class Members' regular

12    rate of pay when they did not receive a timely, uninterrupted meal period.

13            31.    Plaintiff is informed and believes, and thereon alleges, that Defendants knew or

14    should have known that Plaintiff and Class Members were entitled to receive all rest breaks or

15    payment of one (1) additional hour of pay at Plaintiff's and Class Members' regular rate of pay

16    when a rest break was late, missed, or interrupted. In violation of the Labor Code and IWC

17    Wage Orders, Plaintiff and Class Members did not receive all rest breaks or payment of one (1)

18    additional hour of pay at Plaintiff's and Class Members' regular rate 'of pay when a rest break

19    was missed, late, or interrupted.

20           32.     Plaintiff is informed and believes, and thereon alleges, that Defendants knew or

21    should have known that Plaintiff and Class Members were entitled to receive itemized wage

22    statements that accurately showed the name of the employer entity, gross and net wages earned,

23    total hours worked, all applicable hourly rates in effect, and the number of hours worked at

24    each hourly rate in accordance with California law. In violation of the Labor Code, Plaintiff

25    and Class Members were not provided with accurate itemized wage statements.

26           33.     Defendants knew or should have known that the Waiting Time Subclass was

27    entitled to timely payment of wages due upon separation of employment. In violation of the

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     1    Labor Code, the Waiting Time Subclass did not receive payment of all wages within the

  2       permissible time periods.

  3              34.     Plaintiff is informed and believes, and thereon alleges, that Defendants knew or

  4      should have known they had a duty to compensate Plaintiff and Class Members, and

  5       Defendants had the financial ability to pay such compensation but willfully, knowingly, and

 6       intentionally failed to do so in order to increase Defendants' profits.

 7               35.     Therefore, Plaintiff brings this lawsuit seeking monetary and injunctive relief

 8       against Defendants on behalf of himself and all Class Members to recover, among other things,

 9       unpaid wages (including minimum wages and overtime wages), unpaid meal period premium

10       payments, unpaid rest period premium payments, interest, attorneys' fees, penalties, costs, and

11       expenses.

12                                         FIRST CAUSE OF ACTION

13                                    FAILURE TO PAY MINIMUM WAGES

14           (Violation of Labor Code §§ 1194, 1194.2, and 1197; Violation of IWC Wage Order §3-4)

15               36.     Plaintiff hereby re-alleges and incorporates by reference all paragraphs above as

16       though fully set forth herein.

17              37.     Labor Code §§ 1194 and 1197 provide that the minimum wage for employees

18       fixed by the IWC is the minimum wage to be paid to employees, and the payment of a lesser

19       wage than the minimum so fixed is unlawful.

20              38.     During the relevant time period, Defendants paid Plaintiff and Class Members

21       less than minimum wages when they failed to pay proper compensation for all hours worked.

22       To the extent these hours do not qualify for the payment of overtime, Plaintiff and Class

23       Members were not being paid at least minimum wage for their work.

24              39.     During the relevant time period, Defendants regularly failed to pay at least

25       minimum wage to Plaintiff and Class Members for all hours worked pursuant to Labor Code

26       §§ 1194 and 1197.

27              40.     Defendants' failure to pay Plaintiff and Class Members the required minimum

28       wage violates Labor Code §§ 1194 and 1197. Pursuant to these sections, Plaintiff and Class
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     1     Members are entitled to recover the unpaid balance of their minimum wage compensation as

  2        well as interest, costs, and attorneys' fees.

  3                41.     Pursuant to Labor Code § 1194.2, Plaintiff and Class Members are entitled to

  4        recover liquidated damages in an amount equal to the wages unlawfully unpaid and the accrued

  5        interest thereon.

  6                                          SECOND CAUSE OF ACTION

  7                                         FAILURE TO PAY OVERTIME

 8               (Violation of Labor Code §§ 510, 1194, and 1198; Violation of IWC Wage Order § 3)

 9                42.     Plaintiff hereby re-alleges and incorporates by reference all paragraphs above as

10        though fully set forth herein.

11                43.     Labor Code § 1198 and the applicable IWC Wage Order provide that it is
12        unlawful to employ persons without compensating them at a rate of pay either one and one-half

13        (PA) or two (2) times the person's regular rate of pay, depending on the number of hours

14        worked by the person on a daily or weekly basis.

15                44.     Specifically, the applicable IWC Wage Orders provide that Defendants are and

16        were required to pay overtime compensation to Plaintiff and Class Members at the rate of one

17                              / ) their regular rate of pay when working and for all hours worked in
          and one-half times (112

18        excess of eight (8) hours in a day or more than forty (40) hours in a workweek and for the first

19        eight (8) hours of work on the seventh day of work in a workweek.

20                45.     The applicable IWC Wage Orders further provide that Defendants are and were

21        required to pay overtime compensation to Plaintiff and Class Members at a rate of two times

22        their regular rate of pay when working and for all hours worked in excess of twelve (12) hours

23       • in a day or in excess of eight (8) hours on the seventh day of work in a workweek.

24                46.    California Labor Code § 510 codifies the right to overtime compensation at one

25                        / ) times the regular hourly rate for hours worked in excess of eight (8) hours in
          and one-half (112

26        a day or forty (40) hours in a week and for the first eight (8) hours worked on the seventh

27        consecutive day of work, and overtime compensation at twice the regular hourly rate for hours

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     1    worked in excess of twelve (12) hours in a day or in excess of eight (8) hours in a day on the

     2    seventh day of work in a workweek.

 3                47.       Labor Code § 510 and the applicable IWC Wage Orders provide that

 4        employment of more than six days in a workweek is only permissible if the employer pays

 5        proper overtime compensation as set forth herein.

 6                48.       Plaintiff and Class Members were non-exempt employees entitled to the

 7        protections of California Labor Code §§ 510 and 1194.

 8               49.        During the relevant time period, Defendants required Plaintiff and Class

 9       Members to work in excess of eight (8) hours in a day and/or forty (40) hours in a week,

10       entitling them to overtime wages.

11               50.        To the extent the hours worked by Plaintiff and Class Members during the

12       relevant time period qualify for the payment of overtime and double time wages, Plaintiff and

13       Class Members were not paid all overtime and double time wages owed. Defendants failed to

14       pay Plaintiff and Class Members overtime wages for all overtime hours worked.

15               51.        In violation of state law, Defendants knowingly and willfully refused to perform

16       their obligations and compensate Plaintiff and Class Members for all wages earned and all

17       hours worked.

18               52.        Defendants' failure to pay Plaintiff and Class Members the unpaid balance of
19       overtime compensation, as required by California law, violates the provisions of Labor Code

20       §§ 510 and 1198, and is therefore unlawful.

21               53.     Pursuant to Labor Code § 1194, Plaintiff and Class Members are entitled to

22       recover their unpaid overtime and double time compensation as well as interest, costs, and

23       attorneys' fees.

24                                          THIRD CAUSE OF ACTION

25                                   FAILURE TO PROVIDE MEAL PERIODS

26                (Violation of Labor Code §§ 226.7 and 512; Violation of IWC Wage Order § 11)

27              54.      Plaintiff hereby re-alleges and incorporates by reference all paragraphs above as

28       though fully set forth herein
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     1           55.      Labor Code § 226.7 provides that no employer shall require an employee to work

  2       during any meal period mandated by the IWC Wage Orders.

  3              56.      Section 11 of the applicable IWC Wage Order states, Injo employer shall

  4      employ any person for a work period of more than five (5) hours without a meal period of not

  5      less than 30 minutes, except that when a work period of not more than six (6) hours will

 6       complete the day's work the meal period may he waived by mutual consent of the employer and

 7       the employee."

 8               57.    Labor Code § 512(a) provides that an employer may not require, cause, or permit

 9       an employee to work for a period of more than five (5) hours per day without providing the

10       employee with an uninterrupted meal period of not less dm thirty (30) minutes, except that if

11       the total work period per day of the employee is not more than six (6) hours, the meal period

12       may be waived by mutual consent of both the employer and the employee.

13               58.    Labor Code § 512(a) also provides that an employer may not employ an

14       employee for a work period of more than ten (10) hours per day without providing the employee

15       with a second meal period of not less than thirty (30) minutes, except that if the total hours

16       worked is no more than twelve (12) hours, the second meal period may be waived by mutual

17       consent of the employer and the employee only if the first meal period was not waived.

18              59.     During the relevant time period, Plaintiff and Class Members did not receive

19       compliant meal periods for working more than five (5) and/or ten (10) hours per day because

20       their meal periods were missed, late, and/or short.
21              60.     Labor Code § 226.7(b) and section 11 of the applicable IWC Wage Order require

22       an employer to pay an employee one (1) additional hour of pay at the employee's regular rate of

23       compensation for each work day that a compliant meal period is not provided.

24              61.     At all relevant times, Defendants failed to pay Plaintiff and Class Members meal

25       period premiums for missed, late, and/or short meal periods pursuant to Labor Code § 226.7(b)

26       and section 11 of the applicable IWC Wage Order.

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     1            62.     As a result of Defendants' failure to pay Plaintiff and Class Members an

  2       additional hour of pay for each day a compliant meal period was not provided, Plaintiff and

 3        Class Members suffered and continue to suffer a loss of wages and compensation.

 4                                        FOURTH CAUSE OF ACTION

 5                                    FAILURE TO PERMIT REST BREAKS

 6                      (Violation of Labor Code §§ 226.7; Violation of IWC Wage Order § 12)

 7               63.      Plaintiff hereby re-alleges and incorporates by reference all paragraphs above as

 8       though fully set forth herein.

 9               64.      Labor Code § 226.7(a) provides that no employer shall require an employee to

10       work during any rest period mandated by the IWC Wage Orders.

11               65.     Section 12 of the applicable IWC Wage Order states "[e]very employer shall

12.      authorize and permit all employees to take rest periods, which insofar as practicable shall be in

13       the middle of each work period[,]" and the "[a]uthorized rest period time shall be based on the

14       total hours worked daily at the rate of ten (10) minutes net rest time per four (4) hours or major

15       fraction thereofj,]" unless the total daily work time is less than three and one-half (312/ ) hours.

16               66.     During the relevant time period, Plaintiff and Class Members did not receive a

17       ten (10) minute rest period for every four (4) hours or major fraction thereof worked because

18       they were required to work through their daily rest periods and/or were not authorized to take

19       their rest periods.

20               67.     Labor Code § 226.7(b) and section 12 of the applicable IWC Wage Order

21       requires an employer to pay an employee one (1) additional hour of pay at the employee's

22       regular rate of compensation for each work day that a compliant rest period is not provided.

23               68.     At all relevant times, Defendants failed to pay Plaintiff and Class Members rest

24       period premiums for missed, late, and/or interrupted rest periods pursuant to Labor Code §

25       226.7(b) and section 12 of the applicable IWC Wage Order.

26              69.      As a result of Defendants' failure to pay Plaintiff and Class Members an

27       additional hour of pay for each day a compliant rest period was not provided, Plaintiff and Class

28       Members suffered and continue to suffer a loss of wages and compensation.
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  1                                     FIFTH CAUSE OF ACTION

  2            FAILURE TO PROVIDE ACCURATE ITEMIZED WAGE STATEMENTS

  3                                    (Violation of Labor Code § 226)

  4           70.     Plaintiff hereby re-alleges and incorporates by reference all paragraphs above as

  5   though fully set forth herein.

  6           71.    Labor Code. § 226(a) requires Defendants to provide each employee with an

  7   accurate wage statement in writing showing nine pieces of information, including, the

  8   following: (1) gross wages earned, (2) total hours worked by the employee, (3) the number of

  9   piece-rate units earned and any applicable piece rate if the employee is paid on a piece-rate

 10   basis, (4) all deductions, provided that all deductions made on written orders of the employee

 11   may be aggregated and shown as one item, (5) net wages earned, (6) the inclusive dates of the

12    period for which the employee is paid, (7) the name of the employee and the last four digits of

13    his or her social security number or an employee identification number other than a social

14    security number, (8) the name and address of the legal entity that is the employer, and (9) all

15    applicable hourly rates in effect during the pay period and the corresponding number of hours

16    worked at each hourly rate by the employee.

17            72.    During the relevant time period, Defendants have knowingly and intentionally

18    failed to comply with Labor Code § 226(a) on wage statements that were provided to Plaintiff

19    and Class Members. The deficiencies include, among other things, the failure to correctly state

20    the employing entity name, gross and net wages earned, total hours worked, all applicable

21    hourly rates in effect, and the number of hours worked at each hourly rate by Plaintiff and Class

22    Members.

23           73.     As a result of Defendants' knowing and intentional failure to comply with Labor

24    Code § 226(a), Plaintiff and Class Members have suffered injury and damage to their

25    statutorily-protected rights. Specifically, Plaintiff and Class Members are deemed to suffer an

26    injury pursuant to Labor Code § 226(e) where, as here, Defendants intentionally violated Labor

27    Code § 226(a). Plaintiff and Class Members were denied both their legal right to receive, and

28    their protected interest in receiving, accurate itemized wage statements under Labor Code
                                                    -13-
                                        CLASS ACTION COMPLAINT

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     1    § 226(a). In addition, because Defendants failed to provide the accurate rates of pay on wage

  2       statements, Defendants prevented Plaintiff and Class Members from determining if all hours

  3       worked were paid at the appropriate rate and the extent of the underpayment. Plaintiff has had

  4       to file this lawsuit in order to analyze the extent of the underpayment, thereby causing Plaintiff

  5       to incur expenses and lost time. Plaintiff would not have had to engage in these efforts and

  6       incur these costs had Defendants provided the accurate hours worked, wages earned, and rates

 7       of pay. This has also delayed Plaintiff's ability to demand and recover the underpayment of

 8       wages from Defendants.

 9               74.     Plaintiff and Class Members are entitled to recover from Defendants the greater

10       of all actual damages caused by Defendants' failure to comply with Labor Code § 226(a) or

11       fifty dollars ($50.00) for the initial pay period in which a violation occurred and one hundred

12       dollars ($100.00) per employee for each violation in subsequent pay periods in an amount not

13       exceeding four thousand dollars ($4,000.00) per employee, plus attorneys' fees and costs.

14               75.     Defendants' violations of California Labor Code § 226(a) prevented Plaintiff

15       and Class Members from knowing, understanding, and disputing the wages paid to them and

16       resulted in an unjustified economic enrichment to Defendants. As a result of Defendants'

17       knowing and intentional failure to comply with California Labor Code § 226(a), Plaintiff and

18       Class Members have suffered an injury, in the exact amount of damages and/or penalties to be

19       shown according to proof at trial.

20               76.     Plaintiff and Class Members are also entitled to injunctive relief under

21       California Labor Code § 226(h), compelling Defendants to comply with California Labor Code

22       § 226. Accordingly, Plaintiff and Class Members seek the recovery of attorneys' fees and costs

23       incurred in obtaining this injunctive relief.

24                                          SIXTH CAUSE OF ACTION

25          FAILURE TO PAY ALL WAGES DUE UPON SEPARATION OF EMPLOYMENT

26                                 (Violation of Labor Code §§ 201, 202, and 203)

27              77.     Plaintiff hereby re-alleges and incorporates by reference all paragraphs above as

28       though fully set forth herein.
                                                         -14-
                                              CLASS ACTION COMPLAINT

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     1            78.     Labor Code §§ 201 and 202 provide that if an employer discharges an employee,

  2       the wages earned and unpaid at the time of discharge are due and payable immediately, and that

  3       if an employee voluntarily leaves his employment, his or her wages shall become due and

  4       payable not later than seventy-two (72) hours thereafter, unless the employee has given

  5      seventy-two (72) hours previous notice of an intention to quit, in which case the employee is

 6       entitled to his or her wages at the time of quitting.

 7               79.     During the relevant time period, Defendants willfully failed to pay the Waiting

 8       Time Subclass all their earned wages upon termination, including, but not limited to, proper

 9       minimum wage and overtime compensation, meal period premiums, and rest period premiums

10       either at the time of discharge ,or within seventy-two (72) hours of their leaving Defendants'

11       employ.

12               80.     Defendants' failure to pay the Waiting Time Subclass all their earned wages at

13       the time of discharge or within seventy-two (72) hours of their leaving Defendants' employ is

14       in violation of Labor Code §§ 201 and 202.

15               81.     Labor Code § 203 provides that if an employer willfully fails to pay wages owed

16       immediately upon discharge or resignation in accordance with Labor Code §§ 201 and 202,

17       then the wages of the employee shall continue as a penalty from the due date at the same rate

18       until paid or until an action is commenced; but the wages shall not continue for more than thirty

19       (30) days.

20               82.    Pursuant to Labor Code § 203, the Waiting Time Subclass is entitled to recover

21       from Defendants the statutory penalty, which is defined as the Waiting Time Subclass

22       members' regular daily wages at their regular hourly rate of pay for each day they were not

23       paid, up to a maximum of thirty (30) days.

24                                        SEVENTH CAUSE OF ACTION

25             VIOLATION OF BUSINESS AND PROFESSIONS CODE 4& 17200, ET SEQ.

26                        (Violation of Business and Professions Code §§ 17200, el seq.)

27              83.     Plaintiff hereby re-alleges and incorporates by reference all paragraphs above as

28       though fully set forth herein.
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                                            CLASS ACTION COMPLAINT

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 1            84.    California Business and Professions Code §§ 17200, et seq., prohibits acts of

 2    unfair competition, which includes any "unlawful, unfair or fraudulent business act or practice .
         ,,
 3

 4            85.    A violation of California Business and Professions Code §§ 17200, et seq., may

 5   be predicated on a violation of any state or federal law. In the instant case, Defendants' policies

 6   and practices violated state law, causing Plaintiff and Class Members to suffer and continue to

 7   suffer injuries-in-fact.

 8            86.    Defendants' policies and practices violated state law in at least the following

 9   respects:

10                   (a)        Failing to pay all wages earned (including minimum wage and overtime

11                              wages) to Plaintiff and Class Members in violation of Labor Code §§

12                              510, 1194, 1194.2, 1197, and 1198.

13                   (b)        Failing to provide compliant meal periods without paying Plaintiff and

14                              Class Members premium wages for every day said meal periods were not

15                              provided in violation of Labor Code §§ 226.7 and 512.

16                   (c)        Failing to authorize or permit compliant rest breaks without paying

17                              Plaintiff and Class Members premium wages for every day said rest

18                              breaks were not authorized or permitted in violation of Labor Code §

19                              226.7.

20                  (d)         Failing to provide Plaintiff and Class Members with accurate itemized

21                              wage statements in violation of Labor Code § 226.

22                  (e)         Failing to timely pay all earned wages to the members of the Waiting

23                          Time Subclass upon separation of employment in violation of Labor

24                          Code §§ 201, 202, and 203.

25            87.   As alleged herein, Defendants systematically engaged in unlawful conduct in

26   violation of the California Labor Code and IWC Wage Orders, such as failing to pay all wages

27   (minimum and overtime wages), failing to provide meal periods and rest breaks or

28   compensation in lieu thereof, failing to furnish accurate wage statements, and failing to pay all
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                                           CLASS ACTION COMPLAINT

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     1    wages due and owing upon separation of employment in a timely manner to the Waiting Time

  2       Subclass, all in order to decrease their costs of doing business and increase their profits.

  3              88.     At all relevant times herein, Defendants held themselves out to Plaintiff and

  4       Class Members as being knowledgeable concerning the labor and employment laws of

  5       California.

  6              89.     At all times relevant herein, Defendants intentionally avoided paying Plaintiff

  7      and Class Members wages and monies, thereby creating for Defendants an artificially lower

  8      cost of doing business in order to undercut their competitors and establish and/or gain a greater

  9      foothold in the marketplace.

 10              90.     By violating the foregoing statutes and regulations as herein alleged,

 11      Defendants' acts constitute unfair and unlawful business practices under California Business

 12      and Professions Code §§ 17200, et seq.

13               91.     As a result of the unfair and unlawful business practices of Defendants as

14       alleged herein, Plaintiff and Class Members are entitled to injunctive relief, disgorgement, and

15       restitution in an amount to be shown according to proof at trial.

16               92.    Plaintiff seeks to enforce important rights affecting the public interest within the

17       meaning of California Code of Civil Procedure § 1021.5. Defendants' conduct, as alleged

18       herein, has been and continues to be unfair, unlawful, and harmful to Plaintiff, Class Members,

19       and the general public. Based on Defendants' conduct as alleged herein, Plaintiff and Class

20       Members are entitled to an award of attorneys' fees pursuant to California Code of Civil

21       Procedure § 1021.5.

22                                           PRAYER FOR RELIEF

23              Plaintiff, on his own behalf and on behalf of all others similarly situated, prays for relief

24       and judgment against Defendants, jointly and severally, as follows:

25              1.      For certification under California Code of Civil Procedure § 382 of the proposed

26       Class, Waiting Time Subclass, and any other appropriate subclasses;

27              2.      For appointment of Mitchel Parker as the class representative;

28              3.      For appointment of Aegis Law Firm, PC, as class counsel for all purposes;
                                                         -17-
                                            CLASS ACTION COMPLAINT

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     1           4.     For compensatory damages in an amount according to proof at trial;

  2              5.     For an award of damages in the amount of unpaid compensation including, but

  3      not limited to, unpaid wages, benefits, and penalties;

  4              6.     For economic and/or special damages in an amount according to proof at trial;

 5               7.     For liquidated damages pursuant to Labor Code § 1194.2;

 6               8.     For statutory penalties to the extent permitted by law, including those pursuant

 7       to the Labor Code and IWC Wage Orders;

 8               9.     For injunctive relief as provided by the California Labor Code and California

 9       Business and Professions Code §§ 17200, et seq.;

10              10.     For restitution as provided by Business and Professions Code §§ 17200, et seq.;

11              11.     For an order requiring Defendants to restore and disgorge all funds to each

12       employee acquired by means of any act or practice declared by this Court to be unlawful,

13       unfair, or fraudulent and, therefore, constituting unfair competition under Business and

14       Professions Code §§ 17200, et seq.;

15              12.     For pre judgment interest;

16              13.     For reasonable attorneys' fees, costs of suit, and interest to the extent permitted

17       by law, including, but not limited to, Code of Civil Procedure § 1021.5 and Labor Code §§

18       226(e) and 1194; and

19              14.    For such other relief as the Court deems just and proper.

20

21

22       Dated:. January 15, 2019                      AEGIS LAW FIRM, PC

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                                                       J ssica L. Campbell
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                                                       Attorneys for Plaintiff Mitchel Parker
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                                           CLASS ACTION COMPLAINT

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     1                                 DEMAND FOR JURY TRIAL

     2          Plaintiff hereby demands a jury trial with respect to all issues triable of right by jury.

     3

     4   Dated: January 15, 2019                        AEGIS LAW FIRM, PC
     5

  6                                               By:
                                                        Jes ca L. Campbell
  7                                                     Attorneys for Plaintiff Mitchel Parker
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                                           CLASS ACTION COMPLAINT

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   CT Corporation                                                            Service of Process
                                                                             Transmittal
                                                                             01/31/2019
                                                                             CT Log Number 534838483
   TO:       Francis Ferrara, Senior VP Et Deputy General Counsel
             Veolia North America
             120 Water St Ste 212
             North Andover, MA 01845-2648

   RE:       Process Served in California

   FOR:      Veolia Water North America Operating Services, LLC (Domestic State: DE)




   ENCLOSED ARE COPIES OF LEGAL PROCESS RECEIVED BY THE STATUTORY AGENT OF THE ABOVE COMPANY AS FOLLOWS:

   TITLE OF ACTION:                    MITCHEL PARKER, etc., PLtf. vs. VEOLIA ENERGY NORTH AMERICA, LLC, et al., Dfts.
                                       // To: Veolia Water North America Operating Services, LLC
   DOCUMENT(S) SERVED:                 Summons, Attachment(s), Complaint, Statement
   COURT/AGENCY:                       San Bernardino County - Superior Court - San Bernardino, CA
                                       Case # CIVDS1901351
   NATURE OF ACTION:                   CLASS ACTION COMPLAINT FOR Failure to Pay Minimum Wages is hereby served
   ON WHOM PROCESS WAS SERVED:         C T Corporation System, Los Angeles, CA
   DATE AND HOUR OF SERVICE:          By Process Server on 01/31/2019 at 15:50
   JURISDICTION SERVED :              California
   APPEARANCE OR ANSWER DUE:           within 30 days after service
   ATTORNEY(S) / SENDER(S):           KASHIF HAQUE
                                      AEGIS LAW FIRM, PC
                                      9811 Irvine Center Drive, Suite 100
                                      Irvine, CA 92618
                                      949-379-6250
   ACTION ITEMS:                      CT has retained the current log, Retain Date: 02/01/2019, Expected Purge Date:
                                      02/06/2019
                                      Image SOP
                                      Email Notification, Francis Ferrara frank.ferrara@veolia.com
                                      Email Notification, Whitney Fawcett whitney.fawcett@veolia.com
                                      Email Notification, Katie Lynch katie.lynch@veolia.com
                                      Email Notification, Holly Garabedian holly.garabedian®veolia.com

  SIGNED:                             C T Corporation System
  ADDRESS:                            818 West Seventh Street
                                      Los Angeles, CA 90017
  TELEPHONE:                          213-337-4615




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Case 2:19-cv-01225 Document 1-3 Filed 02/19/19 Page 95 of 129 Page ID #:113




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Case 2:19-cv-01225 Document 1-3 Filed 02/19/19 Page 96 of 129 Page ID #:114



            SUPERIOR COURT OF CALIFORNIA, COUNTY OF SAN BERNARDINO

 San Bernardino District - Civil
 247 West Third Street

 San Bernardino CA 924150210



                                           CASE NO: CIVDS1901351
   AEGIS LAW FIRM
   9811 IRVINE CENTER DRIVE
   SUITE 100
   IRVINE CA 92618




           IMPORTANT            CORRESPONDENC              E

.From the above entitled court, encloSed you will find: •

                     Initial Case Management Order & Guidelines




                  tERTIFICATE.OF.SERVICE            .            .
I am a Deputy Clerk of the Superior Court for the. County of San
Bgrns.r4ino at thelabOve.listed address. I am not a party to this
action and on the date and place shown below, I served a copy of the
     ve listed notice:
  ) Enclosed in a sealed envelope mailed to the interested party
A 901
ad ressed above, for collection and mailing this date, following
standard Court practices.
i ) Enclosed.in a sealed envelope, first class postage prepaid in the
U.S. mail at the'location shown above, mailed to the interested party
and'addressed as shown above, or as shown on the attached listing.
( ) A copy of this notice was given to the filing party at the counter
( ) A copy of this notice was placed in the bin located at this office
and identified as the location for the above law firm's collection of
file stamped documents.

Date of Mailing: 01/17/19
I declare under penalty of.perjury that the foregoing is true and
correct. Executed on 01/17/19 at San Bernardino, CA

                                         BY: AMIt ARROYO


               MAILING         CO.VER      SHEET




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            SUPERIOR COURT OF CALIFORNIA, COUNTY OF SAN BERNARDINO

 SAN BERNARDINO JUSTICE CENTER
 247W. 3RD ST
 SAN BERNARDINO, CA 92415-0210
                                                CASE NO: CIVDS1901351
 http://www.sb-court.org     '

           APPEARANCE IS MANDATORY        Unless .Case is Finalized

 Appearance Date: 03/20/19        Time:      8:30     Dept: S26   •

 IN RE: **COMPLEX** PARKER -V- VEOLIA ENERGY NORTH AMERICA

                 NOTICE OF CASE ASSIGNMENT FOR ALLTURPOSES
                    NOTICE.OF CASE MANAGEMENT CONFERENCE

 PLEASE TAKE NOTICE, that the above-entitled case has been set for a
 Case Management Conference on 03/20/19 at 8:30
 in Department S26. You must appear at this hearing or your case may
 be dismissed and monetary penalties may be imposed.

 THIS CASE HAS BEEN ASSIGNED TO JUDGE DAVID COHN IN
 DEPARTMENT S26 FOR ALL PURPOSES.

 Your Joint Statement must be filed, directly in the Complex Litigation
 Department, five -(5) calendar days prior to the hearing.

TO THE PARTY SERVED: The setting of this date DOES NOT increase'the
time you have to respond to the petition. The time for response is
clearly stated on the Summons.

Please see the Guidelines for the Complex Litigation Program for
further information. The guidelines may be found at the Court •Website:
http://www.sb-court.org

       A COPY OF THIS NOTICE MUST BE SERVED ON THE RESPONDENT
                           Nancy CS Eberhardt, Court Executive Officer
x1.4   DI/17/19                                   By: AMIE ARROYO

                         CERTIFICATE OF SERVICE
-I am a Deputy Clerk of the Superior Court for the County of San
Bernardino at the above listed address. I am not a party to this
action and on the date and place shown below, I served a copy of the
   oVe listed notice by:
     Enclosed in an envelope mailed to the interested party addressed
ab ve, for collection and mailing this date, following ordinary
business practice.
( ) Enclosed in a sealed envelope, first class postage prepaid in the
U.S. mail at the location shown above, mailed to the interested party
and addressed as shown above, or as shown on the attached listing.
( ) A copy of this notice was given to the filing party at the
counter.
( ) A copy of this notice was placed in the bin located at this office
and identified as the location for the above law firm's collection of.
file.stamped.documents.
DATE OF MAILING: 01/17/19
I declare under penalty of perjury that the foregoing is. true and
correct. Executed on 01/17/19 at San Bernardino, CA By: AMIE ARROYO




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Case 2:19-cv-01225 Document 1-3 Filed 02/19/19 Page 99 of 129 Page ID #:117




        1                            SUPERIOR COURT OF CALIFORNIA , -
        2             COUNTY OF SAN. BERNARDINO, SAN BERNARDINO DISTRICT
        3                                 Complex Litigation Program
     . 4                                       Judge David Cohn
        5                                                                        JAN 1 7. 2019
                                                Depakinent S-26
      •.6                                                                              bx-
        7
       .8             • MITCHEL PARKER, V- VEOLIA ENERGY NORTH AMERICA
        9
 • •••10.                    •'•••• ••••.- •Case No:. Cnt:D81601361            "    •
      11'
      12.                 INITIAL CASE MANAGEMENT CONFERENCE ORDER
      13
                 This case is assigned for all purposes to Judge David. Cohn in the Complex
     14
     15 Litigation Program: Aitinitial Case Management Conference (CMC) is scheduled for
     1.6         20 209 at 8:30 a.M., in Department S-26, located at the San Bernardino Justice

     17 Center, 247 West.Thircl Street, San Bernardino, California, 92415.
     18          Counsel for all parties are ordered to attend the.initial-CMC: Absent prior court
     19
     20 approval, telephonic appearances are hot alloWed for•theinitiaj CMC. If there are •
     21 • 'defendants•who haim not yet made•a general or special appearance; those parties who
     22 are presently before the court may jointly request a continuance of the initial CMC to
   23
        allow additiOnal time for such non-appearing defendants to make their general or
   24
   25 Special appearances. Such.a request should, be made by submitting a Stipulation and.
   26 Proppted Order to• . the• Court,
                                ••
                                       filed directly in Department.S-26. •

   27 • Pending 'further order       of this court, and except as otherwide provided in this
   28 Order, these proceedings 'are stayed in their entirety. This stay preclUdes the filing of

                                                   -1-



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              'any answer,, demurrer, motion to strike, or motions challenging the jurisdiction of the
    . 1
         2    Court. Each defendant, howe‘ier, is dirkted tope a Notice of General Appearance Or
         3. a Notice of Special Appearance if counsel intends to challenge personal jurisdiction) for
    . 4'
              purposes of identification of counsel and preparation of a service list. The filing of. a
        5
              Notice of General APpeaiance is without prejudice taany..substanfive or procedural
        6
              challenges to the complaint (including subject-matter jurisdiction), without prejudice to

        a     any denial Or affirmative'defense, and without, prejudice-to the filing of. any cross-
        9     complaint. The filing of a Ootibeof Special Appearance is without prejudice to any
    10.                                                                                            .      ,

              challenge to the court's exercise of personal jurisdiction. This stay of the proceedings is
    11
             issued to assist the court and the parties in.managing thit case through the
    12
    13' developMent of an orderly schedule for briefing and hearings on any procedural or
    14       substantive, challenges to the complaint and other issues that may assist in the orderly
    ie management Of this case.: This.stay shall .not preclude the parties from informally
    16
             exchanging .docurnents and other information that may assist them in-their initial
    17
             evaluation of the issues:
    18
    19              Plaintiffs' counsel is ordered to serve this Order on counsel for each defendant,
    20 -or, if counselis not known, on each defendant within five days of the date of this Order. '
    21
             If the complaint has not been served-as'the date-of this Order, counsel for plaintiff is to
   22.
             serve the complaint along with this Order within ten days,of thedate of this Order.
   23
                    Counsel foraly Parties are _ordered to meet and confer in perton no later than ten
   24
   25        days before the initial CMC to discuss the subjects listed below. Counsel must be fully
   26        prepared to discuss these Subjects, with the court.     • ,
   27
                                             Mende for the Initial CMG       •
   26.
              • 1. Any issues of recusal or disqualification;


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Case 2:19-cv-01225 Document 1-3 Filed 02/19/19 Page 101 of 129 Page ID #:119




                      2. Any. potentially dispositive or important threshold issues of law or fact that, if
         1.
                  •      considered bythe court, May simplify olfurther resbiution of the case;

         3            3. Appropriate mechanisms fOr Alternative Dispute Resolution;
         4
                  4. A plan for the preservation of evidence and a uniform system for the identification
         5
                         of documents to be used'               the 'course of this litigation, including
        6
   • 7                   discovery and trial;.

        8         5. A discovery. plan for the disclosure andproductiorrof dOcuments and:other
     9                  discovery, including whether the court should order automatic disclosures,

                        patterned on Federal Rule of Civil prodedure28(a) •or otherwise;
    1.1
                  6. Whether it is advisable to conduct discovery in phases so that information
    12
    13                  needed tb conduct meaningful ADR is obtained.early in the.case;

    14            7, Any Issues in iolving,the protection .of evidence and confidentiality;
    15            8. The use and selection of.an eledtrbnic service provider;
    16
                  9. The handling of any potential publidity issues.
    17
                 1.0.Any other isSues• counsel deem appropriate to address with the court.
    18
    19                                                     The Joint Report

    go           . • Counsel areorcered to Prepare a Joint Report for the initial CMC, to be filed
    21
              dilectly in Department S.-26 (riot in.the Clerk's office), no later than three court days
   22
              before the cdnferenCe date. The'Joint Report must include the following:
   .23                                              - •            •,
   24            1.. Whether thecase• should or should not be treated as complex;
   25         • 2. • Whether•additional parties are likely .to be added and a proposed date by whiCh
   26                  all parties must be served;
   27
   28



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                     3. A service list (the service list should identify. all primary and'sedondary counsel,
            1                                     . -
                                         . .
         -2             fimi name's; addresses; telephone numbers, email.addreSses, and' axnumbers
            3           for all counsel.)
       . .4
                     4. Whether the court should issue an order requiring electronic service. Counsel
            5
                        should-advise the.court regarding any preferred web-based electronic service

         7.             provider;. .

                     5. Whether any. issues of jurisdiction or venue exist that might affect this court's
   •     9              ability to proceed with ihiS case.
                                                                                   .•     . . .
       19'
                     6. Whether there are applicable arbitration
                                                       . .       agreements, and the-parties' views on
       11.
                        their enforceability;   •
       12
       13           7. A list of all related litigation pending- in-this or other courts (state andfederal), a

       14               brief description of any-such litigation, including the name of the judge assigned
       15              to the case,:and.a statement whether any additional related litigatiOn is
       16.
                       anticipated;
       17
                    8. A deseription ofThe_major factual and legal issues in the case. The parties
       18
       19             ,should address any contracts, statutes, or regulations.on.which claims or
       20              defenses are based, or which will rebuire•interpretation in adjudicating the claims
       21
                       and defenses;
       22
                    9. The parties'• tentative views on an.ADR medianism and how such mechanism
       23
       24              might-be integrated into the course ofthe. litigation;

       25           10.A discovery plan, including-the time need,to conduct discovery and Whether
   20                  discovery shbuld be *ducted in phases or.litnited (and, if so, the order of
   27
                •      phasing'-or types of-limitations). With respect to the discovery of electronically
   28.



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                 stored information (ESI ); the plan stiPuld Maude:
     .1
     .2                    a. Identification of the Information Management Systems used by the parties;
         3                 b. The location and custodians of information that is likely to be'subject to
        4
                              production (including the identification of network and email servers and
        5
                   -          hard-drives maintained by Custodians);'• .
        6
        7                  c. The types of.ESI that will be requested and prtiduCed, e.g. data files,

    .8                 •      email*, etc.;
        9              d. The forrriat in which ESI will be produced; '• .

                       e. Appropriate search criteria for focused requests.
    11.
                       f. A statement.whether the parties.will allow their respective IT consultants
    12
    13                       or employees to participate directly in the meet and confer process.

    14       11. Whether the parties will.stipulate
                                            •       that diriccivery stays br other stays entered by
    15          the court for case managerrient pixrpoSes will be excluded in deferniining the
   •16
                statutory period for bringing the case to trial Under. Code of Civil Procedure
   17                       . . •
                Section 583.M0 .(the Five Year Rule).
   18
   -19       12. Recommended dates and times for the following:
   20              a.. The next.CMC;.
  . 21
                   b. A schedule for any contemplated ADR;
 • 22
                   c, A filing deadline (and proposed briefing schedule) for any anticipated
   23
   24                       •norydiatbliery motions:    '

   25              d. With respect-to 'class action; the parties' tentative views on an
   26                       appropriate deadline for a class certification-motion to be filed..
   27,.
   28




                                                            • -5;


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                     To the extent the parties are unable to agree on any matterto be addressed in
        1
                     . .. . . .             .
                                              ..          .• •
                                                                 . ••
                                                                        .. •       .                     .
    .2        the Joint Report,. the,positions   of Bach 'party or  of various pOrties should be set forth

              ''separately. The parties'are encouraged to propose, either jointly or separately, any
        4
              approaches td case management that they believe will promote the fair and *efficient
       5
              handling of this case.
       6

       8               DATED:
       9
                                                       . .
                                                                Judge of the Superior Court • '
   111                                                                        •
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            Updated'January 16, 2019 ' .
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             Superior Court of California-County of San Bernardino

                      ALTERNATIVE DISPUTE RESOLUTION
 What is Alternative Dispute Resolution?
 There are different.processes available to settle lawsuits that do not require a trial. In Alternative Dispute
 Resolutions (ADR) a trained, impartial persOn decides .disputes or helps the. parties reach resolutions of
 their disputes for themselves. These persons are neutrals, who are normally chosen by the disputing
 parties or the court.

 Advantages of ADR
     • Often faster than going to trial.
     • Often less expensive, saving the litigants court costs, attorney's fees and expert fees.
    • May permit more participation, allowing the parties to have more control over the outcome.
    • Allows for flexibility in choice of APR processes and resolution of the dispute.
    • Fosters cooperation by allowing parties to work together with the neutral to resolve the dispute and
       mutually agree to a remedy.
    • ADR can be used, even after a lawsuit, if the result is appealed.
 Disadvantages of ADR - ADR may not be suitable for every dispute.
    • If ADR is binding, the parties normally give up most court protections, including a decision by a judge or
       jury under formal rules of evidence and procedure, and review for legal error if by an appellate court.
    • ADR may not be effective if it takes place before the parties have•sufficient information to resolve the
       dispute.
    • The neutral may charge a fee for his or her services.
    • If the dispute is not resolved through ADR, the parties may then have to face the usual and traditional costs
       of trial, such as attorney's fees and expert fees.

The Most Common Types of ADR: Mediation and Arbitration

                                                     Mediation

In mediation, the mediator (a neutral) assists the parties in reaching a mutually acceptable resolution of their
dispute.
• Unlike lawsuits or some other types of ADR, the parties, rather the mediator decide how the dispute is to be
    resolved.
• ADR is a cooperative process in which the parties work together toward a resolution that tries to meet everyone's
    interests, instead of working against each other.
• ADR can be particularly effective when parties have a continuing relationship, such as neighbors or businesses.
• ADR can be also very effective where personal feelings are getting in the way of a resolution.

                                                    Arbitration

In arbitrationi the arbitrator (a neutral) reviews evidence, hears, arguments, and makes a decision (award) to resolve
the dispute. This is very different from mediation whereby the mediator helps the parties reach their own.msolution,
Arbitration may be more informal, quicker, and less expensive than a trial.




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 There are two types of arbitration in California:
 • Private arbitration by agreement of the parties involved in the dispute. This type lakes place outside of the
      court and normally is binding. In most cases "binding" means that the arbitrator's decision (award) is final
      and there will not be a trial or an opportunity to appeal the decision.
 • Judicial arbitration ordered by the court. The arbitrator's decision is not binding unless the parties agree to
     be bound. A party who does not like the' award may file a request for trial with the court within a specified
     time. However, if that party does not receive a more favorable award at trial, the.party may have to pay a
     penalty.

                                                More Information
 There are several other types of ADR. Some of these .include conciliation, settlern'ent conference, 'fact
 finding, mini-trial, Victim Offender Reconciliation Program, and summary trial jury. Sometimes parties
 will try a combination of ADR types. The important thing is to try to find the type of ADR that is most.
 likely to resolve your particular dispute.

 The selection of a neutral is also an important decision. There is no legal requirement that the neutral be
 licensed or hold any particular certificate. However, some programs- have established qualification
 requirements for neutrals.

 Agreements reached through ADR normally are put. into writing and, if'the parties wish, may become
 binding contracts that can be enforced by the court.

ADR can be used to resolve disputes instead of filing a lawsuit. Even after a lawsuit has been filed, the
court can refer the dispute to a neutral. ADR has also been used to resolve disputes even after trial, when
the result is appealed.

You may wish to seek the advice of an attorney as to your legal rights and matters relating to the dispute
before pursuingADR.

To locate a dispute resolution program or neutral in your community:
• Contact the California Department of Consumer Affairs (www.dea.ca.gov) Consumer Information Center
    toll free at 800-952-5210, or;.
• Contact the local bar association, or;
• Look in a phone directory under mediation or arbitration services.

The following alternate dispute resolution service providers are under contract with the County of San
Bernardino to provide services for the listed types of matters under referral by the Court at no or low cost.
The contractors may also provide additional mediation services outside of their contracts with the County.
                                Civil, family law (except custody andsir poly)
                             Landlord-tenant, unlcnifid detainers, small
                          Program Director: Lynne Anders'on, Executive Director
                                            City Center Building
                                 Inland Fair Housing & Mediation Board
                                    10681 Foothill Boulevard, Suite 101
                                        Rancho Cucamonga, CA 91730
                                        909-984-2254 or 800-321-0911
                                              Fax: 909-460-0274
                                              tywnthungdbrEcom




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    Jessica L.        bell, Esq. SB
    AEGIS LAW FIRM, P.C.
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    Irvine, CA 92618
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   ATTORNEY FOR (Hama): Plaintiff Mitchel Parker                       .                                         8AN                   •       LAU   ' t-- ORN0
                                                                                                                  COUNT1
                                                                                                                     BE        -A v
  SUPERIOR COURT OF CALIFORNIA. COUNTY OF San Bernardino
       STREET ADDRESS; 247 West 3rd Street
                                                                                                                         • -d.. LI CIVIL ARDINO
                                                                                                                                                      ENVISION
        MAILING ADDRESS:
                                                                                                                           JAN 15 ?039
       errvium ZIP CODe San Bernardino, CA 92415
           BRANCH mum      Justice Center                                   r.
   CASE NAME                                                                                 13‘1              1...:-.- "-: --......rf '
   Mitchel Parker v. Veolia Energy North America, LLC,et al.                                      nv, 0E1_11E1'48r '
                                                                                                                     Ar.,n,./:tjon
                                                                                                                        '--- ----     ,..r.
                                                                                          CASE NUMBER:                            —. 4.,rur
     CIVIL CASE COVER SHEET                            Complex Case Designation                                                3
  A   Unlimited             Limited                                                                               9                51
                                                                                                   clVe.S1
                                 IM
      (Amount               (Amount               111 ' Counter              Joinder                                   01
                                                                                          JUDGE:
      demanded              demanded is          Filed with first appearance by defendant
      exceeds $25,000)      $25,000 or less)          (Cal. Rules of Court, rule 3.402)    DEPT:
                               Items 1-6 be ow must be completed (see instructions on page 2).
 1. Check one box below for the case type that best describes this case:
    Auto Tort                                      Contract                                     Provisionally Complex Clvii Litigation

    Fl     Auto (22)
          Uninsured motorist (46)
    Other P1IPD1WD (Personal Injury/Property
                                                   F- 1 Breach of contraclAvananty (06)
                                                   IIII Rule 3.740 collections (09)
                                                   0     Other collections (09)
                                                                                                (Cal. Rules of Court, rules 3.400-3.403)
                                                                                                11. Antibust/Trade regulation (03)
                                                                                                EJ Construction defect (10)
    DamagaMirongful Death) Tort                    Q     Insurance coverage (18)                      Mass tort (40)
    =     Asbestos (Go                                                                               •Securities litigation (28)
                                                    IM Other contract (37)                      0
    ri    Product liability (24)                   Real Property                                Q     Environmental/Toxic tort (30)
    111. Medical malpractice (45)                  MI Eminent domain/Inverse                    IIII Insurance coverage claims arising from the
          Other PI/PD/WD (23)                            condemnation (14)                            above listed provisionally complex case
    Non.PUPD!WD (Other) Tort                           ElWrongful eviction (33)                       types (41)

    ME Business tort/unfair business practice (07) 0     Other real property (26)               Enforcement of Judgment
          Civil rights (08)                        Unlawful Detainer                            =     Enforcement of Judgment (20)
    ill   Defamation (13)                          0     Commercial (31)                        Miscellaneous ChM Complaint
          Fraud (16)                               0     Residential (32)                       0     RICO (27)
          Intellectual properly (19)               El    Drugs (38)                             II    Other complaint (not specified above) (42)
    1:l Professional negligence (25)               Judicial Review                              Miscellaneous Civil Petition
          Other non-FWD/1ND tort (35)                    Asset forfeiture (05)                  IIIII Partnership and corporate governance (21)
    Employment                                     0     Petition re; arbitration award (11)    I.    Other petition (not specified above) (43)
         Wrongftd termination (36)                 Q     Wilt of mandate (02)
     1   Other employment (15)                         riOther Judicial review (39)                                                                 •
2. This case I J I is        I I is not      complex under rule 3.400 of the California Rules of Court If the case Is complex, mark the
     factors requiring exceptional judicial management
     a. M     Large number of separately represented parties        d. CI Large number of witnesses
     b.nl Extensive motion practice raising difficult or novel e. El Coordination with related actions pendingin one or more courts
              issues that will be time-consuming to resolve                 in other counties, states, or countries, or in a federal court
     c. 0     Substantial amount of documentary evidence            1. ID Substantial postjudgment judicial supervision
3. Remedies sought (check all that apply): a•M monetary 11.1- 1 nonmonetary; declaratory or Injunctive relief                            c.I:Dpunithre
4. Number of causes of action (specify): Seven
5.. This case E-1is El is not a class action suit.
6. If there are any known related cases, file and serve a notice of related case. (You may use form CM-015.)
nato• January .1 5. 2019
Jessica L. Campbell
                                (TYPE OR PRINT NAME)
                                                                        1                      (SIGIOOF PARTY OR ATTORNEY FOR PARTY)
                                                                        NOTICE
    Plaintiff must file this cover sheet with the first paper filed in the action or proceeding (except small claims cases or cases filed
    under the Probate Code, Family Code, or Welfare and Institutions Code). (Cal. Rules of Court, rule 3.220.) Failure to file may result
    in sanctions.
  • File this cover sheet in addition to any cover sheet required by local court rule.
  • If this case is complex under rule 3.400 et seq. of the California Rules of Court, you must serve a copy of this cover sheet on all
    other parties to the action or proceeding.
  • Unless this Is a coUections.case under rule 3.740 or a complex case, this cover sheet will be used for statistical purposes onty.
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  Aurdal Council of Cardornla                          CiV11. CASE COVER SHEET                                    CM Standards d Judldrd Achintstratkm Md. 3.10
  CM-010(1ov. Ady1, 2037)                                                                                                                   biAtccordraT:Lcd.gov




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                                     SUPERIOR COURT OF CALIFORNIA, COUNTY OF SAN BERNARDINO

 Mitchel Parker                                                                                CIAMS19I)1351
                                                                              CASE NO.:

                                          vs.                                 CERTIFICATE OF ASSIGNMENT
 Veolia Energy North America, LLC, et al.

 A civil action or proceeding presented for filing must be accompanied by this Certificate. If the ground is the
 residence of a party, name and residence shall be stated.

 The undersigned declares that the above-entitled matter is filed for proceedings in the
 San Bernardino - Justice Center District of the Superior Court under Rule 404 of this court for the
 checked reason:.
         DGeneral                   ❑ Collection
                                Nature of Action      Ground
 00001:1pDEI ❑❑❑❑❑❑❑❑❑❑❑❑❑




                             1. Adoption             Petitioner resides within the district
                              2. Conservator         Petitioner or conservatee resides within the district.
                              3„ Contract            Performance in the district is expressly provided for.
                              4. Equity              The cause of action arose within the district.
                             .5. Eminent Domain      The property is located within the district.
                              6. Family Lavi         Plaintiff, defendant, petitioner or respondent resides within the district.
                              7. Guardianship        Petitioner or ward resides within the district or has property within the district.
                              8. Harassment          Plaintiff, defendant, petitioner or respondent resides within the district.
                              9. Mandate             The defendant functions wholly within the district.
                             10. Name Change         The petitioner resides within the district.
                             11. Personal Injury     The injury occurred within the district
                             12. Personal Property   The property is located within the district.
                             13. Probate             Decedent resided or resides within the district or had property within the
                                                     district.
                             14. Prohibition         The defendant functions wholly within the district.
                             15. Review              The defendant functions wholly within the district.
                             16. Title to Real Property
                                                     The property is located within the district.
                             17. Transferred Action  The lower court is located within the district.
                             18. Unlawful Detainer . The property is located within the district.
                             19. Domestic Violence   The petitioner, defendant, plaintiff or respondent resides within the district.
                             20. Other Empsormoni       The cause of action arose within the district
                             21. THIS FILING WOULD NORMALLY FALL WITHIN JURISDICTION OF SUPERIOR COURT
The addrtss of the accident, performance, party, detention, place of business, or other factor which qualifies
this case for filing in the above-designed district is:
       Pine or business                                                                       501 E. Santa Ma Ave.
     NAME — INDICATE TITLE OR OTHER QUALIFYING FACTOR                                        ADDRESS
    Bloomington                                                               CA                                   92316
    CITY                                                                     STATE                                ZIP CODE

I declare, under penalty of perjury, that the foregoing is true and correct and that this declaration was executed
oh January 15, 2019                     at Irvine                                                       , California




                                                                                             Signahms of Attorney/Patty



                                                     CERTIFICATE OF ASSIGNMENT
13-15503-360,
RI* 06-2014 Mandatary




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        1   AEGIS. LAW FIRM, PC
            ICASHIF HAQUE, State Bar No. 218672                                     FILED
        2                                                                SUPERIOR COURT OP CALIFORNIA
            SAMUEL A.. WONG, State Bar No. 217104                            COUNTY OF SAN DERNAROINO
                                                                                                  DIVISION
            JESSICA L. CAMPBELL, State Bar No. 280626                       SAN Dr:RN/it-WO CIVIL
        3
            9811 Irvine Center Drive; Suite 100                                   JAN 15 2019
        4   Irvine,.California 92618
            Telephone: (949) 379-6250
                                                                       By
        5   Facsimile: (949) 379-6251                                       MDUEL HENRY AtZiNtZ, DEPUTY
        6   Attorneys for Plaintiff Mitchel Parker, individually,
            and on behalf of all others similarly situated.
        7
        8                     SUPERIOR COURT OF THE STATE OF CALIFORNIA
        9                               FOR THE COUNTY OF SAN BERNARDINO
    10
            MITCHEL PARKER, individually and on            Case No.     m os1901 351
   11       behalf of all others similarly.situated,
   12
                           Plaintiff,                      CLASS ACTION COMPLAINT FOR:
   13
                                                             1. Failure to Pay Minimum Wages;
   14
            VEOLIA ENERGY NORTH AMERICA,                     2. Failure to Pay Overtime Wages;
   15       LLC; VEOLIA-WATER NORTH
            AMERICA OPERATING SERVICES,                      3. Failure to Provide Meal Periods;
   16
            LLC; VEOLIA WATER NORTH
            AMERICA-WEST, LLC; and DOES I                    4. Failure to Permit Rest Break';
   17
            through 20, inclusive,
   18                                                        5. Failure to Provide Accurate Itemized Wage
                          Defendants.                           Statements;
   19
                                                             6. Failure to Pay All Wages Due Upon
   20                                                           Separation of Employment; and
   21
                                                             7. Violation of Business and Professions
   22                                                           Code §§ 17200, et seq.

   23
                                                          DEMAND FOR JURY TRIAL
   24
   25
   26
  27
  28                                                                                By Fax
                                              CLASS ACTIONCOMPLAINT




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       1           Plaintiff Mitchel Parker, individually, and on behalf of others similarly situated, alleges

       2    as follows:

       3                  NATURE OF ACTION AND INTRODUCTORY STATEMENT

       4           1.        Plaintiff Mitchel Parker ("Plaintiff') brings this putative class action against

       5    defendant Veolia Energy North America, LLC; Veolia Water North America Operating

    6       Services, LLC; Veolia Water North America-West, LLC and DOES 1 through 20, inclusive

    7      (collectively, "Defendants"), on behalf of himself individually and a putative class of California

    8      citizens who are and were employed by Defendants as non-exempt employees throughout

    9      California.

   10              2.       Defendants are in the business of providing water, waste, and energy services.

   11              3.       Through this action, Plaintiff alleges that'Defendants engaged in a systematic
   12      pattern of wage and hour violations under the California Labor Code and Industrial Welfare
  13       Commission ("IWC") Wage Orders, all of which contribute to Defendants' deliberate unfair
  14       competition. •
  15              4.        Plaintiff is informed and believes, and thereon alleges, that Defendants have

  16       increased their profits by violating state wage and hour laws by, among other things:
  17                      . (a)    failing to pay all wages (including minimum wages and overtime

  18                               wages); '

  19                        (b)    failing to provide lawful meal periods or compensation in lieu thereof;

  20                        (c)    failing to authorize or permit lawful rest breaks or provide compensation

  21                               in lieu thereof;

  22                        (d)    failing to provide accurate itemized wage statements; and

  23                        (e)    failing to pay all wages due upon separation of employment. •

  24              5.        Plaintiff seeks monetary relief against Defendants on behalf of himself and all

  25       others similarly situated in' California to recover, among other things, unpaid wages and
  26       benefits, interest, attorneys' fees, costs and expenses, and penalties pursuant to Labor Code §§

  27       201-203, 226, 226.7, 510, 512, 1194, 1194.2, 1197, and 1198, and Code of California Civil
  28       Procedure § 1021.5.
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      1                                       JURISDICTION AND VENUE
  •2                6.     This is a class action pursuant to California Code of Civil Procedure § 382. The
      3     monetary damages and restitution sought by Plaintiff exceeds the minimal jurisdictional limits
      4    of the Superior Court and will be established according to proof at trial.
      5            7.      This Court has jurisdiction over this action pursuant to the California
      6    Constitution, Article VI, § 10, which grants the Superior Court Original jurisdiction in all
      7    causes except those given by statutes to other courts. The statutes under which this action is
      8    brought do not specify any other basis for jurisdiction.
      9            8.      This Court has. jurisdiction over all Defendants because, upon information and
  10       belief, they are citizens of California, have sufficient minimum contacts in California, or
  11       otherwise intentionally avail themselves of the California market so as to render the exercise of
  12       jurisdiction over them by the California courts consistent with traditional notions of fair play
  13       and substantial justice.
  14              9.      Venue is proper in this Court because, upon information and belief, Defendants
 15       reside, transact business, or have offices in this county, and the acts and omissions alleged
 16       herein took place in this county.
 17                                                THE PARTIES
 18               10.     Plaintiff is a resident of California and worked for Defendants in California
 19       during the relevant time periods as alleged herein.
 20               11.     Plaintiff is informed and believes, and thereon alleges that at all times
 21       hereinafter mentioned, Defendants were and are subject to the Labor Code and IWC Wage
 22       Orders as employers, whose employees were and are engaged throughout this county and the
 23       State of California.
 24              12.     Plaintiff is unaware of the true names or capacities of the defendants sued herein
 25       under the fictitious names DOES I through 20, but will seek leave of this Court to amend this
 26       Complaint and serve such fictitiously named defendants once their names and capacities
 27       become known.
 28
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       1             13.     Plaintiff is informed and believes, and thereon alleges, that DOES 1 through 20
       2     are or were the partners, agents, owners, shareholders, managers, or employees of Defendants
       3     at all relevant times.

       4             14.     Plaintiff is informed and believes, and thereon alleges; that each defendant acted
       5     in all respects pertinent to this action as the agent of the other defendant, carried out a joint
       6     scheme, business plan, or policy in all respects pertinent hereto, and the acts of each defendant

       7.    are legally attributable to the other defendant. Furthermore, defendants in all respects acted as
       8     the employer and/or joint employer of Plaintiff and the class members.

      9             15.     Plaintiff is informed and believes, and thereon alleges, that each and all of the
  10         acts and omissions alleged herein were performed by, or are attributable to, Defendants and/or
  11         DOES 1 through 20, acting as the agent or alter ego for the other, with legal authority to act on
  12         the other's behalf. The acts of any and all Defendants were in accordance with, and represent,
  13        the official policy of Defendants.
  14                16.     At all relevant times, Defendants, and each of them, acted within the scope of
  15        such agency or employment, or ratified each and every act or omission complained of herein.
  16        At all relevant times, Defendants, and each of them, aided and abetted the acts and omissions of
  17        each and all the other Defendants in proximately causing the damages herein alleged.
  18                17.    Plaintiff is informed and believes, and thereon alleges, that each of said
  19        Defendants is in some manner intentionally, negligently, or otherwise responsible for the acts,
  20        omissions, occurrences, and transactions alleged herein.
  21                                      CLASS ACTION ALLEGATIONS
  22                18.    Plaintiff brings ihig action under Code of Civil Procedure § 382 on behalf of
  23        himself and all others similarly situated who were affected by Defendants' Labor Code,
  24        Business and Professions Code §§ 17200, and IWC Wage Order violations.
  25               19.     All claims alleged herein arise under California law for which Plaintiff seeks
  26        relief authorized by California law.
 27                20.     Plaintiff's proposed class consists of and is defined as follows:
 28           /
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                                                 CLASS ACTION COMPLAINT




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       1                      Class
       2                      All California citizens currently or formerly employed by Defendants as non-
       3                      exempt employees in the State of California within four years prior to the filing of
       4                     this action to the date the class is certified ("Class").
       5           21.       Plaintiff also seeks to certify the following subclass of employees:
       6                     Waiting Time Subclass
       7                     All Class Members who separated their employment with Defendants at any time
       8                     within three years prior to the filing of this action to the date the class is certified
       9                     ("Waiting Time Subclass").
   10              22.       Plaintiff reserves the right to modify or re-define the Class, establish additional
  11       subclasses, or modify or re-define any class or subclass definition as appropriate based on
  12       investigation, discovery, and specific theories of liability.
  13              23.        Members of the Class and the Waiting Time Subclass described above will be
  14       collectively referred to as "Class Members."
  15              24.       There are common questions of law and fact as to the Class Members that
  16       predominate over any questions affecting only individual members including, but not limited to,
  17       the following:
  18                        (a)       Whether Defendants failed to pay Plaintiff and Class Members all wages
  19                                  (including minimum wages•and overtime wages) for all hours worked by
  20                                  Plaintiff and Class Members.
  21                        (b)       Whether Defendants required Plaintiff and Class Members to work over
  22                                  eight (8) hours per day and/or over forty (40) hours per week and failed
  23                               to pay them proper overtime and double time compensation for all
  24                               overtime hours worked.
 25                         (c)    Whether Defendants deprived Plaintiff and Class Members of timely
 26                                meal periods or required Plaintiff and Class Members to work through
 27                                meal periods without compensation.
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       1                   (d)     Whether Defendants deprived Plaintiff and Class Members of rest breaks
       2                           or required Plaintiff and Class Members to work through rest breaks.
       3                           Whether Defendants failed to provide Plaintiff and Class Members
       4                           accurate itemized wage statements.
       5                   (f)     Whether Defendants failed to timely pay the Waiting Time Subclass all
       6                          wages due .upon termination or within seventy-two (72) hours of
      7                           resignation.
      8                    (g)    Whether Defendants' conduct was willful or reckless.
      9                    (h)    Whether Defendants engaged in unfair business practices in violation of
  10                              Business and Professions Code §§ 17200, et seq.
  11               25.     There is a well-defined community of interest in this litigation and the proposed
  12       Class and Subclass are readily ascertainable:
  13                      (a)     Nurnerosity: The Class Members are so numerous that joinder of all
  14       members is impractical. Although the members of the entire Class and the Waiting Time
  15       Subclass are unknown to Plaintiff at this time, on information and belief, the class is estimated
  16       to be at least (50) individuals. The identities of the Class Members are readily ascertainable by
  17       inspection of Defendants' employment and payroll records.
  18                      (b)     Typicality: The claims (or defenses, if any) of Plaintiff are typical of the
  19       claims (or defenses, if any) of the Class Members because Defendants' failure to comply with
  20       the provisions of California's wage and hour laws entitled each Class Member to similar pay,
  21       benefits, and other relief. The injuries sustained by Plaintiff are also typical of the injuries
  22       sustained by the Class Members, because they arise out of and are caused by Defendants'
  23       common course of conduct as alleged herein.
 24                       (c)    Adequacy: Plaintiff will fairly and adequately represent and protect the
 25        interests of all Class Members because it is in his best interest to prosecute the claims alleged
 26        herein to obtain full compensation and penalties due to him and the Class Members. Plaintiffs
 27        attorneys, as proposed class counsel, are competent and experienced in litigating large
 28        employment class actions and versed in the rules governing class action discovery,
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       1     certification, and settlement. Plaintiff has incurred and, throughout the duration of this action,
       2     will continue to incur attorneys' fees and costs that have been and will be necessarily expended
       3    for the prosecution of this action for the substantial benefit of the Class Members.

       4                    (d)     Superiority: The nature of this action makes use of class action
       S    adjudication superior to other methods. A class action will achieve economies of time, effort,

       6    and expense as compared with separate lawsuits and will avoid inconsistent outcomes because
       7    the same issues can be adjudicated in the same manner for the entire Class and Waiting Time
       8    Subclass at the same time. If appropriate, this Court can, and is empowered to, fashion methods

       9    to efficiently manage this case as a class action.

  10                       (e)     Public Policy Considerations: Employers in the State of California
  11        violate employment and labor laws every day. Current employees are often afraid to assert their
  12        rights out of fear of direct or indirect retaliation. Former employees are fearful of bringing
  13        actions because they believe their former employers might damage their future endeavors
 • 14      through negative references and/or other means. Class actions provide class members who are
  15       not named in the complaint with a type of anonymity that allows for the vindication of their'
  16       rights while affording them privacy protections.      •
  17                                          GENERAL ALLEGATIONS
  18               26.     At all relevant times mentioned herein, Defendants employed Plaintiff and other
  19       California residents as non-exempt employees throughout California and at Defendants'
  20       California business location(s).
  21               27.    Defendants continue to employ non-exempt employees within California.
  22               28.    Plaintiff is informed and believes, and thereon alleges, that at all times herein
  23       mentioned, Defendants were advised by' skilled lawyers, employees, and other professionals •

  24       who were knowledgeable about California's wage and hour laws, employment and personnel
  25       practices, and the requirements of California law.
  26              29.     Plaintiff is informed and believes, and thereon alleges, that Defendants knew or
  27       should have known that Plaintiff and Class Members were entitled to receive wages for all time

  28       worked (including minimum wages and overtime wages) and that they were not receiving all
                                                    -6-
                                               CLASS ACTION COMPLAINT




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       I    wages earned for work that was required to be performed. In violation of the Labor Code and

       2    IWC Wage Orders, Plaintiff and Class Members were not paid all wages (including minimum
       3    wages and overtime wages) for all hours worked. These violations were due to Defendants'
       4    requirements that Plaintiff and Class Members work while clocked out, and Defendants' failure
       5    to include incentive pay in Plaintiff's and Class Members' regular rate of pay.

       6           30.     Plaintiff is informed and believes, and thereon alleges, that Defendants knew or

       7    should have known that Plaintiff and Class Members were entitled to receive all required meal

      8     periods or payment of one (1) additional hour of pay at Plaintiffs and Class Members' regular

   9        rate of pay when they did not receive a timely, uninterrupted meal period. In violation of the
  10        Labor Code and IWC Wage Orders, Plaintiff and Class Members did not receive all meal
  11       periods or payment of one (1) additional hour of pay at Plaintiff's and Class Members' regular
  12       rate of pay when they did not receive a timely, uninterrupted meal period.
  13               31.     Plaintiff is informed and believes, and thereon alleges, that Defendants knew or
  14       should have known that Plaintiff and Class Members were entitled to receive all rest breaks or
  15       payment of one (1) additional hour of pay at Plaintiffs and Class Members' regular rate of pay
  16       when a rest break was late, missed, or interrupted. In violation of the Labor Code and IWC
  17       Wage Orders, Plaintiff and Class Members did not receive all rest breaks or payment of one (1)
  18       additional hour of pay at Plaintiff's and Class Members' regular rate of pay when a rest break
  19       was missed, late, or interrupted.
  20              32.     Plaintiff is informed and believes, and thereon alleges, that Defendants knew or
  21       should have known that Plaintiff and Class Members were entitled to receive itemized wage
  22       statements that accurately showed the name of the employer entity, gross and net wages earned,
  23       total hours worked, all applicable hourly rates in effect, and the number of hours worked at
  24       each hourly rate in accordance with California law. In violation of the Labor Code, Plaintiff
  25       and Class Members were not provided with accurate itemized wage statements.
  26              33.     Defendants knew or should have known that the Waiting Time Subclass was
 27        entitled to timely payment of wages due upon separation of employment. In violation of the

 28
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      1    Labor Code, the Waiting Time Subclass did not receive payment of all wages within the
      2    permissible time periods.
      3            34.    Plaintiff is informed and believes, and thereon alleges, that Defendants knew or
      4    should have known they had a duty to compensate Plaintiff and Class Members, and
      5    Defendants had the financial ability to pay such compensation but willfully, knowingly, and

      6    intentionally failed to do so in order to increase Defendants' profits.

      7           35.     Therefore, Plaintiff brings this lawsuit seeking monetary and injunctive relief

      8    against Defendants on behalf of himself and all Class Members to recover, among other things,

      9    unpaid wages (including minimum wages and overtime wages), unpaid meal period premium
  10       payments, unpaid rest period premium payments, interest, attorneys' fees, penalties, costs, and
  11       expenses.

  12                                       •   FIRST CAUSE OF ACTION

  13                                   FAILURE TO PAY MINIMUM WAGES

 14           (Violation of Labor Code §§ 1194, 1194.2, and 1197; Violation of IWC Wage Order §3-4)
 15               36.     Plaintiff hereby re-alleges and incorporates by reference all paragraphs above as
 16       though fully set forth herein.
 17              37.     Labor Code §§ 1194 and 1197 provide that the minimum wage for employees
 18       fixed by the IWC is the minimum wage to be paid to employees, and the payment of a lesser
 19       wage than the minimum so fixed is unlawful.
 20              38.     During the relevant time period, Defendants paid Plaintiff and Class Members
 21       less than minimum wages when they failed to pay proper compensation for all hours worked.
 22       To the extent these hours do not qualify for the payment of overtime, Plaintiff and Class
 23       Members were not being paid at least minimum wage for their work.
 24              39.     During the relevant time period, Defendants regularly failed to pay at least
 25       minimum wage to Plaintiff and Class Members for all hours worked pursuant to Labor Code
 26       §§ 1194 and 1197.

 27              40.     Defendants' failure to pay Plaintiff and Class Members the required minimum
 28       wage violates Labor Code §§ 1194 and 1197. Pursuant to these sections, Plaintiff and Class
                                                   -8-
                                               CLASS ACTION COMPLAINT




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            Members are entitled to recover the unpaid balance of their minimum wage compensation as
       2    well as interest, costs, and attorneys' fees.
       3
                    4L      Pursuant to Labor Code § 1194.2, Plaintiff and Class Members are entitled to
       4    recover liquidated damages in an amount equal to the wages unlawfully unpaid and the accrued
       5    interest thereon.

       6                                     SECOND CAUSE OF ACTION
       7                                     FAILURE TO PAY OVERTIME
       8          (Violation of Labor Code §§ 510, 1194, and 1198; Violation of IWC Wage Order § 3)
    9              42.     Plaintiff hereby re-alleges and incorporates by reference all paragraphs above as
   10       though fully set forth herein.
   11              43.     Labor Code § 1198 and the applic-able IWC Wage Order provide that it is
  12 . unlawful to employ persons without compensating them at a rate of pay either one and one-half
  13       (1%) or two (2) times the person's regular rate of pay, depending on the number of hours
  14       worked by the person on a daily or weekly basis.
  15               44.     Specifically, the applicable IWC Wage Orders provide that Defendants are and
  16       were required to pay overtime compensation to Plaintiff and Class Members at the rate of one
  17       and one-half times (1%) their regular rate of pay when working and for all hours worked in
  18       excess of eight (8) hours in a day or more than forty (40) hours in a workweek and for the first
  19       eight (8) hours of work on the seventh day of work in a workweek.
  20               45.    The applicable IWC Wage Orders further provide that Defendants are and were
  21       required to pay overtime compensation to Plaintiff and Class Members at a rate of two times
  22       their regular rate of pay when working and for all hours worked in excess of twelve (12) hours
  23       in a day or in excess of eight (8) hours on the seventh day of work in a workweek.
  24              46.     California Labor Code § 510 codifies the right to overtime compensation at one
  25       and one-half (1%) times the regular hourly rate for hours worked in excess of eight (8) hours in
  26       a day or forty (40) hours in a week and for the first eight (8) hours worked on the seventh
  27       consecutive day of.work, and overtime compensation at twice the regular hourly rate for hours
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              worked in excess of twelve (12) hours in a day or in excess of eight (8) hours in a day on they

       2     seventh day of work in a workweek.
       3             47.        Labor Code § 510 and the applicable 1WC Wage Orders provide that
       4     employment of more than six days in. a workweek is only permissible if the employer pays
       5,    proper overtime compensation as set forth herein.

       6             48.       Plaintiff and Class Members were non-exempt employees entitled to the
       7     protections of California Labor Code §§ 510 and 1194.
       8             49.       During the relevant time period, Defendants required Plaintiff and Class
       9     Members to work in excess of eight (8) hours in a day and/or forty (40) hours in a week,
   10        entitling them to overtime wages.
  11               , 50.       To the extent the hours worked by Plaintiff and Class Members during the
  12         relevant time period qualify for the payment of overtime and double time wages, Plaintiff and
  13         Class Members were not paid all overtime and double time wages owed. Defendants failed to
  14        pay Plaintiff and Class Members overtime wages for all overtime hours worked.
  15                51.        In violation of state law, Defendants knowingly and willfully refused to perform
  16        their obligations and compensate Plaintiff and Class Members for all wages earned and all
  17        hours worked.
  18                52.        Defendants' failure to pay Plaintiff and Class Members the unpaid balance of
  19        overtime compensation, as required by California law, violates the provisions of Labor Code
  20        §§ 510 and 1198, and is therefore unlawful.
  21                53.     Pursuant to Labor Code § 1194, Plaintiff and Class Members are entitled to
  22        recover their Unpaid overtime and double time compensation as well as interest, costs, and
  23        attorneys' fees.
  24                                           THIRD CAUSE OF ACTION
  25                                    FAILURE TO PROVIDE MEAL PERIODS
  26                (Violation of Labor Code §§ 226.7 and 512; Violation of IWC Wage Order § 11)
  27               54.      Plaintiff hereby re-alleges and incorporates by reference all paragraphs above as
  28        though fully set forth herein
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       1            55.      Labor Code § 226.7 provides that no employer shall require an employee to work
       2    during any meal period mandated by the IWC Wage Orders.
       3            56.      Section 11 of the applicable IWC Wage Order states, "[n]o employer shall
       4    employ any person for a work period of more than five (5) hours without a meal period of not
       5    less than 30 minutes, except that when a work period of not more than six (6) hours will
       6    complete the day's work the meal period may be waived by mutual consent of the employer and
       7    the employee."
       8           57.     Labor Code § 512(a) provides that an employer may not require, cause, or permit

      9     an employee to work for a period of more than five (5) hours per day without providing the
  10        employee with an uninterrupted meal period of not less than thirty (30) minutes, except that if
  11        the total work period per day of the employee is not more than six (6) hours, the meal period
  12       may be waived by mutual consent of both the employer and the employee.
  13               58.    Labor Code § 512(a) also provides that an employer may not employ an
  14       employee for a work period of more than ten (10) hours per day without providing the employee
  15       with a second meal period of not less than thirty (30) minutes, except that if the total hours
  16       worked is no more than twelve (12) hours, the seeond.meal period may be waived by mutual

  17       consent of the employer and the employee only if the first meal period was not waived.
  18              59.     During the relevant time period, Plaintiff and Class Members did not receive
  19       compliant meal periods for working more than five (5) and/or ten (10) hours per day because
  20       their meal periods were missed, late, and/or short.
  21•             60.     Labor Code § 226.7(b) and section I 1 of the applicable IWC Wage Order require
  22       an employer to pay an employee one (1) additional hour of pay at the employee's regular rate of
  23       compensation for each work day that a compliant meal period is not provided.
  24              61.     At all relevant times, Defendants failed to pay Plaintiff and Class Members meal
  25       period premiums for missed, late, and/or short meal periods pursuant to Labor Code § 226.7(b)

  26       and section 11 of the applicable IWC Wage Order.
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       1            62.     As a result of Defendants' failure to pay. Plaintiff and Class Members an
       2    additional hour of pay for each day a compliant meal period was not provided, Plaintiff and

       3    Class Members suffered and continue to suffer a loss of wages and compensation.
       4                                     FOURTH CAUSE OF ACTION
       5                                FAILURE TO PERMIT REST BREAKS
       6                  (Violation of Labor Code §§ 226.7; Violation of IWC Wage Order § 12)
       7            63.     Plaintiff hereby re-alleges and incorporates by reference all paragraphs above as
      8     though fully set forth herein.
   9               64.      Labor Code § 226.7(a) provides that no employer shall require an employee to
  10        work during any rest period mandated by the IWC Wage Orders.
  11               65.     Section 12 of the applicable IWC Wage Order states "[e]very employer shall
  12        authorize and permit all employees to take rest periods, which insofar as practicable shall be in
  13       the middle of each work period[,]" and the "[a]uthorized rest period time shall be based on the
  14       total hours worked daily at the rate of ten (10) minutes net rest time per four (4) hours or major
  15       fraction thereoff,]" unless the total daily work time is less than three and one-half (3 V2) hours.
  16               66.     During the relevant time period, Plaintiff and Class Members did not receive a
  17       ten (10) minute rest period for every four (4) hours or major fraction thereof worked because
  18       they were required to work through their daily rest periods and/or were not• authorized to take
  19       their rest periods.
  20               67.     Labor Code § 226.7(b) and section 12 of the applicable IWC Wage Order
  21       requires an employer to pay an employee one (1) additional, hour of pay at the employee's
  22       regular rate of compensation for each work day that a compliant rest period is not provided.
  23              68.      At all relevant times, Defendants failed to pay Plaintiff and Class Members rest
  24       period premiums for missed, late, and/or interrupted rest periods pursuant to Labor Code §
  25       226.7(b) and section 12 of the applicable IWC Wage Order.
  26              69.     As a result of Defendants' failure to pay Plaintiff and Class Members an
 27        additional hour of pay for each day a compliant rest period was not provided, Plaintiff and Class
 28        Members suffered and continue to suffer a loss of wages and compensation.
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       1                                      Fit rH CAUSE OF ACTION
       2            FAILURE TO PROVIDE ACCURATE ITEMIZED WAGE STATEMENTS
       3                                     (Violation of Labor Code § 226)
       4            70.    Plaintiff hereby re-alleges and incorporates by reference all paragraphs above as
       5    though fully set forth herein.
       6           71.     Labor Code §.226(a) requires Defendants to provide each employee with an
       7    accurate wage statement in writing showing nine pieces of information, including, the
    8       following: (1) gross wages earned, (2) total hours worked by the employee, (3) the number of
   9        piece-rate units earned and any applicable piece rate if the employee is paid on a piece-rate
  10       basis, (4) all deductions, provided that all deductions made on written orders of the employee
  .11      may be aggregated and shown as one item, (5) net wages earned, (6) the inclusive dates of the
  12       period for which the employee is'paid, (7) the name of the employee and the last four digits of
  13       his or her social security number or an employee identification number other than a social
  14       security number, (8) the name and address of the legal entity that is the employer, and (9) all
  15       applicable hourly rates in effect during the pay period and the corresponding number of hours
  16       worked at each hourly rate by the employee.
  17               72.    During the relevant time period, Defendants have knowingly and intentionally
  18       failed to comply with Labor Code § 226(a) on wage statements that were provided to Plaintiff
  19       and Class Members. The deficiencies include, among other things, the failure to correctly state
  20       the employing entity name, gross and net wages earned, total hours worked, all applicable
  21       hourly rates in effect, and the number of hours worked at each hourly rate by Plaintiff and Class
  22       Members.
  23              73.     As a result of Defendants' knowing and intentional failure to comply with Labor
  24       Code § 226(a), Plaintiff and class Members have suffered injury and damage to their
  25       statutorily-protected rights. Specifically, Plaintiff and Class Members are deemed to suffer an
  26       injury pursuant to Labor Code § 226(e) where, as here, Defendants intentionally violated Labor
  27       Code § 226(a). Plaintiff and Class Members were denied both their legal right to receive, and
  28       their protected interest in receiving, accurate itemized wage statements under Labor Code
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        1    § 226(a). In addition, because Defendants failed to provide the accurate rates of pay on wage

       2     statements, Defendants prevented Plaintiff and Class Members from' determining if all hours
       3     worked were paid at the appropriate rate and the extent of the underpayment. Plaintiff has had
      4      to file this lawsuit in order to analyze the extent of the underpayment, thereby causing Plaintiff
      5      to incur expenses and lost time. Plaintiff would not have had to engage in these efforts and
      6      incur these costs had Defendants provided the accurate hours worked, wages earned, and rates
      7      of pay. This has also delayed Plaintiffs ability to demand and recover the underpayment of
      8      wages from Defendanti.
      9             74.     Plaintiff and Class Members are entitled to recover from Defendants the greater
  10         of all actual damages caused by Defendants' failure to comply with Labor Code § 226(a) or

  11         fifty dollars ($50.00) for the initial pay period in which a violation occurred and one hundred
  12         dollars ($100.00) per employee for each violation in subsequent pay periods in an amount not
  13        exceeding four thousand dollars ($4,000.00) per employee, plus attorneys' fees and costs.
  14                75.     Defendants' violations of California Labor Code § 226(a) prevented Plaintiff
  15        and Class Members from knowing, understanding, and disputing the wages paid to them and
  16        resulted in an unjustified economic enrichment to Defendants. As a result of Defendants'
  17        knowing and intentional failure to comply with California Labor Code § 226(a), Plaintiff and
 • 18       Class Members have suffered an injury, in the exact amount of damages and/or penalties to be
  19        shown according to proof at trial.

  20                76.     Plaintiff and Class Members are also entitled to injunctive relief under
  21        California Labor Code § 226(h), compelling Defendants to comply with California Labor Code
 22         § 226. Accordingly, Plaintiff and Class Members seek the recovery of attorneys' fees and costs
 23         incurred in obtaining this injunctive relief.
 24                                            SIXTH CAUSE OF ACTION
 25            FAILURE TO PAY ALL WAGES DUE UPON SEPARATION OF EMPLOYMENT
 26                                   (Violation of Labor Code §§ 201, 202, and 203)

 27                77.     Plaintiff hereby re-alleges and incorporates by reference all paragraphs' above as
 28         though fully set forth herein.
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       1              78.    Labor Code §§ 201 and 202 provide that if an employer discharges an employee,
       2    the wages earned and unpaid at the time of discharge are due and payable immediately, and that
       3    if an employee voluntarily leaves his employment, his or her wages shall become due and
       4    payable not later than seventy-two (72) hours thereafter, unless the employee has given
       5    seventy-two (72) hours previous notice of an intention to quit, in which case the employee is
       6    entitled to his or her wages at the time of quitting.
       7            79.      During the relevant time period, Defendants willfully failed to pay the Waiting

   8        Time Subclass all their earned wages upon termination, including, but not limited to, proper

   9        minimum wage and overtime compensation, ;meal period .premiums, and rest period premiums
  10        either at the time of discharge or within seventy-two (72) hours of their leaving Defendants'
  11        employ.
  12               80.      Defendants' failure to pay the Waiting Time Subclass all their earned wages at
  13       the time of discharge or within seventy-two (72) hours of their leaving Defendants' employ is
  14       in violation of Labor Code §§ 201 and 202.
  15               81.      Labor Code § 203 provides that if an employer willfully fails to pay wages owed
  16       immediately upon discharge or resignation in accordance with Labor Code §§ 201 and 202,
  17       then the wages of the employee shall continue as a penalty from the due date at the same rate
  18       until paid or until an action is commenced; but the wages shall not continue for more than thirty
  19       (30) days.
  20               82.      Pursuant to Labor Code § 203, the Waiting Time Subclass is entitled to recover
  21       from Defendants the statutory penalty, which is defined as the Waiting Time Subclass
  22       members' regular daily wages at their regular hourly rate of pay for each day they were not
  23       paid, up to a maximum of thirty (30) days.
  24                                        SEVENTH CAUSE OF ACTION
  25             VIOLATION OF BUSINESS AND PROFESSIONS CODE 4fi 17200, ET SEQ.
  26                         (Violation of Business and Professions Code §§ 17200, et seg.)

  27              83.       Plaintiff hereby re-alleges and incorporates by reference all paragraphs above as
  28       though fully set forth herein.
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       1            84.     California Business and Professions Code §§ 17200, et seq., prohibits acts of
       2     unfair competition, which includes any "unlawful, unfair or fraudulent business act or practice .
       3    .. .

       4            85.     A violation of California Business and Professions Code §§ 17200, et seq., may

      5     be predicated on a violation of any state or federal law. In the instant case, Defendants' policies
      6     and practices violated state law, causing Plaintiff and Class Members to suffer and continue to

      7     suffer injuries-in-fact.

      8             86.     Defendants' policies and practices violated state law in at least the following
   9        respects:
  10                        (a)        Failing to pay all wages earned (including minimum wage and overtime
  11                                   wages) to Plaintiff and Class Members in violation of Labor Code §§
  12                                   510, 1194, 1194.2, 1197, and 1198.
  13                       (b)         Failing to provide compliant meal periods without paying Plaintiff and
  14                                   Class Members premium wages for every day said meal periods were not
  15                               provided in violation of Labor Code §§ 226.7 and 512.
  16                       (c)     Failing to authorize or permit compliant rest breaks without paying
  17                               Plaintiff and Class Members premium wages for every day said rest
  18                               breaks were not authorized or permitted in violation of Labor Code §
  19                               226.7.
  20                       (d)     Failing to provide Plaintiff and Class Members with accurate itemized
 21                                wage statements in violation of Labor Code § 226.
 22                        (e)     Failing to timely pay all earned wages to the members of the Waiting
 23                                Time Subclass upon separation of employment in violation of Labor
 24                                Code §§ 201, 202, and 203.
 25                87.     As alleged herein, Defendants systematically engaged in unlawful conduct in
 26        violation of the California Labor Code and IWC Wage Orders, such as failing to pay all wages
 27        (minimum and overtime: wages), failing to provide meal periods and rest breaks or
 28        compensation in lieu thereof, failing to furnish accurate wage statements, and failing to pay all
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       1    wages due and owing upon separation of employment in a timely manner to the Waiting Time

       2    Subclass, all in order to decrease their costs of doing business and increase their profits.
       3            88.    At all relevant times herein, Defendants held theniselves out to Plaintiff and
       4    Class Members as being knowledgeable concerning the labOr .and employment laws of
       5    California.

       6           89.     At all times relevant herein, Defendants intentionally avoided paying Plaintiff
       7    and Class Members wages and monies, thereby creating for Defendants an artificially lower

    8       cost of doing business in order to undercut their competitors and establish and/or gain a greater

   9        foothold in the marketplace.
   10              90.     By violating the foregoing statutes and regulations as herein alleged,
  11       Defendants' acts constitute unfair and unlawful business practices under California Business
  12       and Professions Code §§ 17200, et seq.
  13               91.    As a result of the unfair and unlawful business practices of Defendants as
  14       alleged herein, Plaintiff and Class Members are entitled to injunctive relief, disgorgement, and
  15       restitution in an amount to be shown according to proof at trial.
  16               92.    Plaintiff seeks to enforce important rights affecting the public interest within the
  17       meaning of California Code of Civil Procedure § 1021.5. Defendants' conduct, as alleged
  18       herein, has been and continues to be unfair, unlawful, and harmful to Plaintiff, Class Members,
  19       and the general public. Based on Defendants' conduct as alleged herein, Plaintiff and Class
  20       Members are entitled to an award of attorneys' fees pursuant to California Code of Civil
  21       Procedure § 1021.5.

  22                                           PRAYER FOR RELIEF
  23              Plaintiff, on his own behalf and on behalf of all others similarly situated, prays for relief
  24       and judgment against Defendants, jointly and severally, as follows:

  25              1.      For certification under California Code of Civil Procedure § 382 of the proposed
  26       Class, Waiting Time Subclass, and any other appropriate subclasses;
  27              2.      For appointment of Mitchel Parker as the class representative;
  28              3.      For appointment of Aegis Law Firm, PC, as class counsel for all purposes;
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       -1           4.      For compensatory damages in an amount according to proof at trial;
       2            5.      For an award of damages in the amount of unpaid compensation including, but
       3     not limited to, unpaid wages, benefits, and penalties;
       4            6.      For economic and/or special damages in an amount according to proof at trial;
       5            7.      For liquidated damages pursuant to Labor Code § 1194.2;
      6             8.     For statutory penalties to the extent permitted by law, including those pursuant
       7     to the Labor Code and IWC Wage Orders;
      8             9.     For injunctive relief as provided by the California Labor Code and California
      9     Business and Professions Code §§ 17200, et seq.;
  10               10.     For restitution as provided by Business and Professions Code §§ 17200, et seq.;
  11               11.     For an order requiring Defendants to restore and disgorge all funds to each
  12        employee acquired by means- of any act or practice declared by this Court to be unlawful,
  13        unfair, or fraudulent and, therefore, constituting unfair competition under Business and
  14        Professions Code §§ 17200, et seq.;
  15               12.     For pre judgment interest;
  16               13.     For reasonable attorneys' fees, costs of suit, and interest to the extent permitted
  17        by law, including, but not limited to, Code of Civil Procedure § 1021.5 and Labor Code §§
  18        226(e) and 1194; and
  19               14.    For such other relief as the Court deems just and proper.
  20
  21
 22         Dated: January 15, 2019                        AEGIS LAW FIRM, PC

 23
                                                     By:                   6     /?%f
 24                                                        J ssica L. Campbell
 25                                                        Attorneys for Plaintiff Mitchel Parker

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        1                                 DEMAND FOR JURY TRIAL
       2           Plaintiff hereby demands a jury trial with respect to all issues triable of right by jury.
       3
       4    Dated: January 15, 2019                        AEGIS LAW FIRM, PC
       5
       6                                             By:                      4      f-/ef
                                                           Jes ca L. Campbell
       7                                                   Attorneys' for Plaintiff Mitchel Parker
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